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                  UNITED STATES DISTRICT COURT 
         WESTERN DISTRICT OF MICHIGAN - SOUTHERN DIVISION

ERIKA DAVIS

                  Plaintiff,
v.
                                              Lead Case No.:     1:17-cv-00029

                                              Member Case Nos.: 1:17-cv-00684

                                              Hon. Gordon J. Quist



                                              Complaint and Reliance on Jury
                                              Demand


MICHIGAN STATE UNIVERSITY; THE
BOARD OF TRUSTEES OF MICHIGAN
STATE UNIVERSITY; LAWRENCE
GERARD NASSAR (individual capacity only);
KATHIE KLAGES (individual capacity only);
WILLIAM D. STRAMPEL, D.O. (individual
capacity only); JEFFREY R. KOVAN D.O.
(individual capacity only); DOUGLAS
DIETZEL, D.O. (individual capacity only);
BROOKE LEMMEN, D.O. (individual capacity
only); GARY E. STOLLAK (individual capacity
only); DESTINY TEACHNOR-HAUK
(individual capacity only); USA GYMNASTICS,
INC.; TWISTARS USA, INC. d/b/a
GEDDERTS’ TWISTARS USA GYMNASTICS
CLUB, and JOHN GEDDERT,

                  Defendants.
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______________________________________________________________________________

                       COMPLAINT AND JURY DEMAND
______________________________________________________________________________

       NOW COMES Plaintiff, by and through her attorney, McKeen and Associates, P.C. and

Merson Law, PLLC, and hereby alleges and states as follows:

            I.        PRELIMINARY STATEMENT AND INTRODUCTION

1.     This is a civil action for declaratory, injunctive, equitable, and monetary relief for injuries

       sustained by Plaintiff as a result of the acts, conduct, and omissions of Lawrence Nassar,

       D.O., Michigan State University (“MSU”), USA Gymnastics, Inc. (“USAG”), and

       Twistars USA, Inc. (“Twistars”) and their respective employees, representatives, and

       agents, relating to rape, sexual assault, abuse, molestation, and nonconsensual sexual

       touching and harassment by Defendant Nassar against Plaintiff who was a minor when the

       sexual assaults took place.

2.     Many of the victims are or were young athletes participating in gymnastics.

3.     Defendant Nassar came highly recommended to Plaintiff as a renowned orthopedic sports

       medicine physician, purportedly well-respected in the sports medicine community,

       specifically in the sports community as the Team Physician for the United States

       Gymnastics team.

4.     Plaintiff had no reason to suspect Defendant Nassar was anything other than a competent

       and ethical physician.

5.     From approximately 1992 to 2016 Defendant Nassar worked for Michigan State University

       in various positions and capacities.

6.     From 1986 to approximately 2015 Defendant Nassar also worked for USA Gymnastics in

       various positions and capacities.


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7.    For over 20 years, Defendant Nassar had unfettered access to young female athletes

      through the Sports Medicine Clinic at MSU, and through his involvement with USAG and

      Twistars, who referred athletes to his care.

8.    To gain Plaintiff’s trust, at appointments, Defendant Nassar would convince Plaintiff that

      he was helping her.

9.    Between 1992 and 2016, under the guise of medical study and medical treatment,

      Defendant Nassar raped, sexually assaulted, abused, and molested Plaintiff, by

      nonconsensual vaginal and anal digital penetration or by rubbing and sucking on her

      breasts, and without the use of gloves or lubricant.

10.   Plaintiff was seeking treatment for various pain and functional complaints, such as knee

      pain and other similar injuries and conditions.

11.   In 1997 or 1998, Larissa Boyce, named in a separate complaint, reported to MSU

      gymnastics coach Kathie Klages concerns regarding Defendant Nassar’s conduct and

      “treatment,” but Defendant Klages dissuaded the athlete from completing a formal report

      by warning Larissa that the report would have serious consequences for her and Nassar.

12.   As a result of Defendant Klages being informed about Nassar’s conduct, at least one other

      athlete, identified in additional pleadings, was asked by Klages if Nassar had performed

      the “procedure” involving digital vaginal and anal penetration on that athlete, who

      responded in the affirmative. Defendant Klages told the athlete that there is no reason to

      bring up or otherwise report Nassar’s conduct.

13.   In 1999, a MSU student athlete, reported to trainers and her coach who were employees of

      MSU concerns about Defendant Nassar’s conduct and “treatment,” yet MSU failed to take

      any action in response to her complaints.




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14.    In 2000, another MSU student athlete reported to trainers concerns about Defendant

       Nassar’s conduct and “treatment,” yet again MSU failed to take any action in response to

       her complaints.

15.    Many victims were seen alone with only the individual victim and Defendant Nassar in the

       room, without chaperones or parents.

16.    At other times, Defendant Nassar would position himself in a manner in which parents or

       chaperones in the room could not see his conduct.

17.    Because MSU took no action to investigate the 1997 or 1998, 1999, or 2000 complaints

       and took no corrective action, from 1998 to 2016, many victims were minors, were also

       sexually assaulted, abused, and molested by Defendant Nassar by nonconsensual vaginal

       and anal digital penetration, nonconsensual sexual touching of the vaginal area without the

       use of gloves or lubricant and by nonconsensual touching and groping of their breasts under

       the guise of treatment.

18.    While most victims were assaulted at MSU, other victims were assaulted at USAG

       sanctioned events, Twistars, and Defendant Nassar’s home in Holt, Michigan.

19.    The ages of the victims when assaulted ranged from approximately 10 to 34 years old.

20.    Additional complaints regarding Defendant Nassar’s conduct surfaced in 2014. Amanda

       Thomashow reported she had an appointment with Defendant Nassar to address hip pain

       and was sexually abused and molested by Defendant Nassar when he cupped her buttocks,

       massaged her breast and vaginal area, and became sexually aroused.1

21.    Upon information and belief, Defendant MSU investigated the 2014 complaints through



1
  See, At MSU: Assault, harassment and secrecy. Matt Mencarini, December 15, 2016. Available
at,       http://www.lansingstatejournal.com/story/news/local/2016/12/15/michigan-state-sexual-
assault-harassment-larry-nassar/94993582/. (Last accessed January 5, 2017).

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          their Office of Institutional Equity, and although the victim reported to Defendant MSU

          certain facts, some were omitted from the investigative report including but not limited to

          the following:

              a. Defendant Nassar was sexually aroused while touching her;

              b. The appointment with Defendant Nassar did not end until Amanda Thomashow

                  physically removed his hands from her body.

22.       Three months after initiating the investigation, in July 2014, Amanda Thomashow’s

          complaints were dismissed and Defendant MSU determined she didn’t understand the

          “nuanced difference” between sexual assault and an appropriate medical procedure and

          deemed Defendant Nassar’s conduct “medically appropriate” and “[n]ot of a sexual

          nature.”2

23.       Following the 2014 investigation, Defendant Nassar became subject to new institutional

          guidelines, one of which – it is believed – was that Defendant Nassar was not to examine

          or treat patients alone.3

24.       Defendant Nassar continued to treat patients alone.

25.       Through his position with MSU, his notoriety, and support by USAG and Twistars,

          Defendant Nassar used his position of authority as a medical professional to abuse Plaintiff

          without any reasonable supervision by MSU or USAG.

26.       Defendant Nassar carried out these acts without fully explaining the “treatment” or

          obtaining consent of Plaintiff or their parents.

27.       All of Defendant Nassar’s acts were conducted under the guise of providing medical care




2
    Id.
3
    Id.

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      at his office at Michigan State University, at Twistars, at USAG sanctioned events, or at

      his home in Holt, Michigan.

28.   The failure to give proper notice or to obtain consent for the purported “treatment” from

      Plaintiff or her parents robbed them of the opportunity to reject the “treatment.”

29.   Defendant Nassar used his position of trust and confidence in an abusive manner causing

      Plaintiff to suffer a variety of injuries including shock, humiliation, emotional distress and

      related physical manifestations thereof, embarrassment, loss of self-esteem, disgrace, and

      loss of enjoyment of life.

30.   In September 2016, a story was published in the Indianapolis Star regarding a complaint

      filed with Defendant MSU’s Police Department titled “Former USA Gymnastics doctor

      accused of Abuse,” which included Rachel Denhollander’s allegations against Defendant

      Nassar.

31.   Following the September 2016 publication, other victims began coming forward after

      recognizing that they were victims of sexual abuse at a time when most of them were

      minors.

32.   Plaintiff has been forced to relive the trauma of the sexual assaults.

33.   In summer 2015, USAG relieved Defendant Nassar of his duties after becoming aware of

      concerns about his actions, yet USAG failed to inform Michigan State University of the

      circumstances regarding his dismissal.

34.   As early as 1997, representatives of Michigan State University were made aware of

      Defendant Nassar’s conduct, yet failed to appropriately respond to allegations, resulting in

      the sexual assault, abuse, and molestation of victims through approximately 2016.

35.   Michigan State University’s deliberate indifference before, during, and after the sexual




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      assault, abuse, and molestation of Plaintiff was in violation of Title IX of the Education

      Amendments of 1972, 20 U.S.C. § 1681 et seq., 42 U.S. C. § 1983, as well as other Federal

      and State laws.

36.   MSU and USAG’s failure to properly supervise Defendant Nassar and their negligence in

      retaining Defendant Nassar was in violation of Michigan common law.

37.   In late November 2016, Defendant Nassar was arrested and charged in Ingham County,

      Michigan on three charges of first-degree criminal sexual conduct with a person under 13,

      which is a felony punishable with a maximum penalty of imprisonment for life without the

      possibility of parole.4

38.   In mid-December 2016, Defendant Nassar was indicted, arrested, and charged in Federal

      Court in Grand Rapids, Michigan on charges of possession of child pornography and

      receipt/attempted receipt of child pornography.

39.   On February 22, 2017, Defendant Nassar was arraigned on 22 counts of first-degree

      criminal sexual conduct with a person under 13 years old, and 14 counts of third-degree

      criminal sexual conduct with a person under the age of 13 years old in Ingham County,

      Michigan5 and Eaton County, Michigan.6

40.   The acts, conduct, and omissions of Defendants Michigan State University, USA

      Gymnastics, and Twistars, and their policies, customs, and practices with respect to

      investigating sexual assault allegations severely compromised the safety and health of



4
  People v. Nassar, State of Michigan, Ingham County Circuit Court Case No. 17-143-FC.
5
  People v. Nassar, Ingham County District Court Case No. 17-00425-FY, see also,
http://www.michigan.gov/documents/ag/Nassar_affidavit_Ingham_County_charges_Feb._2017_
552531_7.pdf
6
  People v. Nassar, Eaton County District Court Case No. 17-0318-FY, see also,
http://www.michigan.gov/documents/ag/Nassar_affidavit_Eaton_County_charges_Feb._2017_5
52536_7.pdf

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      Plaintiff and an unknown number of individuals, and have resulted in repeated instances of

      sexual assault, abuse, and molestation of Plaintiff by Defendant Nassar, which has been

      devastating for Plaintiff and her family.

41.   On or about July 11, 2017, Defendant Nassar pleaded guilty in his federal criminal case to:

      (1) Receipt and Attempted Receipt of Child Pornography, in violation of 18 U.S.C. §

      2252A(a)(2)(A); (2) Possession of Child Pornography, in violation of 18 U.S.C. §

      2252A(a)(5)(B); and (3) Destruction and Concealment of Records and Tangible Objects,

      in violation of 18 U.S.C. § 1519.

42.   On November 11, 2017 Defendant Nassar pleaded guilty to seven counts of first-degree

      criminal sexual conduct in Ingham County Circuit Court. Defendant Nassar.

43.   On November 29, 2017 Defendant Nassar pleaded guilty to three counts of first-degree

      criminal sexual conduct in Eaton County Circuit Court.

44.   On December 7, 2017 Defendant Nassar was sentenced to three twenty-year sentences to

      be served consecutively on three charges of obtaining and possessing child pornography in

      the United States District Court for the Western District of Michigan.

45.   This action arises from Defendants’ blatant disregard for Plaintiff’s federal and state rights,

      and Defendants’ deliberately indifferent and unreasonable response to physician-on-

      patient/physician-on-student sexual assault, abuse, and molestation.

                         II.       JURISDICTION AND VENUE

46.   Plaintiff realleges and incorporates by reference the allegations contained in the previous

      paragraphs.

47.   This action is brought pursuant to Title IX of the Educational Amendments of 1972, 20

      U.S.C. § 1681, et seq., as more fully set forth herein.




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48.   This is also an action to redress the deprivation of Plaintiff’s constitutional rights under the

      Fourteenth Amendment of the United States Constitution pursuant to 42 U.S.C. § 1983.

49.   Subject matter jurisdiction is founded upon 28 U.S.C. § 1331 which gives district courts

      jurisdiction over all civil actions arising under the Constitution, laws, and treaties of the

      United States.

50.   Subject matter jurisdiction is also founded upon 28 U.S.C. § 1343 which gives district

      courts original jurisdiction over any civil actions authorized by law to be brought by any

      person to redress the deprivation, under color of any State Law, statute, ordinance,

      regulation, custom or usage, of any right, privilege or immunity secured by the Constitution

      of the United States or by any Act of Congress providing for equal rights of citizens or of

      all persons within the jurisdiction of the United States, and any civil action to recover

      damages or to secure equitable relief under any Act of Congress providing for the

      protection of civil rights.

51.   Plaintiff further invokes the supplemental jurisdiction of this Court, pursuant to 28 U.S.C.

      § 1367(a) to hear and decide claims arising under state law that are so related to the claims

      within the original jurisdiction of this Court that they form part of the same case or

      controversy.

52.   The claims are cognizable under the United States Constitution, 42 U.S.C. § 1983, 20

      U.S.C. § 1681 et seq., and under Michigan Law.

53.   The events giving rise to this lawsuit occurred in Ingham County, Michigan and Eaton

      County, Michigan both of which sit in the Southern Division of the Western District of

      Michigan.

54.   Venue is proper in the United States District Court for the Western District of Michigan,




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       pursuant to 28 U.S.C. § 1391(b)(2), in that this is the judicial district in which the events

       giving rise to the claim occurred.

55.    Plaintiff has filed a Notice of Intent to File Claim with the Michigan Court of Claims in

       compliance with MCL 600.6431.

                     III.        PARTIES AND KEY INDIVIDUALS

56.    Plaintiff realleges and incorporates by reference the allegations contained in the previous

       paragraphs.

57.    With the exception of Plaintiff Erika Davis, the names of the Plaintiffs have been withheld

       from this Complaint to protect their identities they were minor children at the time the

       sexual abuse occurred.7

58.    Plaintiff Erika Davis is a resident of California. She was a minor for at least a portion of

       the time she was sexually assaulted, abused, and molested by Defendant Nassar.

59.    Defendant Lawrence “Larry” Nassar, was formerly a Doctor of Osteopathic Medicine, and

       is a resident of Michigan.

60.    Defendant Michigan State University (hereinafter, “Defendant MSU”) was at all relevant

       times and continues to be a public university organized and existing under the laws of the

       state of Michigan.

61.    Defendant MSU receives federal financial assistance and is therefore subject to Title IX of

       the Educational Amendments of 1972, 20 U.S.C. § 1681(a).

62.    Defendant The Board of Trustees of Michigan State University (hereinafter, “Defendant

       MSU Trustees”) is the governing body for Michigan State University.




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  Plaintiff will seek an Order of the Court regarding disclosure of Plaintiff’ identities and all
conditions for disclosure.

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63.   Lou Anna K. Simon is the immediate past President of Defendant MSU, appointed in

      approximately January 2005. Prior to her appointment as President, Ms. Simon held several

      administrative roles including assistant provost for general academic administration,

      associate provost, and provost and vice president for academic affairs during her career

      with MSU.

64.   Lou Anna K. Simon resigned her position as President of Defendant MSU on January 24,

      2018.

65.   John Mathias Engler is the former Governor of the State of Michigan and is currently

      serving as interim President of Defendant MSU.

66.   M. Peter McPherson served as President of Defendant MSU from approximately 1993 –

      2004.

67.   Mark Hollis is the immediate past Athletic Director of Defendant MSU.

68.   Defendant William D. Strampel, D.O. (“Defendant Strampel”) was the Dean of the College

      of Osteopathic Medicine at Michigan State University serving as Dean since approximately

      April 2002 and as Acting Dean between December 2001 and April 2002. Upon information

      and belief, in December 2017, Defendant Strampel stepped down from his role as Dean of

      the College of Osteopathic Medicine for “medical reasons,” but Defendant Strampel will

      remain on the faculty of MSU’s College of Osteopathic Medicine.

69.   Defendant Jeffrey R. Kovan, D.O. (“Defendant Kovan”) is or was the Director of Division

      of Sports Medicine at Michigan State University and was the supervisor of the Department

      of Radiology, under which Defendant Nassar practiced medicine.

70.   Defendant Douglas Dietzel, D.O. (“Defendant Dietzel”) is the Clinical Director of MSU

      Sports Medicine and Team Orthopedic Surgeon for MSU Department of Intercollegiate




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      Athletics serving as Clinical Director of MSU Sports Medicine since approximately 2004.

71.   Defendant Brooke Lemmen, D.O. (“Defendant Lemmen”) is or was a practicing physician

      with MSU Sports Medicine from approximately 2010 to 2017.

72.   Defendant Kathie Klages (“Defendant Klages”) was the head coach of the Michigan State

      University Gymnastics Program until her suspension and resignation in early 2017; she

      also conducted gymnastics classes and programs for children and young adults not on the

      varsity gymnastics team.

73.   Defendant Klages regularly referred MSU student athletes as well as young athletes who

      were not MSU students to Defendant Nassar for medical treatment.

74.   Defendant Gary E. Stollak (“Defendant Stollak”) was a professor in the clinical program

      within the Michigan State University Department of Psychology.

75.   Defendant Destiny Teachnor-Hauk (“Defendant Teachnor-Hauk”) is or was an athletic

      trainer for Defendant MSU for various sports including, but not limited to, softball, track

      and field, gymnastics, rowing, and volleyball.

76.   Defendant Teachnor-Hauk regularly referred MSU student athletes to Defendant Nassar

      for medical treatment.

77.   Defendant MSU, Defendant MSU Trustees, Defendant Nassar, Defendant Stollak,

      Defendant Strampel, Defendant Kovan, Defendant Klages, Defendant Dietzel, Defendant

      Lemmen, and Defendant Teachnor-Hauk are hereinafter collectively referred to as the

      MSU Defendants unless otherwise specified.

78.   At all relevant times the MSU Defendants maintained employment and offices at

      Defendant MSU in East Lansing, Michigan.

79.   Defendant United States of America Gymnastics (hereinafter “Defendant USAG”) was and




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           continues to be an organization incorporated in Indiana, authorized to conduct business and

           conducting business throughout the United States, including but not limited to Michigan.

80.        The U.S. Olympic Committee and the International Gymnastics Federation has designated

           Defendant USAG as the national governing body for the sport of gymnastics in the United

           States.

81.        USAG advertises on its website: “Since 1990—prior to almost all other National

           Governing Bodies—USA Gymnastics has provided awareness, prevention and reporting

           information regarding sexual misconduct to professional members, athlete members and

           their families.”8

82.        Steve Penny was the president of Defendant USAG, named in approximately April 2005,

           who is currently responsible for the overall management and strategic planning of

           Defendant USAG. He resigned in March 2017.

83.        Robert Colarossi is the past president of Defendant USAG and held the position from

           approximately 1998 to 2005, and during that time was responsible for the overall

           management and strategic planning of Defendant USAG.

84.        Defendant Twistars USA, Inc. d/b/a Gedderts’ Twistars USA Gymnastics Club

           (hereinafter, “Defendant Twistars”) was and continues to be an organization incorporated

           in Michigan.

85.        Defendant John Geddert (“Defendant Geddert”) is the owner and operator of Twistars

           USA, Inc. d/b/a Gedderts’ Twistars USA Gymnastics Club.

86.        Defendant Twistars is a member club and agent or instrumentality of Defendant USAG.

87.        Defendant USAG requires member clubs to pay it a fee in order to hold Defendant USAG



8
    https://usagym.org/pages/education/safesport/.


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      sanctioned events.

88.   Defendant USAG also issues rules and requirements for its member clubs and exercises

      some degree of control over its member clubs because Defendant USAG has the authority

      to revoke a club’s membership.

89.   Defendant USAG also requires all coaches, judges, and athletes to pay it a membership fee

      if they want to participate in USA Gymnastics sanctioned events.

90.   As such, Defendant Twistars required all gymnasts interested in competing to become

      members of Defendant USAG and to pay a membership fee to Defendant USAG.

91.   Club membership in Defendant USAG is a substantial benefit for Defendant Twistars and

      Defendant Geddert, as membership with Defendant USAG and participation in Defendant

      USAG sanctioned events is a considerable factor that interested gymnasts consider in

      joining a gymnastics club—particularly gymnasts who have collegiate, national, or

      Olympic aspirations in competitive gymnastics.

92.   At all relevant times, Defendant Geddert served as an agent of Defendant USAG and served

      as the 2011 USA World Championship Team Head Coach and the 2012 USA Olympic

      Team Head Coach through his affiliations with Defendant USAG and Defendant Twistars.

93.   Defendant Twistars’s website states, regarding Defendant Geddert, “Being named Head

      Coach for the USA Olympic and World Championships Gold Medal Winning team, paints

      the picture of national respect.”

94.   Defendant USAG received a financial benefit through its relationship with Defendants

      Twistars and Geddert in the form of membership fees and fame.

95.   Defendants Twistars and Geddert received a benefit through its relationship with

      Defendant USAG in the form of national and global exposure, fame, and increased




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       enrollment.

                     IV.      COMMON FACTUAL ALLEGATIONS

96.    Plaintiff realleges and incorporates by reference the allegations contained in the previous

       paragraphs.

97.    Plaintiff also incorporates by reference the allegations contained in the various complaints

       filed in the respective member cases of this consolidated action.

98.    At all relevant times, Defendant Nassar maintained an office at MSU in East Lansing,

       Michigan.

99.    At all relevant times, Defendants MSU, MSU Trustees, Nassar, Stollak, Strampel, Kovan,

       Teachnor-Hauk, Klages, and Lemmen were acting under color of law, to wit, under color

       of statutes, ordinances, regulations, policies, customs, and usages of the State of Michigan

       and/or Defendant Michigan State University.

100.   At all relevant times, including the years 1992 to 2016, Defendant Nassar was acting in the

       scope of his employment or agency with Defendant MSU.

101.   At all relevant times, including the years 1996 to 2015, Defendant Nassar was acting in the

       scope of his employment or agency with Defendant USAG.

102.   At all relevant times, including the years 1992 to 2016, Defendant Nassar was acting in the

       scope of his agency with Defendant Twistars.

103.   Defendant Nassar graduated from Michigan State University with a Doctor of Osteopathic

       Medicine degree in approximately 1993.

104.   Defendant Nassar was employed by and/or an agent of Defendant USAG from

       approximately 1986 to 2015, serving in various positions including but not limited to:

          a. Certified Athletic Trainer;




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          b. Osteopathic Physician;

          c. National Medical Director;

          d. National Team Physician, USA Gymnastics;

          e. National Team Physician, USA Gymnastics Women’s Artistic Gymnastics

              National Team.

105.   Defendant Nassar received a benefit from his relationship with Defendant USAG in the

       form of national and global exposure, fame, and increased patients at his office at MSU,

       which resulted in Defendant Nassar receiving higher compensation.

106.   Defendant USAG received a benefit from its relationship with Defendant Nassar in the

       form of medical services rendered to its member athletes, national and global exposure,

       fame, and increased enrollment.

107.   Defendant Nassar was employed by Defendant MSU from approximately 1996 to 2016 in

       various positions including but not limited to:

          a. Associate Professor, Defendant MSU’s Division of Sports Medicine, Department

              of Radiology, College of Osteopathic Medicine;

          b. Team Physician, Defendant MSU’s Men’s and Women’s Gymnastics Team;

          c. Team Physician, Defendant MSU’s Men’s and Women’s Track and Field Teams;

          d. Team Physician, Defendant MSU’s Men’s and Women’s Crew Team;

          e. Team Physician, Defendant MSU’s Intercollegiate Athletics;

          f. Medical Consultant, Defendant MSU’s Wharton Center for the Performing Arts;

          g. Advisor, Student Osteopathic Association of Sports Medicine.

108.   As part of Defendant Nassar’s employment and contractual duties with MSU, Defendant

       Nassar was responsible for spending between 50 to 70% of his time engaged in “Outreach”




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       and/or “Public Services.”

109.   A part of Defendant Nassar’s outreach included providing medical treatment to athletes

       affiliated with Defendants USAG and Twistars as well as other organizations such as Holt

       High School.

110.   Based on MSU’s decision to compensate Nassar for his work with USAG and Twistars,

       Nassar was acting in the scope of his employment with MSU while he was working at

       USAG and Twistars and also while he was working with athletes from those institutions.

111.   Defendant Twistars is a gymnastics facility with which Defendant Nassar affiliated from

       its inception in or around 1996.

112.   Defendant John Geddert (“Defendant Geddert”), owner and operator of Twistars USA, Inc.

       d/b/a Gedderts’ Twistars Gymnastics Club USA served as the USA World and Olympic

       Women’s Gymnastics Team Head Coach.

113.   Defendant Geddert regularly recommended Defendant Nassar to members of Defendant

       Twistars as a reputable physician.

114.   For a period of time, Defendant Twistars displayed a photo of Defendant Nassar at its

       facility.

115.   As an agent of Defendant Twistars, Defendant Nassar regularly provided services and

       treatment to Defendant Twistars’ members and Defendant USAG’s members on Defendant

       Twistars’ premises.

116.   Defendant Nassar received a benefit from his relationship with Defendant Twistars in the

       form of national and global exposure, fame, and increased patients at his office at MSU.

117.   Defendant Twistars received a benefit from its relationship with Defendant Nassar in the

       form of medical services rendered to its member athletes, national and global exposure,




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           fame, and increased enrollment.

118.       As a physician of Osteopathic Medicine, Defendant Nassar’s medical care and treatment

           should have consisted largely of osteopathic adjustments and kinesiology treatment to

           patients, including students and student-athletes of Defendant MSU.

119.       Defendant Nassar is not and has never been a medical doctor of obstetrics or gynecology.

120.       While employed by Defendants MSU and USAG, Defendant Nassar practiced medicine at

           Defendant MSU’s Sports Medicine Clinic, a facility at MSU.

121.       For over 20 years, Defendant MSU’s Sports Medicine Clinic has provided health care to

           MSU student athletes and the general public.9

122.       When the MSU Defendants operated the MSU Sports Medicine Clinic and provided

           medical services to Plaintiff and others, they were acting as an arm of the state.

123.       The MSU Sports Medicine Clinic charged patients, including Plaintiff, for their receipt of

           medical services.

124.       Charging Plaintiff (and others) and billing insurance companies for medical services is an

           activity proprietary in nature.

125.       The MSU Defendants charged fees comparable to specialists for the services provided at

           the MSU Sports Medicine Clinic.10

126.       The MSU Sports Medicine Clinic engaged in proprietary functions by entering into the

           business of providing medical services for the primary purpose of raising funds and making

           a profit for the MSU Defendants.

127.       The MSU Sports Medicine Clinic cannot be normally supported by taxes and fees.




9
    See “MSU Sports Medicine,” http://sportsmed.msu.edu/, last accessed Feb. 22, 2018.
10
     See “MSU Sports Medicine,” http://sportsmed.msu.edu/patients.html, last accessed Feb. 22, 2018.


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128.   During his employment, agency, and representation with the MSU Defendants, Defendant

       USAG, and Defendant Twistars, Defendant Nassar sexually assaulted, abused, and

       molested Plaintiff by engaging in nonconsensual sexual touching, assault, and harassment

       including but not limited to digital vaginal and anal penetration and rape.

129.   The State of Michigan’s Department of Licensing and Regulatory Affairs Occupational

       Health Standards regarding Bloodborne Infectious Diseases mandates use of gloves when

       exposed to potentially infectious material, including vaginal secretions.11

130.   Upon information and belief, in or around 1998 a parent of a gymnast at Defendant

       Twistars’ facility complained to Defendant Geddert regarding Defendant Nassar’s conduct,

       yet the concerns and allegations went unaddressed.

131.   In 1997 or 1998, Larisa Boyce, who was a minor at the time, told MSU gymnastics head

       coach Kathie Klages about concerns the participant had with Nassar’s “treatment.”

       Defendant Klages convinced the participant not to file a formal complaint because Klages

       intimidated the participant by stating there would be serious consequences to her (the

       participant) and Nassar.

132.   As a result of Klages being informed about Nassar’s conduct, another athlete was asked by

       Klages if Nassar had performed the “procedure” involving digital vaginal and anal

       penetration on her, and the athlete responded in the affirmative. Klages told the athlete that

       there is no reason to bring up Nassar’s conduct.

133.   Also in or around 1998, another athlete complained to a coach at Twistars’s facility

       regarding Defendant Nassar’s conduct, yet the concerns and allegations went unaddressed.



11
     See, Michigan Administrative Code, R. 325.70001, et seq., available at
http://www.michigan.gov/documents/CIS_WSH_part554_35632_7.pdf. Last accessed, January 5,
2017.

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134.   In or around 1999 the MSU Defendants were also put on notice of Defendant Nassar’s

       conduct by a MSU student and track and cross-country athlete, Christie Achenbach, after

       she complained to MSU employees, including trainers and her head coach, Kelli Bert, that

       Defendant Nassar touched her vaginal area although she was seeking treatment for an

       injured hamstring.

135.   Despite her complaints to MSU representatives, Achenbach’s concerns and allegations

       went unaddressed.

136.   In approximately 2000, a female student athlete and member of Defendant MSU’s

       Women’s Softball Team, Tiffany Thomas Lopez, was sexually assaulted and abused during

       “treatment” by Defendant Nassar and reported Defendant Nassar’s conduct to Defendant

       MSU’s employees, including trainers.

137.   Ms. Lopez’s allegations regarding the sexual assault include the following statements:

       Plaintiff is informed and believes, and on that basis, alleges, that Defendants knew
       or should have known that NASSAR had engaged in unlawful sexually-related
       conduct in the past, and/or was continuing to engage in such conduct. Defendants
       had a duty to disclose these facts to Plaintiff, her parents and others, but negligently
       and/or intentionally suppressed, concealed or failed to disclose this information.
       The duty to disclose this information arose by the special, trusting, confidential,
       fiduciary relationship between Defendants and Plaintiff. Specifically, the
       Defendant MSU knew that NASSAR was performing intravaginal adjustments
       with his bare, ungloved hand and in isolation with young females, based on the
       following:

          a. The Plaintiff, approximately 18 years old at the time, had a visit with
             NASSAR where he touched her vagina, in order to purportedly heal back
             pain, she was having, under the guise of legitimate medical treatment. The
             Plaintiff complained to a trainer on her softball team who responded by
             saying that NASSAR was a world-renowned doctor, and that it was
             legitimate medical treatment. The Plaintiff continued with the purported
             treatment;

          b. As the purported treatments continued, NASSAR became bolder, having
             the Plaintiff remove her pants, and then inserting his bare, ungloved and
             unlubricated hand into her vagina. The Plaintiff, again, reported to


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              Defendant MSU training staff, this time a higher-ranking trainer. This
              trainer told the Plaintiff that the treatment sounded unusual and that the
              Plaintiff needed to speak to an even higher-level trainer in the Department,
              who ended up being one of three individuals who supervised the entire
              department at Defendant MSU;

          c. When the Plaintiff went to see this individual, the Plaintiff was told by that
             individual that what happened to the Plaintiff was not sexual abuse, that
             NASSAR was a world-renowned doctor, and that the Plaintiff was not to
             discuss what happened with NASSAR and was to continue seeing him for
             purported treatment. The Plaintiff continued to see NASSAR for treatment;

          d. Finally, in or around 2001, the Plaintiff refused to continue to see NASSAR
             for these abusive and invasive procedures. Defendant MSU then pressured
             and coerced the Plaintiff to declare herself medically inactive. The Plaintiff
             was shunned from the Defendant MSU sports program, and left Defendant
             MSU to return home to California.12

138.   One of the trainers that Ms. Lopez reported to was Lianna Hadden, who is still presently

       employed by MSU as an athletic trainer with the volleyball team.

139.   After reporting the assault to Ms. Hadden, Ms. Lopez also reported the assault to Defendant

       Teachnor-Hauk.

140.   Ms. Lopez told Defendant Teachnor-Hauk that she was “extremely uncomfortable,” but

       Defendant Teachnor-Hauk told Ms. Thomas Lopez that Nassar was engaged in actual

       medical treatment.

141.   Defendant Teachnor-Hauk further dissuaded Ms. Lopez from reporting Nassar’s conduct

       further by telling Ms. Lopez that if she pursued the matter further that it would cast a burden

       over her family and cause Ms. Lopez a lot of heartache and trauma.

142.   Defendant Teachnor-Hauk also defended Nassar by stating to Ms. Lopez by asking why

       she would want to drag Nassar through an allegation of sexual assault.




12
  See, Case No. BC644417, filed with the Superior California Court of the State of California,
County of Los Angeles, December 21, 2016, ¶26.

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143.   Despite her complaints to MSU employees, agents, and representatives, Ms. Lopez’s

       concerns and allegations went unaddressed in violation of reporting policies and

       procedures and Title IX and in a manner that was reckless, deliberately indifferent, and

       grossly negligent.

144.   In approximately 2001 or 2002, Jennifer Rood Bedford, an MSU student athlete on the

       women’s volleyball team, was sexually assaulted and abused during “treatment” by

       Defendant Nassar and reported Defendant Nassar’s conduct to Defendant MSU’s

       employees, including trainers.13

145.   According to Ms. Bedford, Nassar was known among the women’s volleyball team as the

       “crotch doc” because of his “unconventional methods” of treating sports injuries with

       vaginal penetrations.

146.   Ms. Bedford was extremely uncomfortable with the fact that she had been assaulted and

       reported the incident to MSU athletic trainer Lianna Hadden.

147.   Ms. Hadden dissuaded Ms. Bedford from filing a formal complaint against Nassar because

       it would result in an investigation against Nassar, making an accusation against Nassar and

       statement that she felt that what Nassar did was unprofessional or criminally wrong.

148.   Upon information and belief, in approximately 2004, Defendant Gary E. Stollak was told

       by Kyle Stephens—then 11 or 12 years old—that she had been abused by Defendant

       Nassar.

149.   Defendant Stollak did not report the abuse to law enforcement or to child protective

       services.



13
   See Nassar Victim: Jennifer Rood Bedford Statement, Jan. 16, 2018, Available at
https://www.clickondetroit.com/video/nassar-victim-jennifer-rood-bedford-statement. Last
accessed January 16, 2018.

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150.   Instead, Defendant Stollak suggested that Ms. Stephens and her parents meet with Nassar.

151.   Ms. Stephens refused to attend the meeting, but her parents met with Defendant Stollak

       and Defendant Nassar.

152.   Defendant Stollak’s failure to report Defendant Nassar endangered dozens, if not hundreds,

       of Plaintiff who were subsequently sexually abused, assaulted, and molested by Defendant

       Nassar.

153.   Because MSU took no action to investigate the 1997 or 1998, 1999, 2000, and 2001 or

       2002, and 2004 complaints and took no corrective action, from at least 1997 to 2016, under

       the guise of treatment, the other Plaintiffs, many of whom were minors, were also sexually

       assaulted, abused, and molested by Defendant Nassar by vaginal and anal digital

       penetration, without the use of gloves or lubricant and by touching and groping their

       breasts.

154.   In 2004, Defendant Nassar authored a chapter in Principles of Manual Sports Medicine by

       Steven J. Karageanes.

155.   In the chapter, Defendant Nassar described the pelvic diaphragm, coccyx, and sacroiliac

       ligaments as an area of the body not fully examined due to its proximity to the genitalia

       and buttocks, and stated it was “referred to as the ‘no fly zone’ because of the many cultural

       stigmas in touching this area.”

156.   Defendant Nassar recommended taking “special measures to explain any examination and

       techniques applied in this region,” and “warning in advance of what you are planning to

       do,” among other suggestions.

157.   There is no mention of intravaginal or intra-rectal techniques or procedures in the chapter.

158.   As described in detail below, Defendant Nassar often failed to follow his own




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       recommendations with Plaintiff as:

           a. He did not explain any intravaginal or intra-rectal techniques to Plaintiff or her

              parents; and,

           b. He did not warn Plaintiff he was going to engage in vaginal or anal digital

              penetration before doing so.

159.   Also in 2004, Brianne Randall-Gay reported Defendant Nassar’s conduct to her parents

       and to the Meridian Township Police Department in Meridian Township, Michigan.

160.   In 2014, following receipt of an unrelated complaint regarding a sexual assault on

       Defendant MSU’s campus, between 2014 and 2015 the U.S. Department of Education’s

       Office of Civil Rights (hereinafter “OCR”) conducted an investigation regarding the

       complainant’s allegations, another complaint regarding sexual assault and retaliation from

       2011, and Defendant MSU’s response to said complaints, and their general policies,

       practices, and customs pertaining to their responsibilities under Title IX.14

161.   The OCR concluded their investigation in 2015 and presented Defendant MSU with a

       twenty-one-page agreement containing measures and requirements to resolve the 2011 and

       2014 complaints and to bring Defendant MSU in compliance with Title IX.15

162.   While the OCR was conducting their investigation, additional complaints regarding

       Defendant Nassar’s conduct surfaced in 2014. Amanda Thomashow reported she had an

       appointment with Defendant Nassar to address hip pain and was sexually abused and



14
   See, Letter from U.S. Department of Education Office for Civil Rights to Michigan State
University, September 1, 2015, OCR Docket #15-11-2098, #15-14-2113. Available at
https://www2.ed.gov/documents/press-releases/michigan-state-letter.pdf, last accessed January 4,
2017.
15
   See, Resolution Agreement, August 28, 2015, OCR Document #15-11-2098, #15-14-2133.
Available at, https://www2.ed.gov/documents/press-releases/michigan-state-agreement.pdf. Last
accessed January 5, 2017.

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       molested by Defendant Nassar when he cupped her buttocks, massaged her breast and

       vaginal area, and he became sexually aroused.16

163.   Upon information and belief, Defendant MSU investigated the 2014 complaints through

       their Office of Institutional Equity.

164.   However, Amanda Thomashow reported to Defendant MSU facts which were omitted or

       withheld from the investigative report including but not limited to the following:

            a. Defendant Nassar was sexually aroused while touching her;

            b. The appointment with Defendant Nassar did not end until Amanda Thomashow

               physically removed his hands from her body.

165.   Three months after initiating the investigation, in July 2014, Amanda Thomashow’s

       complaints were dismissed and Defendant MSU determined she didn’t understand the

       “nuanced difference” between sexual assault and an appropriate medical procedure and

       deemed Defendant Nassar’s conduct “medically appropriate” and “[n]ot of a sexual

       nature.”17

166.   Two of the medical experts consulted by the Office of Institutional Equity in investigating

       the victim’s allegations were Defendants Lemmen and Teachnor-Hauk.

167.   Following the investigation, on or about July 30, 2014, Defendant Strampel sent an e-mail

       to Defendant Nassar that provided new institutional guidelines and restrictions that

       Defendant Nassar was subject to including:

       a.      Defendant Nassar was not to examine or treat patients alone but was to be
               accompanied by a chaperone such as a resident or nurse; 18


16
   See, At MSU: Assault, harassment and secrecy. Matt Mencarini, December 15, 2016. Available
at,       http://www.lansingstatejournal.com/story/news/local/2016/12/15/michigan-state-sexual-
assault- harassment-larry-nassar/94993582/. Last accessed January 5, 2017.
17
   Id.
18
   Id.

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       b.     The alleged “procedure” was to altered to ensure there would be little to no skin to
              skin contact when in certain “regions” and if skin to skin contact was “absolutely
              necessary” the “procedure” was to be explained in detail with another person in the
              room for both the explanation and the “procedure;” and,

       c.     New people in the practice were to be “oriented” to ensure understanding with the
              guidelines.

168.   Defendant Strampel sent a copy of the July 30, 2014 e-mail that outlined Defendant

       Nassar’s restrictions and guidelines to Defendant Dietzel.

169.   At all relevant times, Defendant Dietzel, Defendant Strampel, and Defendant Kovan were

       acting in a supervisory role to Defendant Nassar.

170.   The MSU Defendants failed to take any actions to enforce or ensure that Defendant Nassar

       was in compliance with the restrictions outlined by Defendant Strampel in his July 30,

       2014 e-mail to Defendant Nassar.

171.   Upon information and belief, the MSU Defendants failed to take any action to orient new

       MSU employees to ensure that they were aware of the restrictions placed on Nassar.

172.   In approximately March 2016, Diane Rork was an employee of MSU serving as a

       registered medical assistant.19

173.   Through her employment with MSU, Diane Rork had occasion to work with patients who

       were to be seen by Defendant Nassar.

174.   At no point in time was Diane Rork ever told of any restrictions or guidelines regarding

       Defendant Nassar’s treatment of patients.

175.   On one occasion in March 2016, Diane Rork was completing a chart of a girl younger than



19
   See, Kim Kozlowski, Witness: MSU Knew Nassar Asked Her to Leave Girl’s Exam, Kim
Kozlowski, DETROIT NEWS (Dec. 21, 2017),
http://www.detroitnews.com/story/news/michigan/2017/12/21/msu-nassar-scandal-witness-
claims-retribution/108800992/

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       13 who was set to be examined by Defendant Nassar in an exam room at Defendant MSU’s

       Sports Medicine Clinic.

176.   Defendant Nassar ordered Diane Rork to leave the room so that he could “treat” the young

       girl alone.

177.   Diane Rork reported her March 2016 interaction with Defendant Nassar to the MSU Police

       Department in January 2017.

178.   MSU terminated Diane Rork’s employment approximately two weeks later.

179.   In addition, an unnamed registered nurse employed by MSU at the MSU Sports Medicine

       from approximately 2015 to 2016, has indicated that she was never made aware of any

       restrictions or guidelines concerning Defendant Nassar.

180.   This unnamed registered nurse was the only registered nurse employed by Defendant

       MSU’s Sports Medicine Clinic during the time of her employment.

181.   From July 2014 to September 2016, despite complaints about Defendant Nassar’s conduct

       and an open criminal investigation into Defendant Nassar’s conduct, Defendant MSU

       continued to permit Defendant Nassar unfettered access to female athletes without

       adequate oversight or supervision to ensure he was complying with the new guidelines.

182.   In a March 14, 2017 interview with Michigan State University Police Department

       Detective Sergeant Christopher Rozman, Defendant Strampel admitted that the

       institutional restrictions and guidelines that Defendant Nassar was subject to were illusory

       in nature because he only shared them with Defendant Dietzel and took no action

       whatsoever to ensure that the institutional restrictions and guidelines were implemented,

       followed, or enforced.

183.   Defendant Strampel also told Detective Sergeant Rozman that he did not want any other




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           employees in the Sports Medicine Clinic to know that Defendant Nassar had been accused

           of sexual assault or that Nassar was subject to institutional restrictions or guidelines.

184.       Defendant Strampel also admitted to Detective Sergeant Rozman that he did not take any

           steps to orient any new employees at Defendant MSU’s Sports Medicine Clinic to the

           institutional restrictions or guidelines that Defendant Nassar was purportedly subject to

           until after Defendant Nassar’s termination.

185.       In a March 15, 2017 interview with Michigan State University Police Department

           Detective Lieutenant Andrea Munford, Michigan State University Police Department

           Detective Sergeant Christopher Rozman, and Federal Bureau of Investigation Special

           Agent Rodney Charles, Defendant Teachnor-Hauk stated that she had never had an athlete

           tell her that Defendant Nassar had made them uncomfortable or that Defendant Nassar had

           performed digital vaginal penetration.

186.       Defendant Teachnor-Hauk’s March 15, 2017 statements to law enforcement were false for

           the reason that numerous athletes had previously reported concerns of uncomfortable and

           inappropriate treatment by Defendant Nassar to her, including complaints of digital vaginal

           penetration by Defendant Nassar under the guise of medical treatment.

187.       Plaintiff was made aware of Defendant Nassar’s widespread sexual abuse on or around

           September 12, 2016 or sometime thereafter through related media coverage.20

188.       Others have been made aware of the allegations of Defendant Nassar’s conduct more

           recently through related media coverage.

189.       Defendant Nassar’s employment ended with Defendant MSU on approximately September

           20, 2016 only after the MSU Defendants became aware that:



20
     Id.

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          a. Defendants Nassar and USAG were sued by a former Olympian who alleged she
             was sexually assaulted by Defendant Nassar;21 and,

          b. A former patient of Defendant Nassar, Rachel Denhollander, filed a criminal
             complaint with the Michigan State University Police Department alleging
             Defendant Nassar sexually assaulted her when she was 15 years old and seeking
             treatment for back pain as a result of gymnastics. Ms. Denhollander’s allegations
             of sexual assault by Defendant Nassar included but were not limited to:

                      i.      Massaging her genitals;

                      ii.     Penetrating her vagina and anus with his finger and thumb; and,

                      iii.    Unhooking her bra and massaging her breasts.22

190.   Reasons given to Defendant Nassar for his termination included but were not limited to:

          a. Deviation from “required best practices put in place following the internal sexual
             harassment investigation conducted … in 2014;”

          b. Failure to disclose a 2004 complaint to Meridian Township Police; and,

          c. Dishonesty by Defendant Nassar when Defendant MSU questioned him about
             receiving prior complaints about the “procedure” at issue.

191.   Shortly after MSU terminated Defendant Nassar’s employment, Defendant Klages

       requested the MSU Women’s Gymnastics Team members to sign a card for the team to

       show their support for Defendant Nassar—despite the fact that Defendant Klages was

       aware that Defendant Nassar’s employment had been terminated due to numerous claims

       of sexual assault against patients and athletes.23




21
   See, Case No. 34-2016-00200075, filed with the Superior Court of the State of California,
County of Sacramento, September 8, 2016. A copy of the Complaint is available at
https://www.documentcloud.org/     documents/3106054-JANE-JD-COMPLAINT-Signed.html.
Last accessed January 5, 2017.
22
   See, Former USA Gymnastics doctor accused of abuse, Mark Alesia, Marisa Kwiatkowski, Tim
Evans, September 12, 2016. Available at, http://www.indystar.com/story/news/2016/09/12/
former-usa-gymnastics-doctor-accused-abuse/89995734/. Last accessed January 5, 2017.
23
   See, MSU Abuse Scandal: Coach Had Gymnasts Sign Card for Dr. Larry Nassar, Stephanie
Gosk, Kristen Powers, and Tracy Connor, March 21, 2017. Available at,

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192.   Defendant Klages also passionately defended Defendant Nassar to the MSU Women’s

       Gymnastics Team and told her athletes that she would trust her own grandkids with him—

       despite the numerous allegations of sexual assault against Defendant Nassar and the

       existence of open criminal investigations into his conduct.

193.   In September 2016, following MSU’s termination of Defendant Nassar’s employment,

       MSU Athletic Department’s Director of Athletic Communications, Jamie Weir Baldwin,

       instructed members of the MSU Women’s Gymnastics Team not to speak to the media or

       post on their social media accounts regarding Defendant Nassar’s actions.

194.   Based on the communications of the MSU Athletic Department, members of the MSU

       Women’s Gymnastics Team believed that they would be punished by MSU or face

       negative consequences if they came forward to the police or media to describe sexual

       assaults against them.

195.   In December 2016, following the filing of federal child pornography charges against

       Defendant Nassar, Defendant Klages continued to defend Defendant Nassar and told the

       parent of one of Defendant Nassar’s victims that the child pornography “could have been

       planted” by somebody suing Defendant Nassar and also continued to deny that Defendant

       Nassar had sexually assaulted any patients by suggesting that the victims had

       “misinterpreted the treatment.”

196.   MSU did not directly encourage the members of the MSU Women’s Gymnastics Team to

       report suspected abuse by Defendant Nassar to the police until February 2017—

       approximately 5 months after MSU terminated Defendant Nassar’s employment.




https://www.nbcnews.com/news/us-news/msu-abuse-scandal-coach-had-gymnasts-sign-card-dr-
larry-n731781. Last accessed December 27, 2017.

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197.   After receiving allegations of “athlete concerns,” in approximately summer 2015

       Defendant USAG relieved Defendant Nassar of his duties.24

198.   At no time did Defendant USAG inform Defendants MSU, MSU Trustees, or other MSU

       representatives of the concerns that led to Defendant Nassar being relieved from his duties

       with Defendant USAG.

199.   At no time did Defendant USAG inform Defendants Twistars or Geddert of the concerns

       that led to Defendant Nassar being relieved from his duties with Defendant USAG—

       despite the fact that Defendant Twistars is a USAG member club and Defendant Geddert

       is a USAG member coach.

200.   In approximately December 2016, Defendant USAG settled one or more claims against it

       involving allegations of sexual abuse by Defendant Nassar against Olympic gold-medal-

       winning gymnast McKayla Maroney pursuant to a confidential settlement agreement in

       California.

201.   Upon information and belief, USAG entered into one or more confidential settlement

       agreements in California involving claims of child sex abuse or other acts that could be

       prosecuted as a felony sex offense by Defendant Nassar.

202.   Notably, California law prohibits confidential settlements in cases involving allegations of

       child sexual abuse or an act that could be prosecuted as a felony sex offense. CAL. CIV.

       PROC. CODE § 1002.

203.   Upon information and belief, USAG’s settlement agreement with McKayla Maroney is not

       the first or the only settlement agreement that USAG has entered into to resolve civil claims



24
  See, Former USA Gymnastics doctor accused of abuse, Mark Alesia, Marisa Kwiatkowski, Tim
Evans, September 12, 2016. Available at, http://www.indystar.com/story/news/2016/09/12/
former-usa-gymnastics-doctor-accused-abuse/89995734/. Last accessed January 5, 2017.

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       of victims of sexual abuse by Defendant Nassar against USAG.

204.   In late November 2016, Defendant Nassar was arrested and charged in Ingham County,

       Michigan on three charges of first-degree criminal sexual conduct with a person under 13,

       and was later released on $1 million bond.25

205.   In mid-December 2016, Defendant Nassar was indicted, arrested, and charged in Federal

       Court in Grand Rapids, Michigan on charges of possession of child pornography and

       receipt/attempted receipt of child pornography.

206.   According to the federal indictment,26 Defendant Nassar:

          a. Knowingly received and attempted to receive child pornography between
             approximately September 18, 2004 and December 1, 2004;

          b. Knowingly possessed thousands of images of child pornography between
             approximately February 6, 2003 and September 20, 2016 including images
             involving a minor who had not attained 12 years of age.

207.   Testimony given by an FBI agent at a hearing held on December 21, 2016, alleged, among

       other allegations, that Defendant Nassar used a GoPro camera to record video images of

       children in a swimming pool and that:

          a. Defendant Nassar’s hand can be seen grabbing one girl’s hand and shoving it into
             the vaginal area of another girl; and,27

          b. Defendant Nassar’s thumb can be seen pressing into a child’s vagina/vaginal area.28

208.   In mid-January 2017, Defendant Brooke Lemmen, D.O. submitted a letter of resignation

       to Defendant Strampel amid allegations that she:

          a. Removed several boxes of confidential treatment patient records from Defendant
             MSU’s Sports Medicine clinic at Defendant Nassar’s request;



25
   State of Michigan, Ingham County Circuit Court Case No. 17-143-FC.
26
   1:16-cr-00242 PageID.1-4.
27
   Id. at PageID.49-50.
28
   Id. at PageID.50.

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          b. Did not disclose to Defendant MSU that Defendant USAG was investigating
             Defendant Nassar as of July 2015; and,

          c. Made a staff member feel pressured not to fully cooperate in an internal
             investigation into allegations against Defendant Nassar.

209.   On February 7, 2017, a superseding indictment added an additional count of “Destruction

       and Concealment of Records and Tangible Objects” alleging between September 19, 2016

       and September 20, 2016, Defendant Nassar “caused a third-party vendor to permanently

       delete and destroy all images, records, documents, and files contained on the hard drive of

       a laptop computer, and the defendant threw in the trash a number of external hard drives.”29

210.   On February 17, 2017, following a preliminary examination, Defendant Nassar was

       ordered to stand trial on three charges of first-degree criminal sexual conduct with a person

       under 13 in Ingham County, Michigan following testimony which included, among others,

       allegations of digital vaginal penetration at Defendant Nassar’s residence.

211.   On February 22, 2017, Defendant Nassar was arraigned on 22 counts of first-degree

       criminal sexual conduct with a person under 13 years old, and 14 counts of third-degree

       criminal sexual conduct with a person under the age of 13 years old in Ingham County,

       Michigan30 and Eaton County, Michigan.31

212.   Defendant Nassar’s preliminary examinations on the second set of charges in Ingham

       County was held on May 12, 2017, May 26, 2017, and June 23, 2017.

213.   During Nassar’s preliminary examination on May 12, 2017 in the 55th District Court in



29
    Id. at PageID.88.
30
   State v. Nassar, Ingham County District Court Case No. 17-00425, see also,
http://www.michigan.gov/documents/ag/Nassar_affidavit_Ingham_County_charges_Feb._2017_
552531_7.pdf
31
   State v. Nassar, Eaton County District Court Case No. 17-0318, see also,
http://www.michigan.gov/documents/ag/Nassar_affidavit_Eaton_County_charges_Feb._2017_5
52536_7.pdf

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       Ingham County, Michigan, a young woman testified regarding an instance of sexual assault

       that occurred at Twistars’s facility in Dimondale, Michigan in approximately 2010 when

       she was fifteen years old as follows, “Mostly all I remember is [Nassar] doing the treatment

       on me with his fingers in my vagina, massaging my back with a towel over my butt, and

       John [Geddert] walking in and making a joke that I guess my back really did hurt, and then

       I was uncomfortable because John [Geddert] was in there during that.”

214.   At the conclusion of the preliminary examination, Defendant Nassar was ordered to stand

       trial on 12 counts of first-degree criminal sexual conduct following testimony by Rachael

       Denhollander and others, which included, among others, allegations of digital vaginal and

       anal penetration by Defendant Nassar.

215.   Defendant Nassar’s preliminary examination on the charges issued in Eaton County,

       Michigan was held on June 30, 2017.

216.   At the conclusion of the preliminary examination, Defendant Nassar was ordered to stand

       trial on 7 counts of first-degree criminal sexual conduct following testimony, which

       included among others, allegations of digital vaginal penetration by Defendant Nassar.

217.   As of the filing of this Second Amended Complaint, Nassar faced a total of 22 counts of

       first-degree criminal sexual conduct in circuit court—15 in Ingham County, Michigan and

       7 in Eaton County, Michigan.

218.   On or about July 11, 2017, Defendant Nassar pled guilty in his federal criminal case to: (1)

       Receipt and Attempted Receipt of Child Pornography, in violation of 18 U.S.C. §

       2252A(a)(2)(A); (2) Possession of Child Pornography, in violation of 18 U.S.C. §

       2252A(a)(5)(B); and (3) Destruction and Concealment of Records and Tangible Objects,

       in violation of 18 U.S.C. § 1519.




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219.   On November 11, 2017 Defendant Nassar pleaded guilty to seven counts of first-degree

       criminal sexual conduct in Ingham County Circuit Court.

220.   On November 29, 2017 Defendant Nassar pleaded guilty to three counts of first-degree

       criminal sexual conduct in Eaton County Circuit Court.

221.   On December 7, 2017 Defendant Nassar was sentenced in the United States District Court

       for the Western District of Michigan by District Court Judge Janet T. Neff to three twenty-

       year sentences to be served consecutively on his convictions for (1) Receipt and Attempted

       Receipt of Child Pornography, in violation of 18 U.S.C. § 2252A(a)(2)(A); (2) Possession

       of Child Pornography, in violation of 18 U.S.C. § 2252A(a)(5)(B); and (3) Destruction and

       Concealment of Records and Tangible Objects, in violation of 18 U.S.C. § 1519.

222.   Defendant Nassar’s sentencing hearing on his convictions for seven counts of first-degree

       criminal sexual conduct in Ingham County Circuit Court took place from January 16, 2018

       to January 24, 2018.

223.   Defendant Nassar’s sentencing on his convictions for three counts of first-degree criminal

       sexual conduct in Eaton County Circuit Court took place from January 31, 2018 to

       February 5, 2018.

224.   Between the sentencing hearings in Ingham and Eaton Counties, approximately 204 victim

       impact statements given over 9 days.

225.   The Plaintiff in this action gave impact statements, and Plaintiffs who were initially seeking

       to proceed pseudonymously in this action chose to publicly identify themselves at the

       sentencing hearings.

226.   On January 24, 2018, Defendant Nassar was sentenced in Ingham County Circuit Court to

       serve 40 to 175 years in the Michigan Department of Corrections.




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227.   On February 5, 2018, Defendant Nassar was sentenced in Eaton County Circuit Court to

       serve 40 to 125 years in the Michigan Department of Corrections.

228.   During and in the wake of the sentencing hearings:

       a.     Ms. Simon resigned as President of Defendant MSU on January 24, 2018;

       b.     Mr. Hollis resigned as Athletic Director of Defendant MSU on January 26, 2018;

       c.     By January 31, 2018, the entire board of directors of Defendant USAG resigned

              under threat of decertification by the U.S. Olympic Committee;

       d.     Steps to revoke Defendant Strampel’s tenure and terminate his employment with

              Defendant MSU were initiated on or around February 9, 2018, with Defendant

              MSU stating publicly, “. . . Strampel did not act with the level of professionalism

              we expect from individuals who hold senior leadership positions, particularly in a

              position that involves student and patient safety . . . . Further allegations have arisen

              that question whether his personal conduct over a long period of time met MSU’s

              standards.”32

                     V.        SPECIFIC FACTUAL ALLEGATIONS

       A.      ERIKA DAVIS

229.   Plaintiff realleges and incorporates by reference the allegations contained in the previous

       paragraphs.

230.   In 1992 Plaintiff Erika Davis was a vibrant 17-year-old elite field hockey player who had

       received an NCAA scholarship to play at MSU.




32
    See, Engler Takes First step to Remove Strampel, February 8, 2018, available at
http://msutoday.msu.edu/news/2018/engler-takes-first-step-to-remove-strampel/. Last accessed
Feb. 17, 2018.

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231.   Plaintiff Erika was injured in 1992 during her spring quarter practice when she planted too

       hard on the turf and twisted her knee. Her knee began popping a lot and caused her a lot of

       pain and discomfort.

232.   Plaintiff Erika Davis’s injury is not uncommon in field hockey.

233.   Plaintiff Erika’s field hockey Coach, Martha Ludwig, recommended she make an

       appointment with Defendant Nassar for her knee pain. Plaintiff Erika’s Coach knew

       Defendant Nassar through a mutual friend and also told Plaintiff Erika that Defendant

       Nassar was conducting a study and needed athlete participants.

234.   On her coach’s recommendation, and on the reputation of Defendant Nassar, Plaintiff Erika

       made an appointment to see Defendant Nassar on a Friday in the Spring of 1992.

235.   Defendant Nassar was a renowned orthopedic sports medicine physician, well respected in

       the gymnastics community and the team doctor of the United States Gymnastics team.

236.   Defendant Nassar was promoted as the team doctor and received patients because of his

       status as team doctor.

237.   Plaintiff Erika had no reason to suspect Defendant Nassar was anything but a competent,

       respectable physician.

238.   Plaintiff Erika saw Defendant Nassar for the first time, on or about, early 1992.

239.   Beginning with Plaintiff Erika’s first visit Defendant Nassar began to “groom” Plaintiff

       Erika.

240.   Defendant Nassar diagnosed Plaintiff Erika’s knee pain and agreed to treat her.

241.   Defendant Nassar did not discuss what his “treatments” would be with Plaintiff Erika.




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242.   During the course of Defendant Nassar’s first meeting with Plaintiff Erika he asked her a

       variety of questions including, but not limited to, whether her father was around, whether

       she had ever done gymnastics, and whether she had ever had a vaginal exam.

243.   Defendant Nassar asked Plaintiff Erika about her future career aspirations, and she

       responded that she wanted to be a doctor to cure cancer, after her mother had recently

       passed from breast cancer.

244.   Defendant Nassar told Plaintiff Erika that he was doing a flexibility study through the

       College of Osteopathic Medicine. He had a cameraman at the meeting. Plaintiff Erika asked

       how many people were in the study and Defendant Nassar told her that she would be the

       third participant in the study. However, to consent she had to be 18 years old or older. Since

       she was only 17, Defendant Nassar indicated her Coach could consent for her.

245.   Defendant Nassar further inquired whether Plaintiff Erika had ever had a breast

       examination, and she had not. Defendant Nassar asked her to remove her shirt and bra,

       which she did. Defendant Nassar then told her that she had prepubescent breasts, but that

       he thought he could get the nipples hard. He then used his hands and then his mouth to do

       so. During this time, the cameraman was filming Defendant Nassar’s sexual abuse of

       Plaintiff Erika. Defendant Nassar then asked the cameraman to step outside for a

       discussion.

246.   When he returned, Defendant Nassar then asked Plaintiff Erika to come back for a full

       female exam in approximately one week, which she did.

247.   At this appointment, Defendant Nassar crushed up a pill and made Plaintiff Erika drink it.

       He would not tell her what he was giving her, but she was told and trusted that it was part

       of the treatment for her knee.




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248.   Defendant Nassar used a camera to record the appointment.

249.   However, soon thereafter, Plaintiff Erika got so tired and could not move her arms.

       Eventually, she could not keep her eyelids open and got very woozy.

250.   When she was less woozy a short time later, Plaintiff Erika witnessed Defendant Nassar

       raping her.

251.   Plaintiff Erika was a virgin at that time.

252.   She was still unable to move and looked at the clock, realizing that she had been knocked

       out for more than an hour. Plaintiff Erika, still in a daze, felt Defendant Nassar speed up

       his penetrations and then grunt, ejaculating into her.

253.   Defendant Nassar then got dressed, put his penis away and told her that he would see her

       again in two months.

254.   Plaintiff Erika had a difficult time getting up and leaving the office, but when she did, she

       had tremendous pain originating from her vagina.

255.   For the rest of the day, Plaintiff Erika had Defendant Nassar’s semen dripping from her

       vagina into her underwear. She repeatedly went to the bathroom to clean it up.

256.   Plaintiff Erika went to dinner with two of her friends. She eventually told these friends

       what happened to her, and they agreed to go to with her to the police when she was ready

       to do so.

257.   Plaintiff Erika told her coach what happened, and her coach confronted Defendant Nassar

       in May of 1992.

258.   The coach went to Defendant Nassar’s office, demanded and received the video of Plaintiff

       Erika’s appointment with Defendant Nassar.




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259.   The coach then complained about what Defendant Nassar did to Plaintiff Erika to the

       current Athletic Director at Defendant Michigan State University.

260.   George Perles, former Athletic Director at Defendant Michigan State University intervened

       and the charges were dropped against the coach, but she was forced to return the video,

       resign and sign a non-disclosure agreement. Upon information and belief, Coach Martha

       made and retained a copy of the videotape.

261.   This proves that not only did Defendant Michigan State University have knowledge that

       Defendant Nassar sexually abused and sexually assaulted minors, but that it would also go

       to great lengths to conceal this conduct.

262.   Defendant Michigan State University could have stopped Defendant Nassar’s conduct back

       in 1992, but did not.

263.   Defendant Michigan State University could have prevented hundreds of young girls and

       women from being sexually assaulted by Defendant Nassar had they only acted

       appropriately, decently and lawfully in 1992.

264.   Later in the Summer, Plaintiff Erika had not menstruated and informed her “dorm mom”

       Cheryl. They took a pregnancy test and Plaintiff Erika’s came back positive. The only

       person who could have caused her to be pregnant was Defendant Nassar. Cheryl told

       Plaintiff Erika that she had been raped and should report what happened to the police.

265.   A few weeks later, Plaintiff Erika had tremendous abdominal, pelvic and back pain, and

       profuse bleeding. She had miscarried.

266.   Thereafter, Plaintiff Erika was ready to go to the police and she did so with her two friends,

       Teresa and James.




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267.   In October of 1992, Plaintiff Erika and her friends went to the Michigan State University

       police department and reported the rape. The police told them that since she was an athlete,

       she had to report it to the athletic department. The detective explicitly told them that he

       was powerless to investigate anything that takes place to the athletic department and to go

       to the athletic department.

268.   Plaintiff Erika explained that the athletic department already dismissed it and the Sergeant

       responded that George Perles is a “powerful man,” and she should just drop it.

269.   Plaintiff Erika’s friends complained that this was “wrong” and “had to be illegal.” The

       Sergeant told them that his hands were tied and to leave the station.

270.   Thereafter, Plaintiff Erika’s Field Hockey NCAA scholarship was taken away from her.

271.   Plaintiff Erika was young, impressionable and sexually inexperienced. She had never been

       intimate with a member of the opposite sex.

272.   As a young woman, Plaintiff Erika implicitly trusted her doctor.

273.   Under the guise of “treatment” Defendant Nassar subjected Plaintiff Erika to inappropriate,

       nonconsensual sexual touching, abuse, assault, and rape.

274.   Defendant Nassar used his position of authority as a medical professional to abuse Plaintiff

       Erika.

275.   Defendant Nassar would always see Plaintiff Erika alone or with a cameraman.

276.   Defendant Nassar told Plaintiff Erika that it was necessary to examine her breasts and

       vagina given her family history of cancer.

277.   Defendant Nassar is not a gynecologist.

278.   Nonetheless, Defendant Nassar molested, fondled, assaulted, and raped Plaintiff Erika.




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279.   Defendant Nassar repeatedly told Plaintiff Erika his “treatments” were medically

       recognized.

280.   Defendant Nassar routinely claimed he was releasing tension and relaxing muscles.

281.   Defendant Nassar would perform his “treatments” for the entire length of the appointment,

       occasionally for near an hour.

282.   Defendant Nassar would often refer to the inappropriate, nonconsensual sexual touching

       as a “full treatment.”

283.   Plaintiff Erika discontinued treating with Defendant Nassar after this incident.

284.   Plaintiff Erika did not suspect any sexual assault had occurred and she was told that nothing

       could be done about it.

285.   Defendant Nassar was a well-respected physician, he repeatedly told Plaintiff Erika he was

       performing a recognized treatment for knee pain. Defendant Nassar never discussed the

       treatment with Plaintiff Erika and he took careful steps to ensure he was always alone with

       Plaintiff Erika.

286.   Defendant Nassar perpetrated this fraud for over 20 years.

287.   As a sexually inexperienced teenager Plaintiff Erika had no reason and no way to know

       what was happening to her.

288.   Plaintiff Erika was pressured by her coach and the athletic department to not report this

       incident and was told if she reported it that she would lose her field hockey scholarship.

289.   Plaintiff Erika could not have known Defendant Nassar was a serial pedophile who

       carefully selected and groomed his victims.

290.   Plaintiff Erika subconsciously carried the effects of Defendant Nassar’s abuse throughout

       her entire life.




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291.   Plaintiff Erika began to realize what had been done to her when other victims began to

       come forward and when she saw a video of her being examined by Defendant Nassar on

       the news. Plaintiff Erika repressed these memories until February of 2018.

292.   Plaintiff Erika faced the realization Defendant Nassar had never been performing medical

       treatments but instead had sexually assaulted her.

293.   The veil of fraud and intentional concealment finally lifted and Plaintiff Erika understood

       exactly what she had been through.

294.   Plaintiff Erika was forced to relive the trauma of sexual assault as she came to grips with

       everything she had experienced.

295.   Plaintiff Erika has never been able to live a healthy normal life because of the years of

       sexual abuse Plaintiff Erika suffered at the hands of Defendant Nassar. Subconsciously

       Plaintiff Erika has always been affected by the abuse.

296.   Plaintiff Erika suffers from anxiety, depression and a host of other issues, including a

       suicide attempt in 1993 and suicidal ideation at many other times.

297.   Plaintiff Erika must face daily pain and suffering as she goes through the process of

       documenting all the actions of Defendant Nassar. Furthermore, Plaintiff Erika was

       triggered when Channel 7 News covered the story and showed the training video with her

       in it.

298.   Defendant Nassar and the MSU Defendants profited from the training video which featured

       Plaintiff Erika.

299.   Plaintiff Erika was deprived of a normal childhood and is now being deprived of a normal

       life, all because of Defendant’s conduct.




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300.   Plaintiff Erika avoided gynecological exams due to the trauma caused by Defendant

       Nassar. When Plaintiff Erika was finally persuaded to have a gynecological examination,

       she was told that she had been infected by the HPV virus which caused Plaintiff Erika’s

       cervical cancer.

                      VI.         FRAUDULENT CONCEALMENT

B.     A.     THE MSU DEFENDANTS

301.   Plaintiff realleges and incorporates by reference the allegations contained in the previous

       paragraphs.

302.   Plaintiff sought treatment at Defendant MSU’s Sports Medicine Clinic and/or the Athletic

       Department and/or Department of Osteopathic Medicine and was in a special relationship

       in which she paid or was billed for medical treatment.

303.   Given the special relationship, the MSU defendants had a duty to disclose and to warn and

       protect the athletes and patients who sought treatment at its facility with its doctor.

304.   Plaintiff hereby alleges that the MSU Defendants committed Fraudulent Concealment by

       committing Fraud, as described in detail above and below, and concealing the existence of

       Plaintiff’s claims and that Plaintiff had a cause of action against Defendant Nassar and/or

       the MSU Defendants at the time Defendant Nassar’s sexual assaults occurred by making

       material misrepresentation(s) to Plaintiff.

305.   Defendant MSU’s sports medicine trainers, employees, staff, managers, supervisors,

       directors, agents, apparent agents, and/or servants made material representation(s) to

       Plaintiff involving a past or existing fact by making statements that:

       a.     Defendant Nassar was an “Olympic doctor” and “knew what he was doing” in

              regard to performing appropriate “treatments;”




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       b.      Defendant Nassar was a “world-renowned doctor” and that “it was legitimate

               medical treatment,” in regard to the legitimacy and appropriateness of the

               “treatments;”

       c.      Defendant Nassar’s conduct was “not sexual abuse;” and

       d.      That Defendant Nassar’s conduct and “treatments” were “medically appropriate”

               and “[n]ot of a sexual nature” because the complainant “didn’t understand the

               ‘nuanced difference’ between sexual assault and an appropriate medical

               procedure.”

306.   The material representation(s) to Plaintiff were false in that the MSU Defendant had

       previously received strikingly similar complaints of abuse by Defendant Nassar from other

       students and patients and knew that the appropriateness of his “treatments” had been

       questioned in the past.

307.   When the MSU Defendants made the material misrepresentation(s) to Plaintiff, they knew

       that they were false and/or they made them recklessly, without any knowledge of their truth

       and as a positive assertion, because they knew that Defendant MSU had previously

       received strikingly similar complaints of abuse by Defendant Nassar from other students

       and patients and knew that the appropriateness of his “treatments” had been questioned in

       the past.

308.   Defendants made the material representation(s) with the intent that the material

       representation(s) should be acted or relied upon by Plaintiff or her parents, such that

       Plaintiff:

            a. Should believe that the “treatments” were in fact legitimate medical “treatments;”

            b. Should believe that the “treatments” were proper, appropriate, and legitimate;




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           c. Should not believe that they had been sexually assaulted;

           d. Should not believe that they had been sexually assaulted so that he could prevent
              discovery of his sexual assaults;

           e. Should continue the “treatments” so that he could continue to sexually assault them;

           f. Should not question and/or report the conduct to appropriate authorities; and

           g. Should not reasonably believe and not be aware of a possible cause of action that
              they have against Defendant Nassar and/or Defendant MSU.

309.   Plaintiff acted in reliance upon the material representation(s), in that Plaintiff:

           a. Reasonably believed that the “treatments” were in fact “treatments;”

           b. Reasonably believed that the “treatments” were proper, appropriate, and legitimate;

           c. Reasonably did not believe that they had been sexually assaulted;

           d. Believed that they should continue the “treatment[s];”

           e. Did not believe that they should question and/or report the conduct to appropriate
              authorities; and,

           f. Did not reasonably believe that they had and were not aware of a possible cause of
              action that they had against Defendant Nassar and/or the MSU Defendants.


310.   Plaintiff thereby suffered injury, in that Plaintiff:

           a. Could not stop the sexual assault;

           b. Continued to undergo the “treatment[s]” and sexual assaults;

           c. And suffered pregnancy, miscarriage, discomfort, bleeding, urinary tract infections,
              bacterial infections, related physical manifestations thereof, sleep deprivation,
              physical illness, vomiting, severe emotional distress, shock, humiliation, fright,
              grief, embarrassment, loss of self-esteem, disgrace, loss of familial relationships,
              loss of enjoyment of life and will continue to suffer pain of mind and body, were
              prevented and will continue to be prevented from performing Plaintiff’s daily
              activities and obtaining the full enjoyment of life, and have sustained and continue
              to sustain loss of earnings and earning capacity, among other injuries more fully
              described below.




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311.   The MSU Defendants concealed the fraud by failing to disclose, warn, or protect, or by

       making a fraudulent material representation(s) to Plaintiff that was/were designed and/or

       planned to prevent inquiry and escape investigation and prevent subsequent discovery of

       his fraud, in that he made a material representation(s) to Plaintiff involving a past or

       existing fact by:

          a. Making the statement, explaining, that his acts and/or conduct were a “new
             procedure” which involved vaginal or anal penetration;

          b. Making the statement, referring to his conduct, disguised as “treatment,” as a pelvic
             adjustment;

          c. Making the statement, explaining, that his acts and/or conduct was “checking your
             sternum;”

          d. Making the statement, explaining, that his acts and/or conduct was doing a “breast
             exam;”

          e. Making the statement, explaining, that his acts and/or conduct was medical
             “treatment” for a legitimate medical purpose and that it was the same that he
             performed on Olympic athletes;

          f. Making the statement, explaining, that his acts and/or conduct was “attempting to
             manipulate [their] ribs;” and,

          g. Making the statement that the position of his hand was in an appropriate place—
             when it was not—while he was digitally penetrating Plaintiff, all of which were
             made contemporaneously and/or shortly after the abrupt, sudden, quick, and
             unexpected sexual assaults by Defendant Nassar.


312.   Defendants’ agents and employees concealed the fraud by affirmative act(s) that was/were

       designed and/or planned to prevent inquiry and escape investigation and prevent

       subsequent discovery of his fraud, in that they:

          a. Ignored, refused, and failed to inquire, question, and investigate the complaints and
             take action regarding Defendant Nassar’s “treatments;”

          b. Did not create a policy to require adults, parents, chaperones, guardians, and/or
             caregivers presence during an examination of a minor or female patient by a
             physician; and


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          c. Did not enforce the restrictions that had been put into place in 2014 by Defendant
             MSU restricting Defendant Nassar’s examination and treatment of patients.

313.   Plaintiff did not know, could not have reasonably known, and were reasonably unaware of

       a possible cause of action that they had against Defendant Nassar and/or Defendant MSU

       until the September 12, 2016 publication of a story regarding a complaint filed with

       Defendant MSU’s Police Department, titled “Former USA Gymnastics doctor accused of

       Abuse,” or sometime thereafter, for the following reasons among others:

          a. Plaintiff reasonably relied on the Fraud committed by Defendant Nassar by his
             material representations and concealment of the true nature of his
             “treatments[s]”and his actions;

          b. Plaintiff was a minor and/or young female at the time of the assaults and
             “treatments;”


          c. Plaintiff did not know what a legitimate and appropriately performed intra-vaginal
             or intra-anal/rectal treatment was like because she had never experienced and/or
             had an intra-vaginal or intra-anal/rectal treatment before;


          d. Plaintiff had never experienced and/or had an intra-vaginal treatment before
             because she had never been treated by a physician and/or therapist that performed
             them;


          e. Plaintiff did not know what a legitimate and appropriately performed pelvic,
             vaginal, anal, and/or breast exam was like because she had never experienced
             and/or had a pelvic, vaginal, anal, and/or breast exam before;


          f. Plaintiff had never experienced and/or had a pelvic and/or vaginal exam before
             because pelvic and/or vaginal exams are not recommended and routinely performed
             until a female reaches at least the age of 18 years old, pursuant to longstanding
             recommendations in the literature, expert opinions, treatment guidelines, and
             position statement from the American Academy of Pediatrics, American Academy
             of Family Physicians, American Cancer Society, American College of
             Obstetricians and Gynecologists, American Society for Clinical Pathology, and
             American Society for Colposcopy and Cervical Pathology;




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   g. Plaintiff had never experienced and/or had a breast exam before because breast
      exams are not recommended and routinely performed until a female reaches at least
      the age of 21 years old, pursuant to longstanding recommendations in the literature,
      expert opinions, treatment guidelines, and position statement from the American
      Academy of Pediatrics, American Academy of Family Physicians, American
      Cancer Society, American College of Obstetricians and Gynecologists, American
      Society for Clinical Pathology;


   h. Because of these recommendations and never having had one of these treatments
      or exams, it was very difficult if not impossible for Plaintiff to differentiate a
      legitimate and appropriately performed intra-vaginal treatment, pelvic, vaginal,
      anal, and/or breast exam from a sexual assault;


   i. Plaintiff could not have possibly known because there were no parents, chaperones,
      guardians, caregivers, and/or other medical professionals in the room during the
      “treatments” to observe, question, and/or discover that his “treatments” were sexual
      assaults and inform Plaintiff that they had been sexually assaulted and had a cause
      of action against Defendant Nassar;


   j. In the instances where a parent was present in the room, Defendant Nassar’s actions
      to conceal the physical assaults from the view of the parents prevented the parents
      from discovering that his “treatments” were sexual assaults and informing Plaintiff
      that they had been sexually assaulted and had a cause of action against Defendant
      Nassar;


   k. Based on Neuroscience, the prefrontal cortex of the brain, which we use to make
      decisions and distinguish right from wrong, is not fully formed until around the age
      of 23;


   l. Based on Neuroscience, as the prefrontal cortex of the brain matures teenagers are
      able to make better judgments;


   m. Plaintiff was intimidated by Defendant Nassar’s notoriety and reputation and
      therefore believed his misrepresentations that the “treatment[s]” were legitimate
      and appropriate;


   n. Plaintiff trusted Defendant Nassar due to his notoriety and reputation;


   o. Plaintiff trusted Defendant Nassar because he groomed them to believe that his
      “treatments” were legitimate;



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   p. Plaintiff trusted and felt that Defendant Nassar was a friend because at
      appointments he gave Plaintiff gifts such as t-shirts, pins, flags, leotards, and other
      items, some with USAG logos and others without, in order to gain their trust;


   q. Plaintiff had no reason to believe or be aware that she could possibly sue or had a
      possible cause of action because she was a minor and young female who was not
      knowledgeable or aware of the civil justice system;


   r. Plaintiff had no reason to believe or be aware that she could possibly sue or had a
      possible cause of action because she was a minor and young female who was not
      knowledgeable or aware of any remedy at law;


   s. Plaintiff had no reason to believe or be aware that she could possibly sue or had a
      possible cause of action evidenced by the fact that so many other girls had been
      sexually assaulted by Defendant Nassar over the past few decades, none of them
      had a reason to believe or be aware that they could possibly sue or had a possible
      cause of action in the past; and none of them have ever sued him in the past;


   t. Plaintiff was never told by Defendant Nassar that his conduct was sexual in nature
      and not legitimate and appropriate “treatment[s]” and to conceal the sexual conduct
      from their parents and others, unlike other victims of sexual abuse who are typically
      told by their perpetrators that their conduct is of a sexual nature and to conceal the
      sexual conduct from their parents and others;


   u. Plaintiff was compelled by Defendant Nassar to undergo “treatment[s]” like other
      athletes if they wanted to continue being involved in their relevant sport therefore
      the “treatments” were legitimate and appropriate;


   v. Plaintiff was a minor and young athlete; therefore, she was easily suggestible;


   w. Plaintiff had never previously heard about any allegations in the media regarding
      sexual assaults or misconduct by Defendant Nassar;


   x. Plaintiff reasonably and justifiably relied on the Fraud committed by the MSU
      Defendants by their material misrepresentations and concealment of the true nature
      of Defendant Nassar’s “treatments” and his actions;


   y. Plaintiff trusted that the MSU Defendants would protect Plaintiff from harm and
      not hire, employ, and/or retain a physician that had, was, or would perform
      illegitimate and/or inappropriate “treatments,” engage in inappropriate conduct,
      and/or sexually assault patients, students, or athletes;

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           z. Plaintiff was never told by the MSU Defendants that Defendant Nassar’s conduct
              and “treatments” were inappropriate and sexual assault—to the contrary Plaintiff
              was told that Defendant Nassar’s conduct and “treatments” were appropriate and
              legitimate treatments, “not sexual abuse,” “medically appropriate,” and “not of a
              sexual nature” from a “world-renowned” and “Olympic doctor,” who “knew what
              he was doing” and that Plaintiff, because of their age and inexperience with intra-
              vaginal treatment, pelvic, vaginal, anal, and/or breast exams, “didn’t understand the
              ‘nuanced difference’ between sexual assault and an appropriate medical
              procedure;”


           aa. Plaintiff reasonably and justifiably relied on the MSU Defendants to protect them;
               and


           bb. Plaintiff was compelled by the MSU Defendants to undergo “treatments” like other
               athletes if they wanted to continue participating and competing in their relevant
               sport and therefore the “treatments” were legitimate and appropriate.


314.   Back in 1992, Plaintiff was told that there was nothing that she could do about the sexual

       abuse that she suffered and to forget about it.

315.   Plaintiff repressed these memories as best as she could, but then saw herself on television

       as one of the girls in Defendant Nassar’s training videos. This caused her to recall what he

       did to her.

316.   The actions and inactions of the MSU Defendants and Defendant Nassar, as described in

       the preceding paragraphs, constituted Fraudulent Concealment.

317.   At all times pertinent to this action, Defendant Nassar was an agent, apparent agent,

       servant, and employee of Defendant MSU and operated within the scope of his

       employment and his Fraudulent Concealment is imputed to Defendant MSU.

318.   The actions and inactions of the sports medicine trainers, employees, staff, managers,

       supervisors, directors, and the MSU Defendants, as described in the preceding paragraphs

       constituted Fraudulent Concealment.



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319.   At all times material hereto, Plaintiff was entirely free of any negligence contributing to

       the injuries and damages hereinafter alleged.

       C.      DEFENDANT USA GYMNASTICS

320.   Plaintiff realleges and incorporates by reference the allegations contained in the previous

       paragraphs.

321.   Plaintiff sought and received medical treatment from Defendant USAG and was in a special

       relationship with Defendant USAG due to its provision of medical treatment to its athletes.

322.   Given the special relationship, Defendant USAG had a duty to disclose and to warn and

       protect the athletes and patients who sought treatment at its sanctioned events and member

       gyms with its doctor.

323.   Plaintiff incorporates by reference the Fraud claims made below and hereby alleges that

       Defendant USAG committed Fraudulent Concealment by committing Fraud, as described

       in detail above and below, and concealing the existence of Plaintiff’s claims and that

       Plaintiff had a cause of action against Defendant Nassar and/or Defendant USAG at the

       time his sexual assaults occurred by Defendant Nassar making a material representation(s)

       to Plaintiff involving a past or existing fact by:

            a. Making the statement, explaining, that his acts and/or conduct were a “new
               procedure” which involved vaginal penetration;

            b. Making the statement, referring to his conduct, disguised as “treatment,” as a pelvic
               adjustment;

            c. Making the statement, explaining, that his acts and/or conduct was “checking your
               sternum;”

            d. Making the statement, explaining, that his acts and/or conduct was doing a “breast
               exam;”




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          e. Making the statement, explaining, that his acts and/or conduct was medical
             “treatment” for a legitimate medical purpose and that it was the same that he
             performed on Olympic athletes;

          f. Making the statement, explaining, that his acts and/or conduct was “attempting to
             manipulate [their] ribs;” and,

          g. Making a statement, explaining to Plaintiff and another medical professional that
             the position of his hand was in an appropriate place—when it was not—and while
             he was digitally penetrating Plaintiff, all of which were made contemporaneously
             and/or shortly after the abrupt, sudden, quick, and unexpected sexual assaults by
             Defendant Nassar.


324.   The material representation(s) to Plaintiff by Defendant Nassar were false, in that he was

       actually performing them for his own sexual gratification and pleasure evidenced by his

       observed arousal, flushed face, and closing of the eyes during the conduct.

325.   When Defendant Nassar made the material representation(s), he knew that they were false,

       in that he knew that the “treatment[s]” were not proper, appropriate, legitimate, and/or

       considered within standard of care by any physician of any specialty and/or sports therapist.

326.   Defendant Nassar made the material representation(s) with the intent that the material

       representation(s) should be acted upon by Plaintiff, in that Plaintiff:

          a. Should believe that the “treatments” were in fact “treatments;”

          b. Should believe that the “treatment[s]” were proper, appropriate, and legitimate;


          c. Should not believe that they had been sexually assaulted; should not believe that
             they had been sexually assaulted so that he could prevent discovery of his sexual
             assaults;


          d. Should continue the “treatment[s]” so that he could continue to sexually assault
             them;


          e. Should not question and/or report the conduct to appropriate authorities; and,




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           f. Should not reasonably believe and not be aware of a possible cause of action that
              they have against Defendant Nassar and/or Defendant USAG.


327.   Plaintiff acted in reliance upon Defendant Nassar’s material representation(s), in that

       Plaintiff:

           a. Reasonably believed that the “treatments” were in fact “treatments;”

           b. Reasonably believed that the “treatments” were proper, appropriate, and legitimate;

           c. Reasonably did not believe that she had been sexually assaulted;

           d. Believed that she should continue the “treatment[s];”

           e. Did not believe that she should question and/or report the conduct to appropriate
              authorities; and did not reasonably believe that she had and was not aware of a
              possible cause of action that she had against Defendant Nassar and/or Defendant
              USAG.


328.   Plaintiff thereby suffered injury, in that Plaintiff:

           a. Could not stop the sexual assault;

           b. Continued to undergo the “treatment[s]” and sexual assaults; and,

           c. Suffered discomfort, bleeding, urinary tract infections, bacterial infections, related
              physical manifestations thereof, sleep deprivation, physical illness, vomiting,
              severe emotional distress, shock, humiliation, fright, grief, embarrassment, loss of
              self-esteem, disgrace, loss of familial relationships, loss of enjoyment of life and
              will continue to suffer pain of mind and body, were prevented and will continue to
              be prevented from performing Plaintiff’s daily activities and obtaining the full
              enjoyment of life, and have sustained and continue to sustain loss of earnings and
              earning capacity, among other injuries more fully described below.


329.   Defendant Nassar concealed the fraud by making a fraudulent material representation(s) to

       Plaintiff that was/were designed and/or planned to prevent inquiry and escape investigation

       and prevent subsequent discovery of his fraud, in that he made a material representation(s)

       to Plaintiff involving a past or existing fact by:




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          a. Making the statement, explaining, that his acts and/or conduct were a “new
             procedure” which involved vaginal penetration;

          b. Making the statement, referring to his conduct, disguised as “treatment,” as a pelvic
             adjustment;


          c. Making the statement, explaining, that his acts and/or conduct was “checking your
             sternum;”

          d. Making the statement, explaining, that his acts and/or conduct was doing a “breast
             exam;”

          e. Making the statement, explaining, that his acts and/or conduct was “treatment” and
             that it was the same that he performed on Olympic athletes;

          f. Making the statement, explaining, that his acts and/or conduct was “attempting to
             manipulate [their] ribs;” and,

          g. Making a statement, explaining to Plaintiff and another medical professional that
             the position of his hand was in an appropriate place—when it was not—and while
             he was digitally penetrating Plaintiff, all which were made contemporaneously
             and/or shortly after the abrupt, sudden, quick, and unexpected sexual assaults by
             Defendant Nassar.


330.   Defendant Nassar concealed the fraud by an affirmative act(s) that was/were designed

       and/or planned to prevent inquiry and escape investigation and prevent subsequent

       discovery of his fraud, in that he:

          a. Positioned himself in a manner in which parents or chaperones in the room could
             not see his conduct, so that he could conceal and prevent discovery of his conduct;

          b. Dismissed a medical professional from the room, during an examination of Plaintiff
             while he was digitally penetrating Plaintiff, who questioned the placement of his
             hands;

          c. Prevented other medical professionals, chaperones, parents, guardians, and/or
             caregivers from being in the room during examinations and treatments of Plaintiff
             so that he could sexually assault Plaintiff;

          d. Did not abide by or follow the standard and care which requires another medical
             professional, chaperone, parent, guardian, and/or caregiver be in the room during
             the examination and treatment of minors and female patients;



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            e. Did not abide by or follow Defendant USAG’s Code of Ethics, Participant Welfare
               Policy, Safety/Risk Management Certification, principles in Gymnastics Risk
               Management Safety Course Handbook, and Prohibited Conduct policy, which he
               was a part of creating by not examining patients in the presence of a parent,
               chaperone, guardian, and/or caregiver; and,

            f. Gave Plaintiff, at appointments, gifts such as t-shirts, pins, flags, leotards, and other
               items, some with USAG logos and others without, in order to gain their trust.


331.   The actions and inactions of Defendant Nassar, as described in the preceding paragraphs,

       constituted Fraudulent Concealment.

332.   At all times pertinent to this action, Defendant Nassar was an agent, apparent agent,

       servant, and employee of Defendant USAG and operated within the scope of his

       employment and his Fraudulent Concealment is imputed to Defendant USAG.

333.   At all times material hereto, Plaintiff was entirely free of any negligence contributing to

       the injuries and damages hereinafter alleged.

       D.      DEFENDANTS TWISTARS & JOHN GEDDERT

334.   Plaintiff realleges and incorporates by reference the allegations contained in the previous

       paragraphs.

335.   Plaintiff sought and received medical treatment from Defendants Twistars and Geddert and

       were in a special relationship with Defendants Twistars and Geddert due to their provision

       of medical treatment to their athletes.

336.   Given the special relationship, Defendants Twistars and Geddert had a duty to disclose and

       to warn and protect the athletes and patients who sought treatment at its sanctioned events

       and facilities with its doctor.

337.   Plaintiff incorporates by reference the Fraud claims made below and hereby alleges that

       Defendant Twistars and Defendant John Geddert committed Fraudulent Concealment by

       committing Fraud, as described in detail above and below, and concealing the existence of


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       Plaintiff’s claims and that Plaintiff had a cause of action against Defendant Nassar and/or

       Defendant Twistars and Defendant John Geddert at the time his sexual assaults occurred

       by Defendant Nassar making a material representation(s) to Plaintiff involving a past or

       existing fact by:

          a. Making the statement, explaining, that his acts and/or conduct were a “new
             procedure” which involved vaginal penetration;

          b. Making the statement, referring to his conduct, disguised as “treatment,” as a pelvic
             adjustment;

          c. Making the statement, explaining, that his acts and/or conduct was “checking your
             sternum;”

          d. Making the statement, explaining, that his acts and/or conduct was doing a “breast
             exam;”

          e. Making the statement, explaining, that his acts and/or conduct was medical
             “treatment” for a legitimate medical purpose and that it was the same that he
             performed on Olympic athletes;

          f. Making the statement, explaining, that his acts and/or conduct was “attempting to
             manipulate [their] ribs;” and,

          g. Making a statement, explaining to Plaintiff and another medical professional that
             the position of his hand was in an appropriate place—when it was not—and while
             he was digitally penetrating Plaintiff, all of which were made contemporaneously
             and/or shortly after the abrupt, sudden, quick, and unexpected sexual assaults by
             Defendant Nassar.

338.   The material representation(s) to Plaintiff by Defendant Nassar were false, in that he was

       actually performing them for his own sexual gratification and pleasure evidenced by his

       observed arousal, flushed face, and closing of the eyes during the conduct.

339.   When Defendant Nassar made the material representation(s), he knew that they were false,

       in that he knew that the “treatment[s]” were not proper, appropriate, legitimate, and/or

       considered within standard of care by any physician of any specialty and/or sports therapist.




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340.   Defendant Nassar made the material representation(s) with the intent that the material

       representation(s) should be acted upon by Plaintiff, in that Plaintiff:

           a. Should believe that the “treatments” were in fact “treatments;”

           b. Should believe that the “treatment[s]” were proper, appropriate, and legitimate;

           c. Should not believe that she had been sexually assaulted; should not believe that she
              had been sexually assaulted so that he could prevent discovery of his sexual
              assaults;

           d. Should continue the “treatment[s]” so that he could continue to sexually assault
              them;

           e. Should not question and/or report the conduct to appropriate authorities; and,

           f. Should not reasonably believe and not be aware of a possible cause of action that
              she had against Defendant Nassar and/or Defendant Twistars or Defendant
              Geddert.


341.   Plaintiff acted in reliance upon Defendant Nassar’s material representation(s), in that

       Plaintiff:

           a. Reasonably believed that the “treatments” were in fact “treatments;”

           b. Reasonably believed that the “treatments” were proper, appropriate, and legitimate;

           c. Reasonably did not believe that she had been sexually assaulted;

           d. Believed that they should continue the “treatment[s];”

           e. Did not believe that she should question and/or report the conduct to appropriate
              authorities; and did not reasonably believe that she had and was not aware of a
              possible cause of action that she had against Defendant Nassar and/or Defendant
              Twistars or Defendant Geddert.


342.   Plaintiff thereby suffered injury, in that Plaintiff:

           a. Could not stop the sexual assault;

           b. Continued to undergo the “treatment[s]” and sexual assaults; and,




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           c. Suffered discomfort, bleeding, urinary tract infections, bacterial infections, related
              physical manifestations thereof, sleep deprivation, physical illness, vomiting,
              severe emotional distress, shock, humiliation, fright, grief, embarrassment, loss of
              self-esteem, disgrace, loss of familial relationships, loss of enjoyment of life and
              will continue to suffer pain of mind and body, were prevented and will continue to
              be prevented from performing Plaintiff’s daily activities and obtaining the full
              enjoyment of life, and have sustained and continue to sustain loss of earnings and
              earning capacity, among other injuries more fully described below.


343.   Defendant Nassar concealed the fraud by making a fraudulent material representation(s) to

       Plaintiff that was/were designed and/or planned to prevent inquiry and escape investigation

       and prevent subsequent discovery of his fraud, in that he made a material representation(s)

       to Plaintiff involving a past or existing fact by:

           a. Making the statement, explaining, that his acts and/or conduct were a “new
              procedure” which involved vaginal penetration;

           b. Making the statement, referring to his conduct, disguised as “treatment,” as a pelvic
              adjustment;

           c. Making the statement, explaining, that his acts and/or conduct was “checking your
              sternum;”

           d. Making the statement, explaining, that his acts and/or conduct was doing a “breast
              exam;”

           e. Making the statement, explaining, that his acts and/or conduct was medical
              “treatment” for a legitimate medical purpose and that it was the same that he
              performed on Olympic athletes;

           f. Making the statement, explaining, that his acts and/or conduct was “attempting to
              manipulate [her] ribs;” and,

           g. Making a statement, explaining to Plaintiff and another medical professional that
              the position of his hand was in an appropriate place—when it was not—and while
              he was digitally penetrating Plaintiff, all which were made contemporaneously
              and/or shortly after the abrupt, sudden, quick, and unexpected sexual assaults by
              Defendant Nassar.




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344.   Defendant Nassar concealing the fraud by an affirmative act(s) that was/were designed

       and/or planned to prevent inquiry and escape investigation and prevent subsequent

       discovery of his fraud, in that he:

          a. Positioned himself in a manner in which parents or chaperones in the room could
             not see his conduct, so that he could conceal and prevent discovery of his conduct;

          b. Dismissed a medical professional from the room, during an examination of Plaintiff
             while he was digitally penetrating Plaintiff, who questioned the placement of his
             hands;

          c. Prevented other medical professionals, chaperones, parents, guardians, and/or
             caregivers from being in the room during examinations and treatments of Plaintiff
             so that he could sexually assault Plaintiff;

          d. Did not abide by or follow the standard and care which requires another medical
             professional, chaperone, parent, guardian, and/or caregiver be in the room during
             the examination and treatment of minors and female patients;

          e. Did not abide by or follow Defendant USAG’s Code of Ethics, Participant Welfare
             Policy, Safety/Risk Management Certification, principles in Gymnastics Risk
             Management Safety Course Handbook, and Prohibited Conduct policy, or any
             similar policies established by Defendant Twistars or Defendant Geddert, by not
             examining patients in the presence of a parent, chaperone, guardian, and/or
             caregiver; and,


          f. Gave Plaintiff, at appointments, gifts such as t-shirts, pins, flags, leotards, and other
             items, some with USAG logos and others without, in order to gain their trust.

345.   The actions and inactions of Defendant Nassar, as described in the preceding paragraphs,

       constituted Fraudulent Concealment.

346.   At all times pertinent to this action, Defendant Nassar was an agent, apparent agent,

       servant, and employee of Defendant Twistars and Defendant Geddert and operated within

       the scope of his employment and his Fraudulent Concealment is imputed to Defendant

       Twistars and Defendant Geddert.

347.   At all times material hereto, Plaintiff was entirely free of any negligence contributing to

       the injuries and damages hereinafter alleged.


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       E.      DEFENDANT NASSAR

348.   Plaintiff realleges and incorporates by reference the allegations contained in the previous

       paragraphs.

349.   Plaintiff had a special relationship with Defendant Nassar given their physician-patient

       relationship.

350.   Given the special relationship, Defendant Nassar had an affirmative duty to disclose and

       to warn and protect athletes and patients who sought his medical treatment from sexual

       abuse, assault, and molestation.

351.   Plaintiff hereby alleges that Defendant Nassar committed Fraudulent Concealment by

       committing Fraud, as described in detail above and below, and concealing the existence of

       Plaintiff’s claims and that Plaintiff had a cause of action against Defendant Nassar and/or

       Defendant MSU at the time his sexual assaults occurred making a material

       representation(s) to Plaintiff involving a past or existing fact by:

            a. Making the statement, explaining, that his acts and/or conduct were a “new
               procedure” which involved vaginal penetration;

            b. Making the statement, referring to his conduct, disguised as “treatment,” as a pelvic
               adjustment;

            c. Making the statement, explaining, that his acts and/or conduct was “checking your
               sternum;”

            d. Making the statement, explaining, that his acts and/or conduct was doing a “breast
               exam;”

            e. Making the statement, explaining, that his acts and/or conduct was medical
               “treatment” for a legitimate medical purpose and that it was the same that he
               performed on Olympic athletes;

            f. Making the statement, explaining, that his acts and/or conduct was “attempting to
               manipulate [their] ribs;” and,




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           g. Making a statement, explaining to Plaintiff and another medical professional that
              the position of his hand was in an appropriate place—when it was not—and while
              he was digitally penetrating Plaintiff, all of which were made contemporaneously
              and/or shortly after the abrupt, sudden, quick, and unexpected sexual assaults by
              Defendant Nassar.

352.   The material representation(s) to Plaintiff by Defendant Nassar were false, in that he was

       actually performing them for his own sexual gratification and pleasure evidenced by his

       observed arousal, flushed face, and closing of the eyes during the conduct.

353.   When Defendant Nassar made the material representation(s), he knew that they were false,

       in that he knew that the “treatment[s]” were not proper, appropriate, legitimate, and/or

       considered within standard of care by any physician of any specialty and/or sports therapist.

354.   Defendant Nassar made the material representation(s) with the intent that the material

       representation(s) should be acted upon by Plaintiff, in that Plaintiff:

           a. Should believe that the “treatments” were in fact “treatments;”

           b. Should believe that the “treatment[s]” were proper, appropriate, and legitimate;

           c. Should not believe that she had been sexually assaulted; should not believe that she
              had been sexually assaulted so that he could prevent discovery of his sexual
              assaults;

           d. Should continue the “treatment[s]” so that he could continue to sexually assault her;

           e. Should not question and/or report the conduct to appropriate authorities; and,

           f. Should not reasonably believe and not be aware of a possible cause of action that
              she has against Defendant Nassar and/or Defendant Twistars or Defendant Geddert.


355.   Plaintiff acted in reliance upon Defendant Nassar’s material representation(s), in that

       Plaintiff:

           a. Reasonably believed that the “treatments” were in fact “treatments;”

           b. Reasonably believed that the “treatments” were proper, appropriate, and legitimate;

           c. Reasonably did not believe that she had been sexually assaulted;


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           d. Believed that she should continue the “treatment[s];”

           e. Did not believe that she should question and/or report the conduct to appropriate
              authorities; and did not reasonably believe that she had and was not aware of a
              possible cause of action that she had against Defendant Nassar and/or Defendant
              Twistars or Defendant Geddert.


356.   Plaintiff thereby suffered injury, in that Plaintiff:

           a. Could not stop the sexual assault;

           b. Continued to undergo the “treatment[s]” and sexual assaults; and,

           c. Suffered discomfort, bleeding, urinary tract infections, bacterial infections, related
              physical manifestations thereof, sleep deprivation, physical illness, vomiting,
              severe emotional distress, shock, humiliation, fright, grief, embarrassment, loss of
              self-esteem, disgrace, loss of familial relationships, loss of enjoyment of life and
              will continue to suffer pain of mind and body, were prevented and will continue to
              be prevented from performing Plaintiff’s daily activities and obtaining the full
              enjoyment of life, and have sustained and continue to sustain loss of earnings and
              earning capacity, among other injuries more fully described below.


357.   Defendant Nassar concealed the fraud by making a fraudulent material representation(s) to

       Plaintiff that was/were designed and/or planned to prevent inquiry and escape investigation

       and prevent subsequent discovery of his fraud, in that he made a material representation(s)

       to Plaintiff involving a past or existing fact by:

           a. Making the statement, explaining, that his acts and/or conduct were a “new
              procedure” which involved vaginal penetration;

           b. Making the statement, referring to his conduct, disguised as “treatment,” as a pelvic
              adjustment;

           c. Making the statement, explaining, that his acts and/or conduct was “checking your
              sternum;”

           d. Making the statement, explaining, that his acts and/or conduct was doing a “breast
              exam;”




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          e. Making the statement, explaining, that his acts and/or conduct was medical
             “treatment” for a legitimate medical purpose and that it was the same that he
             performed on Olympic athletes;

          f. Making the statement, explaining, that his acts and/or conduct was “attempting to
             manipulate [their] ribs;” and,

          g. Making a statement, explaining to Plaintiff and another medical professional that
             the position of his hand was in an appropriate place—when it was not—and while
             he was digitally penetrating Plaintiff, all which were made contemporaneously
             and/or shortly after the abrupt, sudden, quick, and unexpected sexual assaults by
             Defendant Nassar.


358.   Defendant Nassar concealing the fraud by an affirmative act(s) that was/were designed

       and/or planned to prevent inquiry and escape investigation and prevent subsequent

       discovery of his fraud, in that he:

          a. Positioned himself in a manner in which parents or chaperones in the room could
             not see his conduct, so that he could conceal and prevent discovery of his conduct;

          b. Dismissed a medical professional from the room, during an examination of Plaintiff
             while he was digitally penetrating Plaintiff, who questioned the placement of his
             hands;

          c. Prevented other medical professionals, chaperones, parents, guardians, and/or
             caregivers from being in the room during examinations and treatments of Plaintiff
             so that he could sexually assault Plaintiff;

          d. Did not abide by or follow the standard and care which requires another medical
             professional, chaperone, parent, guardian, and/or caregiver be in the room during
             the examination and treatment of minors and female patients;

          e. Did not abide by or follow Defendant USAG’s Code of Ethics, Participant Welfare
             Policy, Safety/Risk Management Certification, principles in Gymnastics Risk
             Management Safety Course Handbook, and Prohibited Conduct policy, or any
             similar policies established by Defendant Twistars or Defendant Geddert, by not
             examining patients in the presence of a parent, chaperone, guardian, and/or
             caregiver; and,


          f. Gave Plaintiff, at appointments, gifts such as t-shirts, pins, flags, leotards, and other
             items, some with USAG logos and others without, in order to gain their trust.




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359.     The actions and inactions of Defendant Nassar, as described in the preceding paragraphs,

         constituted Fraudulent Concealment.

360.     At all times pertinent to this action, Defendant Nassar was an agent, apparent agent,

         servant, and employee of Defendants MSU, USAG, and Twistars and operated within the

         scope of his employment and his Fraudulent Concealment is imputed to Defendants MSU,

         USAG, and Twistars.

361.     At all times material hereto, Plaintiff was entirely free of any negligence contributing to

         the injuries and damages hereinafter alleged.


 VII.          CLAIMS AGAINST MICHIGAN STATE UNIVERSITY DEFENDANTS

         F.      A.     COUNT ONE

                             VIOLATIONS OF TITLE IX
                              20 U.S.C. §1681(a), et seq.
              PLAINTIFF AGAINST DEFENDANTS MSU AND MSU TRUSTEES

362.     Plaintiff realleges and incorporates by reference the allegations contained in the previous

         paragraphs.

363.     Title IX’s statutory language states, “No person in the United States shall on the basis of

         sex, be … subject to discrimination under any education program or activity receiving

         Federal financial assistance …”33

364.     Plaintiff is a “person” under the Title IX statutory language.

365.     Defendant MSU receives federal financial assistance for its education program and is

         therefore subject to the provisions of Title IX of the Education Act of 1972, 20 U.S.C. §

         1681(a), et seq.




33
     20 U.S.C. § 1681(a) (emphasis added).

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366.   Defendant MSU is required under Title IX to investigate allegations of sexual assault,

       sexual abuse, and sexual harassment.

367.   The U.S. Department of Education’s Office of Civil Rights has explained that Title IX

       covers all programs of a school, and extends to sexual harassment and assault by

       employees, students and third parties.34

368.   Defendant Nassar’s actions and conduct were carried out under one of Defendant MSU’s

       education programs or activities, which provides medical treatment to students, athletes,

       and the public.

369.   Defendant Nassar’s conduct and actions toward Plaintiff, that being nonconsensual digital

       vaginal and anal penetration, touching of Plaintiff’s vaginal area, and touching of

       Plaintiff’s breasts constitutes sex discrimination under Title IX.

370.   As early as 1997, an “appropriate person” at Defendant MSU had actual knowledge of the

       sexual assault, abuse, and molestation committed by Defendant Nassar by virtue of Larisa

       Boyce’s statements to Defendant Klages regarding her sexual assault by Defendant Nassar.

371.   In addition, Defendant MSU was aware that Defendant Nassar sexually assaulted Plaintiff

       in 1992 and rather than investigate and take affirmative actions to cease this unlawful

       conduct, the defendants covered up and/or concealed what happened.

372.   Given the response by defendants to Plaintiff Erika’s complaints, it is clear that defendant

       MSU was aware and/or had notice that Defendant Nassar sexually assaulted other girls,

       children and/or young women.

373.   Larisa Boyce’s statements to Defendant Klages were further corroborated to Defendant




34
  U.S. Dept. of Ed., Office of Civil Rights, Q & A on Title IX and Sexual Misconduct, Sept. 22,
2017, at 1, 2, 3, https://www2.ed.gov/about/offices/list/ocr/docs/qa-title-ix-201709.pdf.

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       Klages by other athletes.

374.   In addition, the MSU Defendants were notified about Defendant Nassar’s sexual abuse and

       molestation by Christie Achenbach in or around 1999 and by Tiffany Thomas Lopez in

       2000 on more than one occasion.

375.   Among the persons notified about Defendant Nassar’s sexual abuse was Defendant

       Teachnor-Hauk, who was serving in a supervisory role to other athletic trainers and was an

       “appropriate person.”

376.   In approximately 2001 or 2002, Jennifer Rood Bedford, an MSU student athlete on the

       women’s volleyball team, was sexually assaulted and abused during “treatment” by

       Defendant Nassar and reported Defendant Nassar’s conduct to Defendant MSU’s

       employees, including trainers.35

377.   According to Ms. Bedford, Nassar was known among the women’s volleyball team as the

       “crotch doc” because of his “unconventional methods” of treating sports injuries with

       vaginal penetrations.

378.   Ms. Bedford was extremely uncomfortable with the fact that she had been assaulted and

       reported the incident to MSU athletic trainer Lianna Hadden.

379.   Ms. Hadden dissuaded Ms. Bedford from filing a formal complaint against Nassar because

       it would result in an investigation against Nassar, making an accusation against Nassar and

       statement that she felt that what Nassar did was unprofessional or criminally wrong.




35
   See Nassar Victim: Jennifer Rood Bedford Statement, Jan. 16, 2018, Available at
https://www.clickondetroit.com/video/nassar-victim-jennifer-rood-bedford-statement. Last
accessed January 16, 2018.

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380.   Upon information and belief, in approximately 2004, Defendant Gary E. Stollak was told

       by Kyle Stephens—then 11 or 12 years old—that she had been abused by Defendant

       Nassar.

381.   Defendant Stollak did not report the abuse to law enforcement or to child protective

       services.

382.   The MSU Defendants failed to carry out their duties to investigate and take corrective

       action under Title IX following the complaints of sexual assault, abuse, and molestation in

       or around 1997/1998, 1999, 2000, 2001/2002, and 2004.

383.   The MSU Defendants were notified again in 2014 of Defendant Nassar’s conduct when

       Amanda Thomashow reported she had an appointment with Defendant Nassar to address

       hip pain and was sexually abused and molested by Defendant Nassar when he cupped her

       buttocks, massaged her breast and vaginal area, and he became sexually aroused.36

384.   Amanda Thomashow reported to Defendant MSU facts which were omitted or withheld

       from the investigative report including but not limited to the following:

          a. Defendant Nassar was sexually aroused while touching her;

          b. The appointment with Defendant Nassar did not end until she physically removed
             his hands from her body.

385.   Three months after initiating an investigation, in July 2014, Amanda Thomashow’s

       complaints were dismissed and Defendant MSU determined she didn’t understand the

       “nuanced difference” between sexual assault and an appropriate medical procedure and

       deemed Defendant Nassar’s conduct “medically appropriate” and “Not of a sexual




36
   See, At MSU: Assault, harassment and secrecy. Matt Mencarini, December 15, 2016. Available
at        http://www.lansingstatejournal.com/story/news/local/2016/12/15/michigan-state-sexual-
assault- harassment-larry-nassar/94993582/, last accessed January 5, 2017.

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           nature.”37

386.       In addition, MSU produced two different versions of the report in response to the July 2014

           investigation—one version was sent to Amanda Thomashow and a different version was

           sent to Defendant Nassar and other MSU personnel.

387.       Following the 2014 investigation, Defendant Nassar became subject to new institutional

           guidelines, including requirements that Defendant Nassar minimize or eliminate skin-to-

           skin contact and to have a chaperone in the room.38

388.       The MSU Defendants failed to adequately supervise or otherwise ensure Defendant Nassar

           complied with the newly imposed institutional guidelines even though the MSU

           Defendants had actual knowledge that Defendant Nassar posed a substantial risk of

           additional sexual abuse of the females whom he had unfettered access.

389.       After the 1992, 1997/1998, 1999, 2000, 2001/2002, and 2014 complaints to MSU

           employees or agents, Defendant Nassar continued to sexually assault, abuse, and molest

           individuals.

390.       The MSU Defendants acted with deliberate indifference to known acts of sexual assault,

           abuse, and molestation on its premises by:

              a. failing to investigate and address the prior allegations as required by Title IX;

              b. failing to adequately investigate and address the 1997, 1999, 2000, 2001/2002, and
                 2014 complaints regarding Defendant Nassar’s conduct; and,

              c. failing to institute corrective measures to prevent Defendant Nassar from violating
                 and sexually abusing other students and individuals, including minors.

391.       The MSU Defendants acted with deliberate indifference as its lack of response to the




37
     Id.
38
     Id.

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       allegations of sexual assault, abuse, and molestation was clearly unreasonable in light of

       the known circumstances, including Defendant Nassar’s actions with patients, female

       athletes, and his access to young girls and young women.

392.   The MSU Defendants’ deliberate indifference was confirmed by the Department of

       Education’s investigation into Defendant MSU’s handling of sexual assault and

       relationship violence allegations which revealed:

          a. A sexually hostile environment existed and affected numerous students and staff
             on Defendant MSU’s campus;

          b. That the University’s failure to address complaints of sexual harassment, including
             sexual violence in a prompt and equitable manner caused and may have contributed
             to a continuation of the sexually hostile environment.39

393.   The MSU Defendants’ responses were clearly unreasonable as Defendant Nassar continued

       to sexually assault female athletes, patients, and other individuals until he was discharged

       from the University in September 2016.

394.   Between the dates of approximately 1992 and 2016, the MSU Defendants acted in a

       deliberately indifferent, grossly negligent, and/or reckless manner when they failed to

       reasonably respond to Defendant Nassar’s sexual assaults and sex-based harassment of

       Plaintiff on and off school premises.

395.   The MSU Defendants’ failure to promptly and appropriately investigate and remedy and

       respond to the sexual assaults after they received repeated notice of Defendant Nassar’s

       wrongdoing subjected Plaintiff and countless others to further sexual harassment and

       sexual assaults as well as a sexually hostile environment—effectively denying them all



39
   See, Letter from U.S. Department of Education Office for Civil Rights to Michigan State
University, September 1, 2015, OCR Docket #15-11-2098, #15-14-2113. Available at
https://www2.ed.gov/documents/press-releases/michigan-state-letter.pdf. Last accessed January
4, 2017.

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       access to educational opportunities at MSU, including medical care.

396.   As a direct and/or proximate result of the MSU Defendants’ actions and/or inactions,

       Plaintiff has suffered and continues to suffer pain and suffering, pain of mind and body,

       pregnancy and miscarriage and sequelae thereto, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

       grief, humiliation, trauma, loss of enjoyment of life, post-traumatic stress disorder resulting

       in physically manifested injuries including anxiety, depressions, sleep disorders,

       nightmares, psychological injuries, and physical injuries. Plaintiff was prevented and will

       continue to be prevented from performing Plaintiff’s daily activities and obtaining the full

       enjoyment of life and have sustained and continue to sustain loss of earnings and earning

       capacity.

397.   In the alternative, the actions or inaction of the MSU Defendants was deliberately

       indifferent or so reckless as to demonstrate a substantial lack of concern for whether an

       injury would result to Plaintiff and constitutes gross negligence that is the proximate cause

       of Plaintiff’s damages. Plaintiff has suffered and continues to suffer pain and suffering,

       pregnancy and miscarriage and sequelae thereto, pain of mind and body, shock, emotional

       distress, physical manifestations of emotional distress, embarrassment, trauma loss of self-

       esteem, disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress

       disorder resulting in physically manifested injuries including anxiety, depressions, sleep

       disorders, nightmares, psychological injuries, and physical injuries. Plaintiff was prevented

       and will continue to be prevented from performing Plaintiff’s daily activities and obtaining

       the full enjoyment of life and have sustained and continue to sustain loss of earnings and

       earning capacity.




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       B.     COUNT TWO

                             SEX DISCRIMINATION
 42 U.S.C. § 18116 (PATIENT PROTECTION AND AFFORDABLE CARE ACT § 1557)
         PLAINTIFF AGAINST DEFENDANTS MSU AND MSU TRUSTEES

398.   Plaintiff realleges and incorporates by reference the allegations contained in the previous

       paragraphs.

399.   Section 1557 of the Patient Protection and Affordable Care Act, which is codified at 42

       U.S.C. § 18116, provides that:

              Except as otherwise provided for in this title (or an amendment made by
              this title), an individual shall not, on the ground prohibited under . . . title
              IX of the Education Amendments of 1972 (20 U.S.C. 1681 et seq.) . . . be
              excluded from participation in, be denied the benefits of, or be subjected to
              discrimination under, any health program or activity, any part of which is
              receiving Federal financial assistance, including credits, subsidies, or
              contracts of insurance, or under any program or activity that is administered
              by an Executive Agency or any entity established under this title (or
              amendments). The enforcement mechanisms provided for and available
              under . . . title IX shall apply for purposes of violations of this subsection.

400.   Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 et seq. prohibits sex

       discrimination in programs that receive federal financial assistance.

401.   Plaintiff as a female has a right under 42 U.S.C. § 18116 to receive health care services

       free from discrimination on the basis of sex.

402.   Plaintiff is an “individual” within the meaning of 42 U.S.C. § 18116.

403.   Defendant MSU receives Federal financial assistance within the meaning of 42 U.S.C. §

       18116 because it receives federal financial assistance such as credits, subsidies, or contracts

       of insurance.

404.   Defendant Nassar’s conduct and actions toward Plaintiff, that being nonconsensual digital

       vaginal and anal penetration, touching of Plaintiff’s vaginal area, touching of Plaintiff’s

       breasts, and rape constitutes sex discrimination under Title IX and 42 U.S.C. § 18116.


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405.   The conduct of Defendants MSU and MSU Trustees described above constitutes sex

       discrimination against Plaintiff.

406.   Defendants MSU and MSU Trustees perpetrated this discrimination with malice, deliberate

       disregard for, or deliberate or reckless indifference to Plaintiff’s rights.

407.   The MSU Defendants’ failure to promptly and appropriately investigate and remedy and

       respond to the sexual assaults after they received repeated notice of Defendant Nassar’s

       wrongdoing subjected Plaintiff and countless others to further sexual harassment and

       sexual assaults as well as a sexually hostile environment—effectively denying them all

       access to any health program or activity at MSU.

408.   As a direct and/or proximate result of the MSU Defendants’ actions and/or inactions,

       Plaintiff has suffered and continue to suffer pain and suffering, pregnancy and miscarriage

       and sequelae thereto, pain of mind and body, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

       grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in

       physically manifested injuries including anxiety, depressions, sleep disorders, nightmares,

       psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

       be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

       of life and have sustained and continue to sustain loss of earnings and earning capacity.

409.   In the alternative, the actions or inaction of the MSU Defendants was deliberately

       indifferent or so reckless as to demonstrate a substantial lack of concern for whether an

       injury would result to Plaintiff and constitutes gross negligence that is the proximate cause

       of Plaintiff’s damages. Plaintiff has suffered and continues to suffer pain and suffering,

       pregnancy and miscarriage and sequelae thereto, pain of mind and body, shock, emotional




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       distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder

       resulting in physically manifested injuries including anxiety, depressions, sleep disorders,

       nightmares, psychological injuries, and physical injuries. Plaintiff was prevented and will

       continue to be prevented from performing Plaintiff’s daily activities and obtaining the full

       enjoyment of life and have sustained and continue to sustain loss of earnings and earning

       capacity.

       C.     COUNT THREE

                    VIOLATION OF CIVIL RIGHTS
                          42 U.S.C. § 1983
    PLAINTIFF AGAINST DEFENDANT KLAGES, DEFENDANT STRAMPEL,
    DEFENDANT KOVAN, DEFENDANT DIETZEL, DEFENDANT LEMMEN,
  DEFENDANT TEACHNOR-HAUK, DEFENDANT STOLLAK, AND DEFENDANT
                             NASSAR

410.   Plaintiff realleges and incorporates by reference the allegations contained in the previous

       paragraphs.

411.   Plaintiff, as a female, is a member of a protected class under the Equal Protection Clause

       of the Fourteenth Amendment to the United States Constitution.

412.   Plaintiff also enjoys the constitutionally protected substantive due process right to be free

       from the invasion of bodily integrity through rape, sexual assault, abuse, or molestation

       under the Fourteenth Amendment to the United States Constitution.

413.   At all relevant times, Defendants Klages, Strampel, Kovan, Dietzel, Lemmen, Teachnor-

       Hauk, Stollak, and Nassar were acting under color of law, to wit, under color of statutes,

       ordinances, regulations, policies, customs, and usages of the State of Michigan and/or

       Defendant Michigan State University.

414.   The acts as alleged above amount to a violation of these clearly established constitutionally


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       protected rights, including the right to be free from sexual assault, of which reasonable

       persons in their positions should have known.

415.   At all relevant times, Defendants Klages, Strampel, Dietzel, and Kovan had the ultimate

       responsibility and authority to train and supervise their employees, agents, and/or

       representatives, in the appropriate manner of detecting, reporting, and preventing sexual

       abuse, assault, and molestation and as a matter of acts, custom, policy, and/or practice,

       failed to do so with deliberate indifference.

416.   At all relevant times, Defendants Strampel, Dietzel, and Kovan acted in a supervisory role

       to Defendant Nassar through their roles at Defendant MSU’s Sports Medicine Clinic,

       MSU’s College of Osteopathic Medicine, and other affiliated MSU departments or

       institutions.

417.   At all relevant times, Defendant Klages, as the head coach of the MSU Women’s

       Gymnastics Team, acted in a supervisory role to Defendant Nassar while he was acting as

       team physician to the MSU Women’s Gymnastics Team.

418.   As a matter of custom, policy, and/or practice, Defendant Klages had the ultimate

       responsibility and authority to investigate complaints from her athletes that involved

       allegations of impropriety or sexual assault by her team physician.

419.   As a matter of custom, policy, and/or practice, Defendants Klages, Strampel, Dietzel, and

       Kovan had and have the ultimate responsibility and authority to investigate complaints

       against their employees, agents, and representatives from all individuals including, but not

       limited to students, patients, visitors, faculty, staff, or other employees, agents, and/or

       representatives, and failed to do so with deliberate indifference.

420.   Defendant Lemmen’s actions in assisting to exonerate Defendant Nassar from wrongdoing




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       in response to the 2014 Title IX investigation and Defendant Lemmen’s removal of

       Defendant Nassar’s patient medical records from Defendant MSU’s Sports Medicine

       Clinic at Defendant Nassar’s request demonstrate the existence of an agreement or

       conspiracy between Defendant Nassar and Defendant Lemmen to deprive Plaintiff of her

       constitutional rights.

421.   Defendant Teachnor-Hauk’s actions in assisting to exonerate Defendant Nassar from

       wrongdoing in response to the 2014 Title IX investigation, her statements to discourage

       Tiffany Thomas Lopez from pursuing further action against Defendant Nassar, and her

       statements to law enforcement denying the existence of any prior complaints about

       Defendant Nassar demonstrate the existence of an agreement or conspiracy between

       Defendant Nassar and Defendant Teachnor-Hauk to deprive Plaintiff of her constitutional

       rights.

422.   Defendants Klages, Strampel, Dietzel, Lemmen, Kovan, Teachnor-Hauk, Stollak, and

       Nassar had a duty to prevent sexual assault, abuse, and molestation of MSU’s patients,

       athletes, and other members of the public who utilize MSU’s resources, those duties arising

       under the above-referenced constitutional rights.

423.   Defendant MSU’s internal policies provide that “[a]ll University employees ... are expected

       to promptly report sexual misconduct or relationship violence that they observe or learn

       about and that involves a member of the University community (faculty, staff or student)

       or occurred at a University event or on University property." They state further: "[t]he

       employee must report all relevant details about the alleged relationship violence or sexual

       misconduct that occurred on campus or at a campus-sponsored event . . . ."

424.   Defendant Klages violated the aforementioned internal policies in or around 1997 when




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       Larisa Boyce and other athletes told Defendant Klages that they had been sexually

       assaulted by Defendant Nassar, and Defendant Klages refused to report the incident and

       instead intimidated, humiliated, and embarrassed Larisa Boyce and other athletes.

425.   Defendant Klages’s violation of the policy by refusing to take any action in response to

       legitimate and credible claims of sexual assault by P Larisa Boyce and other athletes

       resulted in Plaintiff’s continued violations of their constitutional rights, including their Due

       Process right to bodily integrity, which includes the right to be free from sexual assaults.

426.   Defendant Klages’s actions as alleged above also demonstrate the existence of an

       agreement or conspiracy between Defendant Nassar and Defendant Klages to deprive

       Plaintiff of her constitutional rights.

427.   Defendant MSU’s aforementioned internal policies were violated in or around 1999 when

       Christie Achenbach reported sexual assault, abuse, and molestation by Defendant Nassar

       to MSU representatives including trainers and coaches, including Kelli Bert, and no action

       was taken to address her complaints.

428.   Defendant MSU’s aforementioned internal policies were also violated in or around 2000

       when Tiffany Thomas Lopez reported sexual assault, abuse, and molestation by Defendant

       Nassar to Defendant Teachnor-Hauk and other MSU representatives, including trainers,

       and no action was taken to address her complaints.

429.   Defendant MSU’s aforementioned internal policies were also violated in or around

       2001/2002 when Jennifer Rood Bedford reported sexual assault, abuse, and molestation by

       Defendant Nassar to Lianna Hadden and other MSU representatives, including trainers,

       and no action was taken to address her complaints.

430.   At all relevant times, Defendant MSU had a policy requiring MSU employees to




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       immediately report suspected child abuse, sexual assault, and child pornography.40

431.   Defendant Klages violated this policy in or around 1997/1998.

432.   Defendant Teachnor-Hauk violated this policy in or around 2000.

433.   Defendant Stollak violated this policy in or around 2004.

434.   Ultimately Defendants Klages, Strampel, Dietzel, Lemmen, Kovan, Stollak, Teachnor-

       Hauk failed to adequately and properly investigate the complaints of Plaintiff or other

       similarly situated individuals including but not limited to failing to:

       a.     Perform a thorough investigation into improper conduct by Defendant Nassar with

              Plaintiff after receiving complaints in or before 1992, 1997/1998, 1999, 2000,

              2001/2002, 2004, and 2014;

       b.     Thoroughly review and investigate all policies, practices, procedures, and training

              materials related to the circumstances surrounding the conduct of Defendant

              Nassar;

       c.     Recognize sexual assault when reported in 2014 and permitted university officials

              to deem sexual assault as “medically appropriate” and “not of a sexual nature;” and

       d.     Ensure all institutional guidelines issued following the 2014 investigation into

              Defendant Nassar’s conduct were satisfied.

435.   As indicated in the U.S. Department of Education Office of Civil Rights report, the MSU

       Defendants had a culture that permitted a sexually hostile environment to exist affecting



40
  See, President Lou Anna K. Simon reminds Michigan State employees of obligation to report
sexual assault, Brandon Howell, August 17, 2012, available at, http://www.mlive.com/lansing-
news/index.ssf/2012/08/president_lou_anna_k_simon_rem.html, Last accessed Feb. 17, 2018
(“Simon writes in the e-mail … ‘I write to remind University employees about the reporting
protocols for suspected child abuse, child pornography, and allegations of sexual assault.’ Jason
Cody, a spokesperson for the university said the protocols outlined in Simon’s email ‘long have
been in place for employees.’”)(emphasis added).

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       numerous individuals on Defendant MSU’s campus, including Plaintiff.

436.   Also indicated in the report was Defendant MSU’s custom, practice, and/or policy of

       failing to address complaints of sexual harassment, including sexual violence in a prompt

       and equitable manner which caused and may have contributed to a continuation of the

       sexually hostile environment.

437.   By failing to prevent the aforementioned sexual assault, abuse, and molestation upon

       Plaintiff, and by failing to appropriately respond to reports of Defendant Nassar’s sexual

       assault, abuse, and molestation that was so clearly unreasonable that it amounted to gross

       negligence and deliberate indifference, Defendants Klages, Strampel, Dietzel, Lemmen,

       Teachnor-Hauk, Kovan, and Stollak are liable to Plaintiff pursuant to 42 U.S.C. § 1983.

438.   Defendants Klages, Strampel, Dietzel, Lemmen, Teachnor-Hauk, Kovan, and Stollak are

       also liable to Plaintiff under 42 U.S.C. § 1983 for maintaining customs, policies, and

       practices which deprived Plaintiff of rights secured by the Fourteenth Amendment to the

       United States Constitution, including Plaintiff’s constitutional right to bodily integrity.

439.   Defendants Klages, Strampel, Dietzel, Lemmen, Teachnor-Hauk, Stollak, and Kovan

       tolerated, authorized and/or permitted a custom, policy, practice or procedure of

       insufficient supervision and failed to adequately screen, counsel, or discipline Defendant

       Nassar, with the result that Defendant Nassar was allowed to violate the constitutional

       rights of persons such as Plaintiff with impunity.

440.   As a direct and/or proximate result of Defendants Klages, Strampel, Dietzel, Lemmen,

       Teachnor-Hauk, Kovan, Stollak, and Nassar’s actions and/or inactions, Plaintiff has

       suffered and continues to suffer pain and suffering, pain of mind and body, shock,

       emotional distress, physical manifestations of emotional distress, embarrassment, loss of




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       self-esteem, disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic

       stress disorder resulting in physically manifested injuries including anxiety, depressions,

       sleep disorders, nightmares, psychological injuries, and physical injuries. Plaintiff was

       prevented and will continue to be prevented from performing Plaintiff’s daily activities and

       obtaining the full enjoyment of life and have sustained and continue to sustain loss of

       earnings and earning capacity.

441.   In the alternative, the actions or inactions of Defendants Klages, Strampel, Dietzel,

       Lemmen, Teachnor-Hauk, Stollak, and Kovan were so reckless as to demonstrate a

       substantial lack of concern for whether an injury would result to Plaintiff and constitutes

       gross negligence that is the proximate cause of Plaintiff’s damages. Plaintiff has suffered

       and continues to suffer pain and suffering, pain of mind and body, shock, emotional

       distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder

       resulting in physically manifested injuries including anxiety, depressions, sleep disorders,

       nightmares, psychological injuries, and physical injuries. Plaintiff was prevented and will

       continue to be prevented from performing Plaintiff’s daily activities and obtaining the full

       enjoyment of life and have sustained and continue to sustain loss of earnings and earning

       capacity.

       C.     COUNT FOUR

                    FAILURE TO TRAIN AND SUPERVISE
                             42 U.S.C. § 1983
       PLAINTIFF AGAINST DEFENDANT KLAGES, DEFENDANT STRAMPEL,
               DEFENDANT DIETZEL, AND DEFENDANT KOVAN

442.   Plaintiff realleges and incorporates by reference the allegations contained in the previous

       paragraphs.


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443.   Defendants Klages, Strampel, Dietzel, and Kovan have the ultimate responsibility and

       authority to train and supervise their employees, agents, and/or representatives including

       Defendant Nassar and all faculty and staff regarding their duties toward athletes, students,

       faculty, staff, and visitors.

444.   Defendants Klages, Strampel, Dietzel, and Kovan failed to train and supervise their

       employees, agents, and/or representatives including all faculty and staff, regarding the

       following duties:

           a. Perceive, report, and stop inappropriate sexual conduct on campus;

           b. Provide diligent supervision over student-athletes and other individuals;

           c. Report suspected incidents of sexual abuse or sexual assault;

           d. Ensure the safety of all students, faculty, staff, and visitors to Defendant MSU’s
              campuses premises;

           e. Provide a safe environment for all students, faculty, staff, and visitors to Defendant
              MSU’s premises free from sexual harassment; and,

           f. Properly train faculty and staff to be aware of their individual responsibility for
              creating and maintaining a safe environment.

445.   The above list of duties is not exhaustive.

446.   Defendants Klages, Strampel, Dietzel, and Kovan failed to adequately train coaches,

       trainers, medical staff, and others regarding the aforementioned duties which led to

       violations of Plaintiff’s rights.

447.   As a result, Defendants Klages, Strampel, Dietzel, and Kovan deprived Plaintiff of rights

       secured by the Fourteenth Amendment to the United States Constitution in violation of 42

       U.S.C. § 1983.

448.   As a direct and/or proximate result of Defendants Klages, Strampel, Dietzel, and Kovan’s

       actions and/or inactions, Plaintiff has suffered and continues to suffer pain and suffering,


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       pain of mind and body, shock, emotional distress, physical manifestations of emotional

       distress, embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, loss of

       enjoyment of life, post-traumatic stress disorder resulting in physically manifested injuries

       including anxiety, depressions, sleep disorders, nightmares, psychological injuries, and

       physical injuries. Plaintiff was prevented and will continue to be prevented from

       performing Plaintiff’s daily activities and obtaining the full enjoyment of life and have

       sustained and continue to sustain loss of earnings and earning capacity.

449.   In the alternative, the actions or inaction of the Defendants Klages, Strampel, Dietzel, and

       Kovan were so reckless as to demonstrate a substantial lack of concern for whether an

       injury would result to Plaintiff and constitutes gross negligence that is the proximate cause

       of Plaintiff’s damages. Plaintiff has suffered and continues to suffer pain and suffering,

       pregnancy and miscarriage and sequelae thereto, pain of mind and body, shock, emotional

       distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder

       resulting in physically manifested injuries including anxiety, depressions, sleep disorders,

       nightmares, psychological injuries, and physical injuries. Plaintiff was prevented and will

       continue to be prevented from performing Plaintiff’s daily activities and obtaining the full

       enjoyment of life and have sustained and continue to sustain loss of earnings and earning

       capacity.

       D.     COUNT FIVE

                               GROSS NEGLIGENCE
                               M.C.L. § 600.1407(2)(c)
                     PLAINTIFF AGAINST THE MSU DEFENDANTS
                             AND DEFENDANT NASSAR

450.   Plaintiff realleges and incorporates by reference the allegations contained in the previous


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       paragraphs.

451.   The MSU Defendants owed Plaintiff a duty to use due care to ensure her safety and freedom

       from sexual assault, abuse, and molestation while interacting with their employees,

       representatives, and/or agents, including Defendant Nassar.

452.   Defendant Nassar owed Plaintiff a duty of due care in carrying out medical treatment as an

       employee, agent, and/or representative of the MSU Defendants.

453.   By seeking medical treatment from Defendant Nassar in the course of his employment,

       agency, and/or representation of the MSU Defendants, a special, confidential, and fiduciary

       relationship between Plaintiff and Defendant Nassar was created, resulting in Defendant

       Nassar owing Plaintiff a duty to use due care.

454.   The MSU Defendants’ failure to adequately supervise Defendant Nassar, especially after

       MSU knew or should have known of complaints regarding his nonconsensual sexual

       touching and assaults during “treatments” was so reckless as to demonstrate a substantial

       lack of concern for whether an injury would result to Plaintiff.

455.   Defendant Nassar’s conduct in sexually assaulting, abusing, and molesting and raping

       Plaintiff in the course of his employment, agency, and/or representation of the MSU

       Defendants and under the guise of rendering “medical treatment” was so reckless as to

       demonstrate a substantial lack of concern for whether an injury would result to Plaintiff.

456.   The MSU Defendants’ conduct demonstrated a willful disregard for precautions to ensure

       Plaintiff’s safety.

457.   The MSU Defendants’ conduct as described above, demonstrated a willful disregard for

       substantial risks to Plaintiff.

458.   The MSU Defendants breached duties owed to Plaintiff and were grossly negligent when




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       they conducted themselves by the actions described above, said acts having been

       committed with reckless disregard for Plaintiff’s health, safety, Constitutional and/or

       statutory rights, and with a substantial lack of concern as to whether an injury would result.

459.   As a direct and/or proximate result of Defendants’ actions and/or inactions, Plaintiff has

       suffered and continues to suffer pain and suffering, pregnancy and miscarriage and

       sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

       of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

       humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

       manifested injuries including anxiety, depressions, sleep disorders, nightmares,

       psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

       be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

       of life and have sustained and continue to sustain loss of earnings and earning capacity.

460.   In the alternative, the actions or inaction of the Defendants was so reckless as to

       demonstrate a substantial lack of concern for whether an injury would result to Plaintiff

       and constitutes gross negligence that is the proximate cause of Plaintiff’s damages. Plaintiff

       has suffered and continues to suffer pain and suffering, pregnancy and miscarriage and

       sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

       of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

       humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

       manifested injuries including anxiety, depressions, sleep disorders, nightmares,

       psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

       be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

       of life and have sustained and continue to sustain loss of earnings and earning capacity.




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       E.     COUNT SIX

                                  NEGLIGENCE
                     PLAINTIFF AGAINST THE MSU DEFENDANTS
                             AND DEFENDANT NASSAR

461.   Plaintiff realleges and incorporates by reference the allegations contained in the previous

       paragraphs.

462.   The MSU Defendants owed Plaintiff a duty of ordinary care to ensure their safety and

       freedom from sexual assault, abuse, molestation and rape while interacting with their

       employees, representatives and/or agents.

463.   By seeking medical treatment from Defendant Nassar in his capacity as an employee,

       agent, and/or representative of the MSU Defendants, a special, confidential, and fiduciary

       relationship between Plaintiff and Defendant Nassar was created, resulting in Defendant

       Nassar owing Plaintiff a duty to use ordinary care.

464.   Defendant Nassar owed Plaintiff a duty of ordinary care.

465.   The MSU Defendants’ failure to adequately train and supervise Defendant Nassar breached

       the duty of ordinary care.

466.   The MSU Defendants had notice through its own employees, agents, and/or representatives

       as early as 1992, again in 1997, again in 2000, and again in 2014 of complaints of a sexual

       nature related to Defendant Nassar’s purported “treatments” with young girls and women.

467.   The MSU Defendants should have known of the foreseeability of sexual abuse with respect

       to youth and collegiate sports.

468.   The MSU Defendants’ failure to properly investigate, address, and remedy complaints

       regarding Defendant Nassar’s conduct was a breach of ordinary care.

469.   Defendant Nassar’s conduct in sexually assaulting, abusing, and molesting Plaintiff in the




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       course of his employment, agency, and/or representation of the MSU Defendants was a

       breach of the duty to use ordinary care.

470.   As a direct and/or proximate result of Defendants’ conduct, actions and/or inactions,

       Plaintiff has suffered and continues to suffer pain and suffering, pain of mind and body,

       shock, emotional distress, physical manifestations of emotional distress, embarrassment,

       loss of self-esteem, disgrace, fright, grief, humiliation, loss of enjoyment of life, post-

       traumatic stress disorder resulting in physically manifested injuries including anxiety,

       depressions, sleep disorders, nightmares, psychological injuries, and physical injuries.

       Plaintiff was prevented and will continue to be prevented from performing Plaintiff’s daily

       activities and obtaining the full enjoyment of life and have sustained and continue to sustain

       loss of earnings and earning capacity.

471.   In the alternative, the actions or inaction of the Defendants was so reckless as to

       demonstrate a substantial lack of concern for whether an injury would result to Plaintiff

       and constitutes gross negligence that is the proximate cause of Plaintiff’s damages. Plaintiff

       has suffered and continues to suffer pain and suffering, pregnancy and miscarriage and

       sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

       of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

       humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

       manifested injuries including anxiety, depressions, sleep disorders, nightmares,

       psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

       be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

       of life and have sustained and continue to sustain loss of earnings and earning capacity.

       F.     COUNT SEVEN




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                               VICARIOUS LIABILITY
                      PLAINTIFF AGAINST THE MSU DEFENDANTS

472.   Plaintiff realleges and incorporates by reference the allegations contained in the previous

       paragraphs.

473.   Vicarious liability is indirect responsibility imposed by operation of law where an

       employer is bound to keep its employees within their proper bounds and is responsible if

       it fails to do so.

474.   Vicarious liability essentially creates agency between the principal and its agent, so that

       the principal is held to have done what the agent has done.

475.   The MSU Defendants employed and/or held Defendant Nassar out to be its agent and/or

       representative from approximately 1992 to 2016.

476.   Defendant MSU’s website contains hundreds of pages portraying Defendant Nassar as a

       distinguished member of Defendant MSU’s College of Osteopathic Medicine, Division of

       Sports Medicine.41

477.   The MSU Defendants are vicariously liable for the actions of Defendant Nassar as

       described above that were performed during the course of his employment, representation,

       and/or agency with the MSU Defendants and while he had unfettered access to young

       female athletes on MSU’s campus and premises through its College of Osteopathic

       Medicine and Division of Sports Medicine.

478.   As a direct and/or proximate result of Defendant Nassar’s actions carried out in the course

       of his employment, agency, and/or representation of the MSU Defendants, Plaintiff has

       suffered and continues to suffer pain and suffering, pregnancy and miscarriage and



 As of January 5, 2017, using the search term “Nassar” at www.msu.edu returns 402 results, the
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majority of which include references to Defendant Nassar dating as far back as 1997.

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       sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

       of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

       humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

       manifested injuries including anxiety, depressions, sleep disorders, nightmares,

       psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

       be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

       of life and have sustained and continue to sustain loss of earnings and earning capacity.

479.   In the alternative, the actions or inaction of the Defendants was so reckless as to

       demonstrate a substantial lack of concern for whether an injury would result to Plaintiff

       and constitutes gross negligence that is the proximate cause of Plaintiff’s damages. Plaintiff

       has suffered and continues to suffer pain and suffering, pregnancy and miscarriage and

       sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

       of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

       humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

       manifested injuries including anxiety, depressions, sleep disorders, nightmares,

       psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

       be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

       of life and have sustained and continue to sustain loss of earnings and earning capacity.

       G.     COUNT EIGHT

                             EXPRESS/IMPLIED AGENCY
                        PLAINTIFF AGAINST MSU DEFENDANTS

480.   Plaintiff realleges and incorporates by reference the allegations contained in the previous

       paragraphs.

481.   An agent is a person who is authorized by another to act on its behalf.


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482.   The MSU Defendants intentionally or negligently made representations that Defendant

       Nassar was their employee, agent, and/or representative.

483.   On the basis of those representations, Plaintiff reasonably believed that Defendant Nassar

       was acting as an employee, agent, and/or representative of the MSU Defendants.

484.   Plaintiff was injured as a result of Defendant Nassar’s sexual assault, abuse, molestation

       and rape as described above, acts that were performed during the course of his employment,

       agency, and/or representation with the MSU Defendants and while he had unfettered access

       to young female athletes.

485.   Plaintiff was injured because they relied on the MSU Defendants to provide employees,

       agents, and or representatives who would exercise reasonable skill and care.

486.   As a direct and/or proximate cause of Defendant Nassar’s negligence carried out in the

       course of his employment, agency, and/or representation of the MSU Defendants, Plaintiff

       has suffered and continues to suffer pain and suffering, pregnancy and miscarriage and

       sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

       of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

       humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

       manifested injuries including anxiety, depressions, sleep disorders, nightmares,

       psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

       be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

       of life and have sustained and continue to sustain loss of earnings and earning capacity.

487.   In the alternative, the actions or inaction of the Defendants was so reckless as to

       demonstrate a substantial lack of concern for whether an injury would result to Plaintiff

       and constitutes gross negligence that is the proximate cause of Plaintiff’s damages. Plaintiff




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       has suffered and continues to suffer pain and suffering, pregnancy and miscarriage and

       sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

       of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

       humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

       manifested injuries including anxiety, depressions, sleep disorders, nightmares,

       psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

       be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

       of life and have sustained and continue to sustain loss of earnings and earning capacity.

       H.     COUNT NINE

                            NEGLIGENT SUPERVISION
                     PLAINTIFF AGAINST THE MSU DEFENDANTS

488.   Plaintiff realleges and incorporates by reference the allegations contained in the previous

       paragraphs.

489.   The MSU Defendants had a duty to provide reasonable supervision of their employee,

       agent, and/or representative, Defendant Nassar, while he was in the course of his

       employment, agency or representation with the MSU Defendants and while he interacted

       with young female athletes including Plaintiff.

490.   It was reasonably foreseeable given the known sexual abuse in youth sports and gymnastics

       in particular that Defendant Nassar who had prior allegations against him had or would

       sexually abuse children, including Plaintiff, unless properly supervised.

491.   The MSU Defendants by and through their employees, agents, managers and/or assigns,

       such as President Simon, President McPherson, Defendant Strampel or Defendant Kovan

       knew or reasonably should have known of Defendant Nassar’s conduct and/or that

       Defendant Nassar was an unfit employee, agent, and/or representative because of his sexual


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       interest in children.

492.   The MSU Defendants breached their duty to provide reasonable supervision of Defendant

       Nassar, and permitted Defendant Nassar, who was in a position of trust and authority, to

       commit the acts against Plaintiff.

493.   The aforementioned sexual abuse occurred while Plaintiff and Defendant Nassar were on

       the premises of Defendant MSU, and while Defendant Nassar was acting in the course of

       his employment, agency, and/or representation of the MSU Defendants.

494.   The MSU Defendants tolerated, authorized and/or permitted a custom, policy, practice or

       procedure of insufficient supervision and failed to adequately screen, counsel, or discipline

       such individuals, with the result that Defendant Nassar was allowed to violate the rights of

       persons such as Plaintiff with impunity.

495.   As a direct and/or proximate result of the MSU Defendants’ negligent supervision, Plaintiff

       has suffered and continues to suffer pain and suffering, pregnancy and miscarriage and

       sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

       of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

       humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

       manifested injuries including anxiety, depressions, sleep disorders, nightmares,

       psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

       be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

       of life and have sustained and continue to sustain loss of earnings and earning capacity.

496.   In the alternative, the actions or inaction of the Defendants was so reckless as to

       demonstrate a substantial lack of concern for whether an injury would result to Plaintiff

       and constitutes gross negligence that is the proximate cause of Plaintiff’s damages. Plaintiff




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       has suffered and continues to suffer pain and suffering, pregnancy and miscarriage and

       sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

       of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

       humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

       manifested injuries including anxiety, depressions, sleep disorders, nightmares,

       psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

       be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

       of life and have sustained and continue to sustain loss of earnings and earning capacity.

       I.      COUNT TEN

                     NEGLIGENT FAILURE TO WARN OR PROTECT
                     PLAINTIFF AGAINST THE MSU DEFENDANTS

497.   Plaintiff realleges and incorporates by reference the allegations contained in the previous

       paragraphs.

498.   The MSU Defendants knew or should have known that Defendant Nassar posed a risk of

       harm to Plaintiff or those in Plaintiff’s situation.

499.   As early as 1992, the MSU Defendants had direct and/or constructive knowledge as to the

       dangerous conduct of Defendant Nassar and failed to act reasonably and responsibly in

       response.

500.   The MSU Defendants knew or should have known that Defendant Nassar committed

       sexual assault, abuse, and molestation and/or was continuing to engage in such conduct.

501.   The MSU Defendants had a duty to warn or protect Plaintiff and others in Plaintiff’s

       situation against the risk of injury by Defendant Nassar.

502.   The duty to disclose this information arose by the special, trusting, confidential, and

       fiduciary relationship between Defendant Nassar as an employee, agent, and or


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       representative of the MSU Defendants and Plaintiff.

503.   The MSU Defendants breached said duty by failing to warn Plaintiff and/or by failing to

       take reasonable steps to protect Plaintiff from Defendant Nassar.

504.   The MSU Defendants breached its duties to protect Plaintiff by failing to:

           a. Respond to allegations of sexual assault, abuse, and molestation;

           b. Detect and/or uncover evidence of sexual assault, abuse, and molestation; and,

           c. Investigate, adjudicate, and terminate Defendant Nassar’s employment with
              Defendant MSU prior to 2016.

505.   The MSU Defendants failed to adequately screen, counsel and/or discipline Defendant

       Nassar for physical and/or mental conditions that might have rendered him unfit to

       discharge the duties and responsibilities of a physician at an educational institution,

       resulting in violations of Plaintiff’s rights.

506.   The MSU Defendants explicitly concealed Defendant Nassar’s sexual abuse of children,

       girls and young women.

507.   The MSU Defendants willfully refused to notify, give adequate warning, and implement

       appropriate safeguards to protect Plaintiff from Defendant Nassar’s conduct.

508.   As a direct and/or proximate result of the MSU Defendants negligent failure to warn or

       protect, Plaintiff has suffered and continues to suffer pain and suffering, pregnancy and

       miscarriage and sequelae thereto, pain of mind and body, shock, emotional distress,

       physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder

       resulting in physically manifested injuries including anxiety, depressions, sleep disorders,

       nightmares, psychological injuries, and physical injuries. Plaintiff was prevented and will

       continue to be prevented from performing Plaintiff’s daily activities and obtaining the full


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       enjoyment of life and have sustained and continue to sustain loss of earnings and earning

       capacity.

509.   In the alternative, the actions or inaction of the Defendants was so reckless as to

       demonstrate a substantial lack of concern for whether an injury would result to Plaintiff

       and constitutes gross negligence that is the proximate cause of Plaintiff’s damages. Plaintiff

       has suffered and continues to suffer pain and suffering, pregnancy and miscarriage and

       sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

       of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

       humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

       manifested injuries including anxiety, depressions, sleep disorders, nightmares,

       psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

       be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

       of life and have sustained and continue to sustain loss of earnings and earning capacity.

       J.      COUNT ELEVEN

                     NEGLIGENT FAILURE TO TRAIN OR EDUCATE
                      PLAINTIFF AGAINST THE MSU DEFENDANTS

510.   Plaintiff realleges and incorporates by reference the allegations contained in the previous

       paragraphs.

511.   The MSU Defendants breached their duty to take reasonable protective measures to protect

       Plaintiff and other minors from the risk of childhood sexual abuse and/or sexual assault by

       Defendant Nassar, such as the failure to properly train or educate Plaintiff and other

       individuals (including minors) about how to avoid such a risk.

512.   The MSU Defendants failed to implement reasonable safeguards to:

            a. Prevent acts of sexual assault, abuse, molestation and rape by Defendant Nassar;


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            b. Avoid placing Defendant Nassar in positions where he would be in unsupervised
               contact and interaction with Plaintiff and other young athletes.

513.     As a direct and/or proximate result of the MSU Defendants’ negligent failure to train or

         educate, Plaintiff has suffered and continues to suffer pain and suffering, pregnancy and

         miscarriage and sequelae thereto, pain of mind and body, shock, emotional distress,

         physical manifestations of emotional distress, embarrassment, loss of self-esteem,

         disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder

         resulting in physically manifested injuries including anxiety, depressions, sleep disorders,

         nightmares, psychological injuries, and physical injuries. Plaintiff was prevented and will

         continue to be prevented from performing Plaintiff’s daily activities and obtaining the full

         enjoyment of life and have sustained and continue to sustain loss of earnings and earning

         capacity.

514.     In the alternative, the actions or inaction of the Defendants was so reckless as to

         demonstrate a substantial lack of concern for whether an injury would result to Plaintiff

         and constitutes gross negligence that is the proximate cause of Plaintiff’s damages. Plaintiff

         has suffered and continues to suffer pain and suffering, pregnancy and miscarriage and

         sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

         of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

         humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

         manifested injuries including anxiety, depressions, sleep disorders, nightmares,

         psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

         be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

         of life and have sustained and continue to sustain loss of earnings and earning capacity.




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         G.     K.       COUNT TWELVE

                                NEGLIGENT RETENTION
                        PLAINTIFF AGAINST THE MSU DEFENDANTS

515.     Plaintiff realleges and incorporates by reference the allegations contained in the previous

         paragraphs.

516.     The MSU Defendants had a duty when credentialing, hiring, retaining, screening,

         checking,     regulating,   monitoring,   and   supervising       employees,   agents   and/or

         representatives to exercise due care, but they failed to do so.

517.     The MSU Defendants were negligent in the retention of Defendant Nassar as an employee,

         agent, and/or representative in their failure to adequately investigate, report and address

         complaints about his conduct of which they knew or should have known.

518.     The MSU Defendants were negligent in the retention of Defendant Nassar as an employee,

         agent, and/or representative when after they discovered, or reasonably should have

         discovered Defendant Nassar’s conduct which reflected a propensity for sexual

         misconduct.

519.     The MSU Defendants’ failure to act in accordance with the standard of care resulted in

         Defendant Nassar gaining access to and sexually abusing and/or sexually assaulting

         Plaintiff and an unknown number of other individuals.

520.     The aforementioned negligence in the credentialing, hiring, retaining, screening, checking,

         regulating, monitoring, and supervising of Defendant Nassar created a foreseeable risk of

         harm to Plaintiff as well as other minors and young adults.

521.     As a direct and/or proximate result of the MSU Defendants’ negligent retention, Plaintiff

         has suffered and continues to suffer pain and suffering, pregnancy and miscarriage and

         sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations


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         of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

         humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

         manifested injuries including anxiety, depressions, sleep disorders, nightmares,

         psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

         be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

         of life and have sustained and continue to sustain loss of earnings and earning capacity.

522.     In the alternative, the actions or inaction of the Defendants was so reckless as to

         demonstrate a substantial lack of concern for whether an injury would result to Plaintiff

         and constitutes gross negligence that is the proximate cause of Plaintiff’s damages. Plaintiff

         has suffered and continues to suffer pain and suffering, pregnancy and miscarriage and

         sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

         of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

         humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

         manifested injuries including anxiety, depressions, sleep disorders, nightmares,

         psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

         be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

         of life and have sustained and continue to sustain loss of earnings and earning capacity.

         H.     L.      COUNT THIRTEEN

                            FRAUD AND MISREPRESENTATION
                          PLAINTIFF AGAINST MSU DEFENDANTS

523.     Plaintiff realleges and incorporates by reference the allegations contained in the previous

         paragraphs.

524.     From approximately 1992 to September 2016, the MSU Defendants represented to Plaintiff

         and the public that Defendant Nassar was a competent and safe physician.


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525.     By representing that Defendant Nassar was a team physician and athletic physician at

         Defendant MSU and a National Team Physician with Defendant USAG, the MSU

         Defendants represented to Plaintiff and the public that Defendant Nassar was safe,

         trustworthy, of high moral and ethical repute, and that Plaintiff and the public need not

         worry about being harmed by Defendant Nassar.

526.     The representations were false when they were made as Defendant Nassar had and was

         continuing to sexually assault, abuse, molest and rape Plaintiff and an unknown number of

         other individuals.

527.     As of 1992, 1997, 1999, and 2000, the MSU Defendants knew their representations of

         Defendant Nassar were false as at least one student athlete in 1992, another in 1997, another

         in 1999, and Tiffany Thomas Lopez had complained of Defendant Nassar’s conduct to

         MSU representatives.

528.     Although MSU was informed of Defendant Nassar’s conduct they failed to investigate,

         remedy, or in any way address the 1992, 1997, 1999, and 2000 complaints.

529.     The MSU Defendants continued to hold Defendant Nassar out as a competent and safe

         physician.

530.     Additional complaints against Defendant Nassar surfaced in 2014, however, because of

         Defendant MSU’s culture which included existence of a sexually hostile environment on

         Defendant MSU’s campus and premises and the University’s failure to address complaints

         of sexual harassment, including sexual violence in a prompt and equitable manner which

         in turn caused and may have contributed to a continuation of the sexually hostile

         environment, Defendant Nassar was permitted to continue employment and sexually abuse,




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         assault, and molest Plaintiff and an unknown number of other individuals.42

531.     Between the time of the 2014 complaint and September 2016, the MSU Defendants

         continued to hold Defendant Nassar out as a competent and safe physician.

532.     Plaintiff relied on the assertions of the MSU Defendants and several Plaintiff continued to

         seek treatment from Defendant Nassar in the wake of known concerns and dangers.

533.     Plaintiff was subjected to sexual assault, abuse, and molestation as a result of the MSU

         Defendants’ fraudulent misrepresentations regarding Defendant Nassar.

534.     As a direct and/or proximate result of the MSU Defendants’ fraudulent misrepresentations,

         Plaintiff has suffered and continues to suffer pain and suffering, pregnancy and miscarriage

         and sequelae thereto, pain of mind and body, shock, emotional distress, physical

         manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

         grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in

         physically manifested injuries including anxiety, depressions, sleep disorders, nightmares,

         psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

         be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

         of life and have sustained and continue to sustain loss of earnings and earning capacity.

535.     In the alternative, the actions or inaction of the Defendants was so reckless as to

         demonstrate a substantial lack of concern for whether an injury would result to Plaintiff

         and constitutes gross negligence that is the proximate cause of Plaintiff’s damages. Plaintiff

         has suffered and continues to suffer pain and suffering, pregnancy and miscarriage and




42
   See Letter from U.S. Department of Education Office for Civil Rights to Michigan State
University, September 1, 2015, OCR Docket #15-11-2098, #15-14-2113. Available at
https://www2.ed.gov/documents/press-releases/michigan-state-letter.pdf. Last accessed January
4, 2017.

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         sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

         of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

         humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

         manifested injuries including anxiety, depressions, sleep disorders, nightmares,

         psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

         be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

         of life and have sustained and continue to sustain loss of earnings and earning capacity.

         M.     COUNT FOURTEEN

    VIOLATIONS OF THE ELLIOT-LARSEN CIVIL RIGHTS ACT, MCL 37.2101
   PLAINTIFF AGAINST DEFENDANTS NASSAR AND THE MSU DEFENDANTS
536.     Plaintiff realleges and incorporates by reference the allegations contained in the preceding

         paragraphs.

537.     The Elliot-Larsen Civil Rights Act (“Elliot-Larsen”) prohibits discrimination based on sex.

         MCL 37.2102.

538.     “Discrimination because of sex includes sexual harassment.” MCL 37.2.103(i).

539.     “Sexual harassment means unwelcome sexual advances, requests for sexual favors, and

         other verbal or physical conduct or communication of a sexual nature.” MCL 37.2103(i).

540.     Elliot-Larsen protects against sexual harassment in educational institutions.

541.     MSU is an educational institution pursuant to MCL 37.2401.

542.     An educational institution shall not “discriminate against an individual in the full utilization

         of or benefit from the institution, or the services, activities, or programs provided by the

         institution because of . . . sex.” MCL 37.2401(a) (emphasis added).

543.     Elliot-Larsen also protects against sexual harassment in places of public accommodation.

         MCL 37.2302. Under this section, an individual shall not be denied “full and equal



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         enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of

         a place of public accommodation or public service because of . . . sex.” MCL37.2302(a).

544.     MSU is a “place of public accommodation” because its “services, facilities, privileges,

         advantages, or accommodations are extended, offered, sold, or otherwise made available

         to the public.” MCL 37.2301(a).

545.     Plaintiff is a “person” within the meaning of MCL 37.2103(g).

546.     Nassar’s actions and conduct were carried out under one of MSU’s programs, which

         provides medical treatment to students, athletes, and the general public, wherein MSU,

         through MSU Sport Medicine Clinic, solicits and markets to people like Plaintiff, and

         places Plaintiff within the University community.

547.     Nassar’s actions and conduct toward Plaintiff denied her the full and equal enjoyment of

         MSU’s services at a place of public accommodation, in violation of Elliot-Larson.

548.     Nassar’s actions and conduct toward Plaintiff of nonconsensual sexual assault, battery,

         molestation, and rape, which includes unconsented touching and rubbing of Plaintiff’s

         genitalia, breasts, and unconsented digital penetration of Plaintiff’s vagina, constitute sex

         discrimination under Elliot-Larsen.

549.     As a direct and/or proximate result of the Defendant’s actions and/or inactions, Plaintiff

         has suffered and continues to suffer pain and suffering, pregnancy and miscarriage and

         sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

         of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

         humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

         manifested injuries including anxiety, depressions, sleep disorders, nightmares,

         psychological injuries, and physical injuries. Plaintiff was prevented and will continue to




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         be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

         of life and have sustained and continue to sustain loss of earnings and earning capacity.

550.     In the alternative, the actions or inaction of the Defendant was so reckless as to demonstrate

         a substantial lack of concern for whether an injury would result to Plaintiff and constitutes

         gross negligence that is the proximate cause of Plaintiff’s damages. Plaintiff has suffered

         and continues to suffer pain and suffering, pregnancy and miscarriage and sequelae thereto,

         pain of mind and body, shock, emotional distress, physical manifestations of emotional

         distress, embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, loss of

         enjoyment of life, post-traumatic stress disorder resulting in physically manifested injuries

         including anxiety, depressions, sleep disorders, nightmares, psychological injuries, and

         physical injuries. Plaintiff was prevented and will continue to be prevented from

         performing Plaintiff’s daily activities and obtaining the full enjoyment of life and has

         sustained and continues to sustain loss of earnings and earning capacity.

                  VIII.         CLAIMS AGAINST USA GYMNASTICS

         A.     COUNT FIFTEEN

        CIVIL RICO 18 U.S.C. § 1964 AGAINST DEFENDANT USAG, DEFENDANT
           TWISTARS, DEFENDANT GEDDERT, AND DEFENDANT NASSAR


551.     Plaintiff realleges and incorporates by reference the allegations contained in the previous

         paragraphs.

552.     Defendants USAG, Twistars, Geddert, and Nassar formed an enterprise (hereinafter “the

         Enterprise”) by virtue of their agency relationships with each other in the area of

         competitive gymnastics.

553.     Through the Enterprise, Defendants USAG, Twistars, Geddert, and Nassar engaged in




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         racketeering activity to wit sex trafficking of children by fraud in violation of 18 U.S.C. §

         1591.

554.     Violations of 18 U.S.C. § 1591 are a “racketeering activity” as that term is defined in 18

         U.S.C. § 1961(1).

555.     The Enterprise created a financial benefit to each of the Defendants from participating in

         the venture. 18 U.S.C. § 1951(a)(2).

556.     Defendant USAG knowingly received a financial benefit in the forms of membership fees,

         fame, and prestige from participating in the Enterprise.

557.     Defendant Twistars and Defendant Geddert knowingly received a financial benefit in the

         forms of national and global exposure, fame, and increased enrollment from participating

         in the Enterprise.

558.     Defendant Nassar knowingly obtained a financial benefit in the forms of national and

         global exposure, fame, and an increase in the number of patients treated, which in turn led

         to a higher salary, from participation in the Enterprise.

559.     The purpose of the Enterprise in part was to create a system by which Defendant Nassar

         was enabled to engage in commercial sex acts with young athletes and gymnasts through

         a fraudulent representation that he was engaged in legitimate medical treatment.

560.     The Enterprise engaged in fraud by either knowingly or with reckless disregard of the truth,

         affirmatively representing to gymnasts and the public at large that Defendant Nassar was a

         competent and ethical physician.

561.     The Enterprise’s fraudulent representations were used to cause all USA Gymnastics

         registered gymnasts and others to engage in commercial sex acts.

562.     Through the Enterprise, Defendant Nassar was able to engage in commercial sex acts with




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         gymnasts throughout the United States and around the world, including at every Olympic

         game from approximately 1992 to 2012.

563.     The commercial sex acts involved Defendant Nassar’s digital vaginal and anal penetration

         and touching of breasts of gymnasts in exchange for the gymnasts receiving some amount

         of medical treatment.

564.     Defendant Nassar received value from participating from the commercial sex acts in the

         form of sexual gratification.

565.     The commercial sex acts also conferred value to the Enterprise as described above.

566.     The conduct alleged in this complaint constitutes a “pattern of racketeering activity,” as

         that term is defined in 18 U.S.C. § 1961(5) as Plaintiff has alleged more than two acts that

         constitute racketeering activity—specifically violations of 18 U.S.C. § 1591—that

         occurred after the enactment of the Racketeer Influenced and Corrupt Organizations Act

         and at least two racketeering activities occurred within the last 10 years.

567.     Defendants USAG, Twistars, and Geddert’s actions aided and abetted Defendant Nassar in

         engaging in racketeering activity by giving Defendant Nassar access to countless young

         gymnasts through his role as team doctor and Defendants USAG, Twistars, and Geddert

         were generally aware of their role in the racketeering activity at the time they provided

         assistance and knowingly and substantially assisted Defendant Nassar in engaging in

         racketeering activity—specifically sex trafficking of children.

568.     As a direct and proximate cause of Defendants USAG, Twistars, Geddert, and Nassar’s

         racketeering activities, Plaintiff suffered injury to her business or property because the

         sexual assaults caused her to either quit or retire from athletics prematurely effectively

         depriving her of the right to pursue business opportunities in the field of athletics or to




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         pursue college athletic scholarships and was prevented and will continue to be prevented

         from performing her daily activities and obtaining the full enjoyment of life, and has

         sustained and continues to sustain loss of earnings and earning capacity and requests treble

         damages and reasonable attorney fees. 18 U.S.C. § 1964(c).

         B.     COUNT SIXTEEN

                             GROSS NEGLIGENCE
                AGAINST DEFENDANT USAG AND DEFENDANT NASSAR

569.     Plaintiff realleges and incorporates by reference the allegations contained in the previous

         paragraphs.

570.     Defendant USAG owed the public and the Plaintiff a duty to use due care to ensure their

         safety and freedom from sexual assault, abuse, and molestation while interacting with their

         employees, representatives, and/or agents.

571.     The Plaintiff is or was a member of USAG, participated in USAG sanctioned events, and/or

         were knowledgeable of USAG and considered it to be a prestigious organization. In some

         cases, Plaintiff was referred to Defendant Nassar through USAG affiliations.

572.     Defendant Nassar owed Plaintiff a duty to use due care in his capacity as an employee,

         representative, and/or agent of Defendant USAG.

573.     By seeking medical treatment from Defendant Nassar in his capacity as an employee,

         agent, and/or representative of Defendant USAG, a special, confidential, and fiduciary

         relationship between Plaintiff and Defendant Nassar was created, resulting in Defendant

         Nassar owing Plaintiff a duty to use due care.

574.     Defendant USAG’s failure to adequately supervise Defendant Nassar was so reckless as to

         demonstrate a substantial lack of concern for whether an injury would result to Plaintiff.

575.     Defendant Nassar’s conduct in sexually assaulting, abusing, and molesting Plaintiff under


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         the guise of rendering medical “treatment” as an employee, representative, and/or agent of

         Defendant USAG was so reckless as to demonstrate a substantial lack of concern for

         whether an injury would result to Plaintiff.

576.     Defendant USAG’s conduct demonstrated a willful disregard for necessary precautions to

         reasonably protect Plaintiff’s safety.

577.     Defendant USAG’s conduct as described above, demonstrated a willful disregard for

         substantial risks to Plaintiff.

578.     Defendant USAG breached duties owed to Plaintiff and were grossly negligent when they

         conducted themselves by actions described above, including but not limited to their failure

         to notify MSU about the reasons for Nassar’s separation from USAG and more broadly the

         issues surrounding sexual abuse in gymnastics and warning signs and reporting

         requirements. Said acts were committed with reckless disregard for Plaintiff’s health,

         safety, Constitutional and/or statutory rights, and with a substantial lack of concern as to

         whether an injury would result.

579.     As a direct and/or proximate result of Defendant USAG’s actions and/or inactions, Plaintiff

         has suffered and continues to suffer pain and suffering, pregnancy and miscarriage and

         sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

         of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

         humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

         manifested injuries including anxiety, depression, sleep disorders, nightmares,

         psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

         be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

         of life and have sustained and continue to sustain loss of earnings and earning capacity.




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         C.     COUNT SEVENTEEN

       NEGLIGENCE AGAINST DEFENDANT USAG AND DEFENDANT NASSAR

580.     Plaintiff realleges and incorporates by reference the allegations contained in the previous

         paragraphs.

581.     Defendant USAG owed the public and Plaintiff a duty of ordinary care to ensure their

         safety and freedom from sexual assault, abuse, and molestation while being treated by their

         employees, representatives, and agents.

582.     Plaintiff had a reasonable expectation that the USAG was recommending, employing, and

         holding out competent and ethical physicians and trainers for medical treatment who would

         carry out said treatment without sexual assault, abuse, and molestation.

583.     By seeking medical treatment from Defendant Nassar in his capacity as an employee,

         agent, and/or representative of Defendant USAG, a special, confidential, and fiduciary

         relationship between Plaintiff and Defendant Nassar was created, resulting in Defendant

         Nassar owing Plaintiff a duty to use ordinary care.

584.     Defendant Nassar owed Plaintiff a duty of ordinary care in carrying out medical treatment.

585.     Defendant USAG’s failure to adequately train and supervise Defendant Nassar breached

         the duty of ordinary care.

586.     Defendant USAG’s failure to properly investigate, address, and remedy complaints

         regarding Defendant Nassar’s conduct was a breach of ordinary care.

587.     Defendant USAG’s failure to inform Plaintiff and the public of the allegations and concerns

         leading to Defendant Nassar’s separation from USAG was a breach of ordinary care.

588.     Defendant Nassar’s conduct in sexually assaulting, abusing, and molesting Plaintiff was a

         breach of the duty to use ordinary care.




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589.     As a direct and/or proximate result of Defendants’ conduct, actions and/or inactions,

         Plaintiff has suffered and continues to suffer pain and suffering, pregnancy and miscarriage

         and sequelae thereto, pain of mind and body, shock, emotional distress, physical

         manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

         grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in

         physically manifested injuries including anxiety, depression, sleep disorders, nightmares,

         psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

         be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

         of life and have sustained and continue to sustain loss of earnings and earning capacity.

         D.      COUNT EIGHTEEN

                   VICARIOUS LIABILITY AGAINST DEFENDANT USAG


590.     Plaintiff realleges and incorporates by reference the allegations contained in the previous

         paragraphs

591.     Vicarious liability is indirect responsibility imposed by operation of law where an

         employer is bound to keep its employees within their proper bounds and is responsible if

         it fails to do so.

592.     Vicarious liability essentially creates agency between the principal and its agent, so that

         the principal is held to have done what the agent has done.

593.     Defendant USAG’s website contains sites portraying Defendant Nassar as the recipient of

         distinguished awards and boasts him as having been “instrumental” to the success of USA

         gymnastics.

594.     Defendant USAG employed and/or held Defendant Nassar out to be its agent and/or

         representative from approximately 1986 to 2015.


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595.     Defendant USAG is vicariously liable for the actions of Defendant Nassar as described

         above that were performed during the course of his employment, representation, or agency

         with Defendant USAG and while he had unfettered access to young female athletes.

596.     As a direct and/or proximate cause of Defendant Nassar’s negligence carried out in the

         course of his employment, agency, and/or representation with Defendant USAG, Plaintiff

         has suffered and continues to suffer pain and suffering, pregnancy and miscarriage and

         sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

         of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

         humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

         manifested injuries including anxiety, depressions, sleep disorders, nightmares,

         psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

         be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

         of life, and have sustained and continue to sustain loss of earnings and earning capacity

         E.     COUNT NINETEEN

               EXPRESS/IMPLIED AGENCY AGAINST DEFENDANT USAG


597.     Plaintiff realleges and incorporates by reference the allegations contained in the previous

         paragraphs.

598.     An agent is a person who is authorized by another to act on its behalf.

599.     Defendant USAG intentionally or negligently made representations that Defendant Nassar

         was their employee, agent, and/or representative.

600.     On the basis of those representations, Plaintiff reasonably believed Defendant Nassar was

         acting as an employee, agent, and/or representation of Defendant USAG.

601.     Plaintiff was injured as a result of Defendant Nassar’s sexual assault, abuse, and


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         molestation as described above carried out through his employment, agency, and/or

         representation with Defendant USAG.

602.     Plaintiff was injured because she relied on Defendant USAG to provide employees or

         agents who would exercise reasonable skill and care.

603.     As a direct and/or proximate cause of Defendant Nassar’s negligence carried out in the

         course of his employment, agency, and/or representation with Defendant USAG, Plaintiff

         has suffered and continues to suffer pain and suffering, pregnancy and miscarriage and

         sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

         of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

         humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

         manifested injuries including anxiety, depressions, sleep disorders, nightmares,

         psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

         be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

         of life and have sustained and continue to sustain loss of earnings and earning capacity.

         F.     COUNT TWENTY

                NEGLIGENT SUPERVISION AGAINST DEFENDANT USAG

604.     Plaintiff realleges and incorporates by reference the allegations contained in the previous

         paragraphs

605.     Defendant USAG had a duty to provide reasonable supervision of its employee, agent,

         and/or representative, Defendant Nassar, while he was in the course of his employment,

         agency and/or representation of Defendant USAG and while he interacted with young

         female athletes including Plaintiff.

606.     It was reasonably foreseeable given the known sexual abuse in youth sports and gymnastics




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         in particular that Defendant Nassar who had prior allegations against him had or would

         sexually abuse children, including Plaintiff, unless properly supervised.

607.     Defendant USAG by and through their employees, agents, managers and/or assigns such

         as Mr. Penny or Mr. Colarossi, knew or reasonably should have known of Defendant

         Nassar’s conduct and/or that Defendant Nassar was an unfit employee, agent, and/or

         representative because of his sexual interest in children and young adults.

608.     Defendant USAG breached its duty to provide reasonable supervision of Defendant Nassar,

         and its failure permitted Defendant Nassar, who was in a position of trust and authority, to

         commit the acts against Plaintiff.

609.     The aforementioned sexual abuse occurred while Defendant Nassar was acting in the

         course of his employment, agency and/or representation of Defendant USAG.

610.     Defendant USAG tolerated, authorized and/or permitted a custom, policy, practice or

         procedure of insufficient supervision and failed to adequately screen, counsel or discipline

         Defendant Nassar, with the result that Defendant Nassar was allowed to violate the rights

         of persons such as Plaintiff with impunity.

611.     As a direct and/or proximate result of Defendant USAG’s negligent supervision, Plaintiff

         has suffered and continues to suffer pain and suffering, pregnancy and miscarriage and

         sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

         of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

         humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

         manifested injuries including anxiety, depressions, sleep disorders, nightmares,

         psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

         be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment




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         of life and has sustained and continues to sustain loss of earnings and earning capacity.

         G.        COUNT TWENTY-ONE

          NEGLIGENT FAILURE TO WARN OR PROTECT DEFENDANT USAG

612.     Plaintiff realleges and incorporates by reference the allegations contained in the previous

         paragraphs.

613.     Given the direct or indirect knowledge of sexual abuse in youth sports and in particular

         gymnastics, it was reasonably foreseeable that sexual abuse of minors may occur if proper

         procedures were not taken by Defendant USAG.

614.     Defendant USAG knew or should have known that Defendant Nassar posed a risk of harm

         to Plaintiff or those in Plaintiff’s situation.

615.     Defendant USAG had direct and/or constructive knowledge as to the dangerous conduct of

         Defendant Nassar and failed to act reasonably and responsibly in response.

616.     Defendant USAG knew or should have known that Defendant Nassar previously

         committed sexual assault, abuse, and molestation and/or was continuing to engage in such

         conduct.

617.     Defendant USAG had a duty to warn or protect the public, Plaintiff, and others in Plaintiff’s

         situation against the risk of injury by Defendant Nassar.

618.     The duty to disclose this information arose by the special, trusting, confidential, and

         fiduciary relationship between Defendant Nassar in his capacity as employee, agent, and/or

         representative of Defendant USAG and Plaintiff.

619.     Defendant USAG breached said duty by failing to warn the public and the Plaintiff and/or

         by failing to take reasonable steps to protect the public and the Plaintiff from Defendant

         Nassar.




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620.     Defendant USAG breached its duties to protect Plaintiff by failing to detect and/or uncover

         evidence of sexual abuse and sexual assault, investigate Defendant Nassar, adjudicate and

         suspend and/or ban Defendant Nassar from USAG affiliation and USAG sanctioned

         events.

621.     Defendant USAG failed to adequately screen, counsel and/or discipline Defendant Nassar

         for physical and/or mental conditions that might have rendered him unfit to discharge the

         duties and responsibilities of a physician in his capacity as an employee, agent, and/or

         representative of Defendant USAG, resulting in violations of Plaintiff’s rights.

622.     Defendant USAG willfully refused to notify, give adequate warning, and implement

         appropriate safeguards to protect Plaintiff from Defendant Nassar’s conduct.

623.     As a direct and/or proximate result of Defendant USAG’s negligent failure to warn or

         protect, Plaintiff has suffered and continues to suffer pain and suffering, pregnancy and

         miscarriage and sequelae thereto, pain of mind and body, shock, emotional distress,

         physical manifestations of emotional distress, embarrassment, loss of self-esteem,

         disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder

         resulting in physically manifested injuries including anxiety, depressions, sleep disorders,

         nightmares, psychological injuries, and physical injuries. Plaintiff was prevented and will

         continue to be prevented from performing Plaintiff’s daily activities and obtaining the full

         enjoyment of life and has sustained and continues to sustain loss of earnings and earning

         capacity.

         H.        COUNT TWENTY-TWO

                      NEGLIGENT FAILURE TO TRAIN OR EDUCATE
                             AGAINST DEFENDANT USAG

624.     Plaintiff realleges and incorporates by reference the allegations contained in the previous


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         paragraphs

625.     Defendant USAG breached its duty to take reasonable protective measures to protect the

         public and Plaintiff from the risk of sexual abuse and/or sexual assault by Defendant

         Nassar, such as the failure to properly train or educate Plaintiff and other individuals

         (including minors) about how to avoid such a risk.

626.     Defendant USAG failed to implement reasonable safeguards to:

              a. Prevent acts of sexual assault, abuse, and molestation by Defendant Nassar;

              b. Avoid placing Defendant Nassar in positions where he would be in unsupervised
                 contact and interaction with Plaintiff and other young athletes.

627.     As a direct and/or proximate result of Defendant USAG’s negligent failure to train or

         educate, Plaintiff has suffered and continues to suffer pain and suffering, pregnancy and

         miscarriage and sequelae thereto, pain of mind and body, shock, emotional distress,

         physical manifestations of emotional distress, embarrassment, loss of self-esteem,

         disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder

         resulting in physically manifested injuries including anxiety, depressions, sleep disorders,

         nightmares, psychological injuries, and physical injuries. Plaintiff was prevented and will

         continue to be prevented from performing Plaintiff’s daily activities and obtaining the full

         enjoyment of life and has sustained and continues to sustain loss of earnings and earning

         capacity.

         I.      COUNT TWENTY-THREE

                  NEGLIGENT RETENTION AGAINST DEFENDANT USAG

628.     Plaintiff realleges and incorporates by reference the allegations contained in the previous

         paragraphs.

629.     Defendant USAG had a duty when credentialing, hiring, retaining, screening, checking,


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         regulating, monitoring, and supervising employees, agents and/or representatives to

         exercise due care, but they failed to do so.

630.     Defendant USAG was negligent in the retention of Defendant Nassar as an employee,

         agent, and/or representative in their failure to adequately investigate, report, and address

         complaints about his conduct of which they knew or should have known.

631.     Defendant USAG was negligent in the retention of Defendant Nassar when after they

         discovered, or reasonably should have discovered Defendant Nassar’s conduct which

         reflected a propensity for sexual misconduct.

632.     Defendant USAG’s failure to act in accordance with the standard of care resulted in

         Defendant Nassar gaining access to and sexually abusing and/or sexually assaulting

         Plaintiff as well as an unknown number of other individuals.

633.     The aforementioned negligence in the credentialing, hiring, retaining, screening, checking,

         regulating, monitoring, and supervising of Defendant Nassar created a foreseeable risk of

         harm to Plaintiff as well as other minors and young adults.

634.     As a direct and/or proximate result of Defendant USAG’s negligent retention, Plaintiff has

         suffered and continues to suffer pain and suffering, pregnancy and miscarriage and

         sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

         of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

         humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

         manifested injuries including anxiety, depressions, sleep disorders, nightmares,

         psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

         be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

         of life and has sustained and continues to sustain loss of earnings and earning capacity.




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         J.        COUNT TWENTY-FOUR

          FRAUD AND MISREPRESENTATION AGAINST DEFENDANT USAG

635.     Plaintiff realleges and incorporates by reference the allegations contained in the previous

         paragraphs.

636.     From approximately 1992 to summer 2015, Defendant USAG represented to Plaintiff and

         the public that Defendant Nassar was a competent, ethical, and safe physician.

637.     By representing that Defendant Nassar was a team physician and athletic physician at

         Defendant MSU and a National Team Physician with Defendant USAG, Defendant USAG

         represented to Plaintiff and the public that Defendant Nassar was safe, trustworthy, of high

         moral and ethical repute, and that Plaintiff and the public need not worry about being

         harmed by Defendant Nassar.

638.     The representations were false when they were made as Defendant Nassar had and was

         continuing to sexually assault, abuse, molest and rape Plaintiff and an unknown number of

         other individuals.

639.     Additionally, complaints were made to Defendant USAG, yet Defendant USAG did not

         contact Plaintiff, the MSU Defendants, or any other clubs, or organizations affiliated with

         Defendant Nassar to inform them of the allegations and potential harm to Plaintiff and

         others.

640.     Plaintiff relied on the assertions of Defendant USAG and Plaintiff continued to seek

         treatment of Defendant Nassar in the wake of known concerns and dangers.

641.     Plaintiff was subjected to sexual assault, abuse, and molestation as a result of Defendant

         USAG’s fraudulent misrepresentations regarding Defendant Nassar.

642.     As a direct and/or proximate result of Defendant USAG’s fraud and misrepresentation,




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         Plaintiff has suffered and continues to suffer pain and suffering, pregnancy and miscarriage

         and sequelae thereto, pain of mind and body, shock, emotional distress, physical

         manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

         grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in

         physically manifested injuries including anxiety, depressions, sleep disorders, nightmares,

         psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

         be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

         of life and has sustained and continues to sustain loss of earnings and earning capacity.

                         IX.        CLAIMS AGAINST TWISTARS

         A.     COUNT TWENTY-FIVE

                       GROSS NEGLIGENCEAGAINST DEFENDANT
                          TWISTARS, NASSAR, AND GEDDERT

643.     Plaintiff realleges and incorporates by reference the allegations contained in the previous

         paragraphs.

644.     Defendant Twistars and Defendant Geddert owed the public and the Plaintiff a duty to use

         due care to ensure their safety and freedom from sexual assault, abuse, molestation and

         rape while interacting with their employees, representatives, and/or agents.

645.     Defendant Nassar owed Plaintiff a duty to use due care as an employee, representative,

         and/or agent of Defendant Twistars.

646.     By seeking medical treatment from Defendant Nassar in his capacity as an employee,

         agent, and/or representative of Defendant Twistars, a special, confidential, and fiduciary

         relationship between Plaintiff and Defendant Nassar was created, resulting in Defendant

         Nassar owing Plaintiff a duty to use due care.

647.     Given known sexual abuse which has taken place in youth sports including gymnastics and


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         the reasonable foreseeability that harm may occur to athletes, Defendant Twistars and

         Defendant Geddert not only referred athletes to Defendant Nassar but also failed to

         adequately supervise Defendant Nassar. Defendants’ actions were so reckless as to

         demonstrate a substantial lack of concern for whether an injury would result to Plaintiff.

648.     Defendant Nassar’s conduct in sexually assaulting, abusing, molesting and raping Plaintiff

         in the course of his employment, agency, and/or representation of Defendant Twistars and

         under the guise of rendering medical “treatment” as an employee, representative, and/or

         agent of Defendant Twistars was so reckless as to demonstrate a substantial lack of concern

         for whether an injury would result to Plaintiff.

649.     Defendant Twistars’ conduct and the conduct of Defendant Geddert demonstrated a willful

         disregard for precautions to ensure Plaintiff’s safety.

650.     Defendant Twistars’ conduct and the conduct of Defendant Geddert as described above,

         demonstrated a willful disregard for substantial risks to Plaintiff.

651.     Defendant Twistars and Defendant Geddert breached duties owed to Plaintiff and were

         grossly negligent when they conducted themselves by actions described above, said acts

         having been committed with reckless disregard for Plaintiff’s health, safety, Constitutional

         and/or statutory rights, and with a substantial lack of concern as to whether an injury would

         result.

652.     As a direct and/or proximate result of Defendants’ gross negligence, Plaintiff has suffered

         and continues to suffer pain and suffering, pregnancy and miscarriage and sequelae thereto,

         pain of mind and body, shock, emotional distress, physical manifestations of emotional

         distress, embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, loss of

         enjoyment of life, post-traumatic stress disorder resulting in physically manifested injuries




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         including anxiety, depressions, sleep disorders, nightmares, psychological injuries, and

         physical injuries. Plaintiff was prevented and will continue to be prevented from

         performing Plaintiff’s daily activities and obtaining the full enjoyment of life and has

         sustained and continues to sustain loss of earnings and earning capacity.

         B.     COUNT TWENTY-SIX

                    NEGLIGENCEAGAINST DEFENDANTS TWISTARS,
                             NASSAR, AND GEDDERT


653.     Plaintiff realleges and incorporates by reference the allegations contained in the previous

         paragraphs.

654.     In 1992, Plaintiff and her coach complained to MSU Defendants about Defendant Nassar

         sexually assaulting and raping her, but Defendants concealed it and indicated that this was

         already known to them.

655.     In or around 1998, a parent of a gymnast at Defendant Twistars’ facility complained to

         Defendant Geddert, the owner and operator of Defendant Twistars, regarding Dr. Nassar’s

         conduct alleging sexual abuse, assault, and molestation.

656.     Despite being informed of Defendant Nassar’s conduct, Defendant Geddert recommended

         Defendant Nassar as a physician to members and guests of Defendant Twistars.

657.     Defendant Geddert owed Plaintiff a duty of ordinary care to ensure their safety and freedom

         from sexual assault, abuse, and molestation.

658.     In recommending Defendant Nassar with knowledge of Defendant Nassar’s conduct,

         Defendant Geddert breached the duty of ordinary care to Plaintiff and the public.

659.     Defendant Twistars breached the duty of ordinary care to Plaintiff and the public in failing

         to investigate the 1998 allegations which were made to Defendant Geddert.




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660.     Defendant Twistars and Defendant Geddert breached the duty of ordinary care to Plaintiff

         and the public by failing to report the 1998 allegations, which were made to Defendant

         Geddert, to law enforcement.

661.     Plaintiff, as a member of the public, in taking the recommendation of Defendant Geddert

         to seek medical treatment from Defendant Nassar had a reasonable expectation that

         Defendant Nassar would carry out medical treatment without subjecting them to sexual

         assault, abuse, or molestation.

662.     By seeking medical treatment from Defendant Nassar, a special, confidential, and fiduciary

         relationship between Plaintiff and Defendant Nassar was created, resulting in Defendant

         Nassar owing Plaintiff a duty to use ordinary care.

663.     Defendant Nassar owed Plaintiff a duty of ordinary care in carrying out medical treatment

         at Defendant Twistars’ facilities.

664.     Defendant Twistars’ failure to adequately train and supervise Defendant Nassar while he

         was at their facility breached the duty of ordinary care.

665.     Defendant Nassar’s conduct at Defendant Twistars’ facility, in sexually assaulting,

         abusing, and molesting Plaintiff in the course of and under the guise of rendering medical

         “treatment” was a breach of the duty to use ordinary care.

666.     As a direct and/or proximate result of Defendants’ negligence, Plaintiff has suffered and

         continues to suffer pain and suffering, pregnancy and miscarriage and sequelae thereto,

         pain of mind and body, shock, emotional distress, physical manifestations of emotional

         distress, embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, loss of

         enjoyment of life, post-traumatic stress disorder resulting in physically manifested injuries

         including anxiety, depressions, sleep disorders, nightmares, psychological injuries, and




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         physical injuries. Plaintiff was prevented and will continue to be prevented from

         performing Plaintiff’s daily activities and obtaining the full enjoyment of life, and has

         sustained and continues to sustain loss of earnings and earning capacity.

         C.     COUNT TWENTY-SEVEN

                            EXPRESS/IMPLIED AGENCY
                   AGAINST DEFENDANTS TWISTARS AND GEDDERT


667.     Plaintiff realleges and incorporates by reference the allegations contained in the previous

         paragraphs.

668.     An agent is a person who is authorized by another to act on its behalf.

669.     Defendant Twistars intentionally or negligently made representations that Defendant

         Nassar was their employee, agent, and/or representative.

670.     On the basis of those representations, Plaintiff reasonably believed that Defendant Nassar

         was acting as an employee, agent, and/or representative of Defendant Twistars.

671.     Plaintiff was injured as a result of Defendant Nassar’s sexual assault, abuse, and

         molestation as described above.

672.     Plaintiff was injured because they relied on Defendant Twistars to provide employees,

         agents, and/or representatives who would exercise reasonable skill or care.

673.     As a direct and/or proximate result of Defendant Twistars’ negligent failure to train or

         educate, Plaintiff has suffered and continues to suffer pain and suffering, pregnancy and

         miscarriage and sequelae thereto, pain of mind and body, shock, emotional distress,

         physical manifestations of emotional distress, embarrassment, loss of self-esteem,

         disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder

         resulting in physically manifested injuries including anxiety, depressions, sleep disorders,




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         nightmares, psychological injuries, and physical injuries. Plaintiff was prevented and will

         continue to be prevented from performing Plaintiff’s daily activities and obtaining the full

         enjoyment of life and has sustained and continues to sustain loss of earnings and earning

         capacity.

         D.     COUNT TWENTY-EIGHT

                              NEGLIGENT SUPERVISION
                     AGAINST DEFENDANTS TWISTARS AND GEDDERT


674.     Plaintiff realleges and incorporates by reference the allegations contained in the previous

         paragraphs.

675.     Defendant Twistars and Defendant Geddert each had a duty to provide reasonable

         supervision of its employee, agent, and/or representative, Defendant Nassar, while he was

         in the course of his employment, agency, or representation of Defendant Twistars when he

         interacted with young female athletes including Plaintiff.

676.     It was reasonably foreseeable given the known sexual abuse in youth sports and gymnastics

         in particular that Defendant Nassar who had prior allegations against him had or would

         sexually abuse children and young women, including Plaintiff, unless properly supervised.

677.     Defendant Twistars by and through their employees, agents, managers, and/or assigns, and

         in particular by Defendant Geddert, knew or reasonably should have known of Defendant

         Nassar’s conduct and/or that Defendant Nassar was an unfit employee, agent, and/or

         representative because of his sexual interest in children and young adults and due to the

         complaints prior to 1992 and 1998 complaint made to Defendant Geddert of the

         nonconsensual sexual touching during “treatment.”

678.     Defendant Twistars and Defendant Geddert breached their duty to provide reasonable




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         supervision of Defendant Nassar, and permitted Defendant Nassar, who was in a position

         of trust and authority, to commit the acts against Plaintiff.

679.     The aforementioned sexual abuse occurred while Plaintiff and Defendant Nassar were on

         the premises of Defendant Twistars, and while Defendant Nassar was acting in the course

         of his employment, agency, or representation of Defendant Twistars.

680.     Defendant Twistars and Defendant Geddert tolerated, authorized and/or permitted a

         custom, policy, practice or procedure of insufficient supervision and failed to adequately

         screen, counsel, or discipline such individuals, with the result that Defendant Nassar was

         allowed to violate the rights of persons such as Plaintiff with impunity.

681.     As a direct and/or proximate result of Defendants’ negligent failure to supervise, Plaintiff

         has suffered and continues to suffer pain and suffering, pregnancy and miscarriage and

         sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

         of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

         humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

         manifested injuries including anxiety, depressions, sleep disorders, nightmares,

         psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

         be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

         of life and has sustained and continues to sustain loss of earnings and earning capacity.

         E.     COUNT TWENTY-NINE

                    NEGLIGENT FAILURE TO WARN OR PROTECT
                   AGAINST DEFENDANTS TWISTARS AND GEDDERT

682.     Plaintiff realleges and incorporates by reference the allegations contained in the previous

         paragraphs.

683.     Defendant Twistars and Defendant Geddert knew or should have known that Defendant


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         Nassar posed a risk of harm to Plaintiff or those in Plaintiff’s situation.

684.     As early as 1992 and then again in 1998, Defendant Twistars, by a complaint made to its

         owner/employee/agent/representative Defendant John Geddert, had direct and/or

         constructive knowledge as to the dangerous conduct of Defendant Nassar and failed to act

         reasonably and responsibly in response.

685.     Defendant Twistars and Defendant Geddert knew or should have known that Defendant

         Nassar committed sexual assault, abuse, and molestation and/or was continuing to engage

         in such conduct.

686.     Defendant Twistars and Defendant Geddert had a duty to warn or protect Plaintiff and

         others in Plaintiff’s situation against the risk of injury by Defendant Nassar.

687.     The duty to disclose this information arose by the special, trusting, confidential, and

         fiduciary relationship between Defendant Nassar, an agent/representative/employee of

         Defendant Twistars and Plaintiff.

688.     Defendant Twistars and Defendant Geddert breached said duty by failing to warn Plaintiff

         and/or by failing to take reasonable steps to protect Plaintiff from Defendant Nassar.

689.     Defendant Twistars and Defendant Geddert breached its duties to protect Plaintiff by

         failing to detect and/or uncover evidence of sexual abuse and sexual assault, which was

         taking place on its premises and at its facility.

690.     Defendant Twistars and Defendant Geddert breached its duties to protect Plaintiff by

         failing to investigate Defendant Nassar, adjudicate and suspend and/or ban Defendant

         Nassar from Twistars sanctioned events.

691.     Defendant Twistars and Defendant Geddert failed to adequately screen, counsel, and/or

         discipline Defendant Nassar for physical and/or mental conditions that might have rendered




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         him unfit to discharge the duties and responsibilities of a physician with their organization,

         resulting in violations of Plaintiff’s rights.

692.     Defendant Twistars and Defendant Geddert willfully refused to notify, give adequate

         warning, and implement appropriate safeguards to protect Plaintiff from Defendant

         Nassar’s conduct.

693.     As a direct and/or proximate result of Defendants’ negligent failure to warn or protect,

         Plaintiff has suffered and continues to suffer pain and suffering, pregnancy and miscarriage

         and sequelae thereto, pain of mind and body, shock, emotional distress, physical

         manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

         grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in

         physically manifested injuries including anxiety, depressions, sleep disorders, nightmares,

         psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

         be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

         of life and has sustained and continues to sustain loss of earnings and earning capacity.

         F.      COUNT THIRTY

                              FRAUD AND MISREPRESENTATION
                               AGAINST DEFENDANT TWISTARS

694.     Plaintiff realleges and incorporates by reference the allegations contained in the previous

         paragraphs.

695.     From approximately 1992 to September 2016, Defendant Twistars and Defendant Geddert

         represented to Plaintiff and the public that Defendant Nassar was a competent, ethical, and

         safe physician.

696.     By representing that Defendant Nassar was a team physician and athletic physician at

         Defendant MSU and a National Team Physician with Defendant USAG, Defendant


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         Twistars and Defendant Geddert represented to Plaintiff and the public that Defendant

         Nassar was safe, trustworthy, of high moral and ethical repute, and that Plaintiff and the

         public need not worry about being harmed by Defendant Nassar.

697.     The representations were false when they were made as Defendant Nassar had and was

         continuing to sexually assault, abuse, and molest Plaintiff and an unknown number of

         individuals, at times at Defendant Twistars’ facility.

698.     As early as 1992, Defendant Twistars and Defendant Geddert knew their representations

         of Defendant Nassar were false as Defendant Twistars and Defendant Geddert received a

         complaint of Defendant Nassar’s conduct.

699.     Between the time of the 1998 complaint and September 2016, Defendant Twistars and

         Defendant Geddert continued to hold Defendant Nassar out as a competent and safe

         physician.

700.     Plaintiff relied on the assertions of Defendants Twistars and Defendant Geddert and several

         Plaintiffs continued to seek treatment of Defendant Nassar in the wake of known concerns

         and dangers.

701.     Plaintiff was subjected to sexual assault, abuse, and molestation as a result of Defendant

         Twistars’ and Defendant Geddert’s fraudulent misrepresentations regarding Defendant

         Nassar.

702.     As a direct and/or proximate result of Defendants’ fraud and misrepresentation, Plaintiff

         has suffered and continues to suffer pain and suffering, pregnancy and miscarriage and

         sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

         of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

         humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically




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         manifested injuries including anxiety, depressions, sleep disorders, nightmares,

         psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

         be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

         of life and has sustained and continues to sustain loss of earnings and earning capacity.

                            X.        CLAIMS AGAINST NASSAR

         A.     COUNT THIRTY-ONE

                              ASSAULT & BATTERY
                PLAINTIFF AGAINST DEFENDANT LAWRENCE NASSAR

703.     Plaintiff realleges and incorporates by reference the allegations contained in the previous

         paragraphs

704.     The acts committed by Defendant Nassar against Plaintiff described herein constitute

         assault and battery, actionable under the laws of Michigan.

705.     Defendant Nassar committed nonconsensual sexual acts which resulted in harmful or

         offensive contact with the body of the Plaintiff.

706.     Specifically, Defendant Nassar committed acts which caused injury to Plaintiff by

         subjecting her to an imminent battery and/or intentional invasions of her right to be free

         from offensive and harmful contact, and said conduct demonstrated that Defendant Nassar

         had a present ability to subject Plaintiff to an immediate, intentional, offensive and harmful

         touching.

707.     Defendant Nassar assaulted and battered Plaintiff by nonconsensual and unwanted digital

         vaginal penetration, digital anal penetration, touching, kissing and sucking of Plaintiff’s

         breasts without notice or explanation of the “treatment” and raping her.

708.     Plaintiff did not consent to the contact, which caused injury, damage, loss, and/or harm.

709.     As a direct and/or proximate result of the Defendant Nassar’s actions and/or inactions,


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         Plaintiff has suffered and continues to suffer pain and suffering, pregnancy and miscarriage

         and sequelae thereto, pain of mind and body, shock, emotional distress, physical

         manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

         grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in

         physically manifested injuries including anxiety, depressions, sleep disorders, nightmares,

         psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

         be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

         of life and has sustained and continues to sustain loss of earnings and earning capacity.

710.     In the alternative, the actions or inaction of Defendant Nassar was so reckless as to

         demonstrate a substantial lack of concern for whether an injury would result to Plaintiff

         and constitutes gross negligence that is the proximate cause of Plaintiff’s damages. Plaintiff

         has suffered and continues to suffer pain and suffering, pregnancy and miscarriage and

         sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

         of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

         humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

         manifested injuries including anxiety, depressions, sleep disorders, nightmares,

         psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

         be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

         of life and has sustained and continues to sustain loss of earnings and earning capacity.

         B.     COUNT THIRTY-TWO

                           INVASION OF PRIVACY
       PLAINTIFF AGAINST DEFENDANT NASSAR AND THE MSU DEFENDANTS

711.     Plaintiff realleges and incorporates by reference the allegations contained in the previous

         paragraphs.


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712.     Defendant Nassar intruded upon Plaintiff’s seclusion or solitude by sexually assaulting,

         abusing, molesting and raping Plaintiff without the consent of Plaintiff.

713.     Plaintiff’s genital area, breasts, and sexual activity are secret and private subject matters.

714.     Plaintiff possessed a right to keep these subject matters private.

715.     Plaintiff lost her virginity when Defendant Nassar sexually assaulted, abused, molested and

         raped her.

716.     Defendant Nassar videotaped these assaults, batteries and invasion of privacy.

717.     Defendant Nassar’s method of sexually assaulting, abusing, molesting and raping Plaintiff

         is objectionable to a reasonable person.

718.     As a direct and/or proximate result of the Defendant’s actions and/or inactions, Plaintiff

         has suffered and continues to suffer pain and suffering, pregnancy and miscarriage and

         sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

         of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

         humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

         manifested injuries including anxiety, depressions, sleep disorders, nightmares,

         psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

         be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

         of life and has sustained and continues to sustain loss of earnings and earning capacity.

719.     In the alternative, the actions or inaction of the Defendant was so reckless as to demonstrate

         a substantial lack of concern for whether an injury would result to Plaintiff and constitutes

         gross negligence that is the proximate cause of Plaintiff’s damages. Plaintiff has suffered

         and continues to suffer pain and suffering, pregnancy and miscarriage and sequelae thereto,

         pain of mind and body, shock, emotional distress, physical manifestations of emotional




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         distress, embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, loss of

         enjoyment of life, post-traumatic stress disorder resulting in physically manifested injuries

         including anxiety, depressions, sleep disorders, nightmares, psychological injuries, and

         physical injuries. Plaintiff was prevented and will continue to be prevented from

         performing Plaintiff’s daily activities and obtaining the full enjoyment of life, and has

         sustained and continues to sustain loss of earnings and earning capacity.

              XI.      CLAIMS AGAINST DEFENDANTS KLAGES, STRAMPEL,
                                KOVAN, AND STOLLAK

         A.     COUNT THIRTY-THREE

                      FAILURE TO REPORT CHILD ABUSE
          PLAINTIFF AGAINST DEFENDANTS KLAGES, STRAMPEL, KOVAN,
                               AND STOLLAK


720.     Plaintiff realleges and incorporates by reference the allegations contained in the previous

         paragraphs.

721.     Michigan’s Child Protection Law, MCL 722.621 et seq., establishes mandatory reporting

         guidelines for suspected child abuse or neglect and provides penalties for failure to report

         child abuse or neglect.

722.     Specifically, MCL 722.623 provides in pertinent part:

         A physician, dentist, physician's assistant, registered dental hygienist,
              medical examiner, nurse, person licensed to provide emergency
              medical care, audiologist, psychologist, marriage and family
              therapist, licensed professional counselor, social worker, licensed
              master's social worker, licensed bachelor's social worker, registered
              social service technician, social service technician, a person
              employed in a professional capacity in any office of the friend of the
              court, school administrator, school counselor or teacher, law
              enforcement officer, member of the clergy, or regulated child care
              provider who has reasonable cause to suspect child abuse or child
              neglect shall make an immediate report to centralized intake by
              telephone, or, if available, through the online reporting system, of

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                the suspected child abuse or child neglect. [Emphasis added.]
723.     Child abuse is defined as “harm or threatened harm to a child’s health or welfare that occurs

         through nonaccidental physical or mental injury, sexual abuse, sexual exploitation, or

         maltreatment, by a parent, a legal guardian, or any other person responsible for the child’s

         health or welfare or by a teacher, a teacher’s aide, or a member of the clergy.” MCL

         722.622(g).

724.     Child neglect is defined as “harm or threatened harm to a child’s health or welfare by a by

         a parent, a legal guardian, or any other person responsible for the child’s health or welfare

         that occurs through either of the following: (i) Negligent treatment, including the failure to

         provide adequate food, clothing, shelter, or medical care. (ii) Placing a child at an

         unreasonable risk to the child’s health or welfare by failure of the parent, legal guardian,

         or any other person responsible for the child’s health or welfare to intervene to eliminate

         that risk when that person is able to do so and has, or should have, knowledge of the risk.”

         MCL 722.622(k).

725.     Under MCL 722.633(1), “A person who is required by this act to report an instance of

         suspected child abuse or neglect and who fails to do so is civilly liable for the damages

         proximately caused by the failure.”

726.     Defendants Klages, Strampel, Kovan, and Stollak were mandatory reporters during the

         time Defendant Nassar was engaged in child abuse or child neglect.

727.     As established in the allegations above, Defendants Klages, Strampel, Kovan, and Stollak

         had reasonable cause to suspect child abuse or child neglect.

728.     Defendant Klages, Strampel, Kovan, and Stollak failed to report any instances of suspected

         child abuse or neglect.

729.     Defendants Klages, Strampel, Kovan, and Stollak are or were employed by Defendants


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         Michigan State University and Michigan State University Board of Trustees during the

         time Defendant Nassar was engaged in child abuse or child neglect and were acting in the

         scope and course of their employment when they failed to report any instances of suspected

         child abuse or neglect.

730.     Defendants Klages, Strampel, Kovan, and Stollak are directly civilly liable for the damages

         proximately caused by their failure to report any instances of suspected child abuse or

         neglect. Defendants Michigan State University and Michigan State University Board of

         Trustees are vicariously liable for said damages.

731.     As a direct and/or proximate result of the Defendants’ actions and/or inactions, Plaintiff

         has suffered and continues to suffer pain and suffering, pregnancy and miscarriage and

         sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

         of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

         humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

         manifested injuries including anxiety, depressions, sleep disorders, nightmares,

         psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

         be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

         of life and has sustained and continues to sustain loss of earnings and earning capacity.

732.     In the alternative, the actions or inaction of the Defendants were so reckless as to

         demonstrate a substantial lack of concern for whether an injury would result to Plaintiff

         and constitutes gross negligence that is the proximate cause of Plaintiff’s damages. Plaintiff

         has suffered and continues to suffer pain and suffering, pregnancy and miscarriage and

         sequelae thereto, pain of mind and body, shock, emotional distress, physical manifestations

         of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,




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         humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

         manifested injuries including anxiety, depressions, sleep disorders, nightmares,

         psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

         be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

         of life and has sustained and continues to sustain loss of earnings and earning capacity.


             I.       XIII. DAMAGES - FOR ALL AFOREMENTIONED CAUSES OF

                                                        ACTION

733.     Plaintiff realleges and incorporates by reference the allegations contained in the previous

         paragraphs

734.     As a or the direct and/or proximate result of Defendants’ conduct, actions, or inactions,

         Plaintiff has suffered and continues to suffer pain and suffering, pregnancy and miscarriage

         and sequelae thereto, pain of mind and body, shock, emotional distress, physical

         manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

         grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in

         physically manifested injuries including anxiety, depressions, sleep disorders, nightmares,

         psychological injuries, and physical injuries. Plaintiff was prevented and will continue to

         be prevented from performing Plaintiff’s daily activities and obtaining the full enjoyment

         of life, and has sustained and continues to sustain loss of earnings and earning capacity.

735.     The conduct, actions and/or inactions of Defendants as alleged in the above stated counts

         and causes of action constitute violations of Plaintiff’s Constitutional and Federal rights as

         well as the common and/or statutory laws of the State of Michigan, and the United States

         District Court has jurisdiction to hear and adjudicate said claims.

736.     In whole or in part, as a result of some or all of the above actions and/or inactions of


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         Defendants, Plaintiff has and continues to suffer irreparable harm as a result of the

         violations.

737.     The amount in controversy for each Plaintiff exceeds the jurisdictional minimum of

         $75,000.00.

WHEREFORE, Plaintiff requests this Court and the finder of fact to enter a Judgment in Plaintiff’s

         favor against all named Defendants on all counts and claims as indicated above in an

         amount consistent with the proofs of trial, and seeks against Defendants all appropriate

         damages arising out of law, equity, and fact for each or all of the above counts where

         applicable and hereby requests that the trier of fact, be it judge or jury, award Plaintiff all

         applicable damages, including but not limited to compensatory, special, exemplary and/or

         punitive damages, in whatever amount the Plaintiff is entitled, and all other relief arising

         out of law, equity, and fact, also including but not limited to:

a)       Compensatory damages in an amount to be determined as fair and just under the

         circumstances, by the trier of fact including, but not limited to medical expenses, loss of

         earnings, mental anguish, anxiety, humiliation, and embarrassment, violation of Plaintiff’s

         Constitutional, Federal, and State rights, loss of social pleasure and enjoyment, and other

         damages to be proved;

b)       Punitive and/or exemplary damages in an amount to be determined as reasonable or just by

         the trier of fact;

c)       Reasonable attorney fees, interest, and costs; and,

d)       Other declaratory, equitable, and/or injunctive relief, including, but not limited to

         implementation of institutional reform and measures of accountability to ensure the safety

         and protection of young athletes and other individuals, as appears to be reasonable and just.




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                                                    Respectfully Submitted,

Dated: September 7, 2018                            /s/ Steven C. Hurbis__________________
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                                                    Steven C. Hurbis (P80993)
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                                                    /s/ Krystal A. Crittendon, Esq.

                                                     Krystal A. Crittendon, Esq. (P49981)

                                                    /s/ Jordan K. Merson, Esq.
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                                        JURY DEMAND

         Plaintiff, by and through her attorneys, McKeen and Associates, P.C., Krystal A.

Crittendon, Esq., and Merson Law, PLLC hereby demand a trial by jury on all claims set forth

above.


                                                    Respectfully Submitted,

Dated: September 7, 2018                            /s/ Steven C. Hurbis__________________
                                                    Brian J. McKeen (P34123)
                                                    Steven C. Hurbis (P80993)
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                                       /s/ Krystal A. Crittendon, Esq.

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